                                                  Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 1 of 170 Page ID #:31252



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                                                                                                 UNITED STATES DISTRICT COURT
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13                               CENTRAL DISTRICT OF CALIFORNIA
                                                               14
                                                                     ARCONIC INC., et al.,                 JOINT RESPONSE TO PLAINTIFFS’
                                                               15                                          STATEMENT OF GENUINE DISPUTES
                                                               16                           Plaintiffs,    BY DEFS. (A) PMC SPECIALTIES
                                                                                                           GROUP, INC. AND FERRO
                                                               17    v.                                    CORPORATION (PMC PROPERTY)
                                                               18    APC INVESTMENT CO., et al.,           (B) UNION PACIFIC RAILROAD
                                                                                                           COMPANY (CHRYSLER PROPERTY),
                                                               19
                                                                                            Defendants.    (C) HALLIBURTON AFFILIATES, LLC.;
                                                               20                                          INTERVENORS FIREMAN’S FUND
                                                               21                                          INSURANCE COMPANY AND
                                                                                                           FEDERAL INSURANCE COMPANY, AS
                                                               22                                          INSURERS OF PALLEY SUPPLY
                                                               23                                          COMPANY; AND KEKROPIA, INC.
                                                                                                           (PATSOURAS PROPERTY)
                                                               24
                                                               25                                           [Joint Reply Brief; Declarations; Requests for
                                                                                                            Judicial Notice; and Requests for Evidentiary
                                                               26                                           Rulings filed concurrently]
                                                               27                                           Date:      May 17, 2021
                                                               28                                           Time:      8:30 a.m.
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1
                                                                                                                           STATEMENT OF GENUINE DISPUTES
                                                  Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 2 of 170 Page ID #:31253



                                                                1                                Judge:    The Honorable George Wu
                                                                2                                Place:    Courtroom 9D, 9th Floor
                                                                     AND RELATED CROSS
                                                                3    ACTIONS, COUNTERCLAIMS
                                                                4    AND THIRD-PARTY
                                                                     COMPLAINTS
                                                                5
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                                                               27
                                                               28
                                                                                                                 MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1
                                                                                                                  STATEMENT OF GENUINE DISPUTES
                                                  Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 3 of 170 Page ID #:31254



                                                                1            Pursuant to the Court’s May 1, 2018 Order (Dkt. 753), the following Moving
                                                                2   Defendants submit the below Response to Plaintiffs’ Statement of General
                                                                3   Disputes:
                                                                4
                                                                    MOVING DEFENDANTS’ RESPONSE TO PLAINTIFFS’ STATEMENT OF
                                                                5
                                                                                       GENUINE DISPUTES
                                                                6
                                                                7
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                8    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                        SUPPORTING EVIDENCE
                                                                9
                                                               10                                     I. PMC Property
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11       Moving Defendants: PMC Specialties Group, Inc. and Ferro Corporation
                                                               12
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                            Los Angeles, California 90067
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                                                               13    1.     Plaintiffs disposed of thousands        Response: Partially disputed, not
                                                               14    of tons of their hazardous wastes at the       supported by the cited evidence and
                                                                     former Omega Chemical facility (now            immaterial.
                                                               15    the epicenter of the Omega Superfund
                                                                     Site) over a 15-year period.         Evidence: Plaintiffs do not dispute that
                                                               16
                                                                                                          they, or their predecessors, affiliated
                                                               17    Supporting Evidence:                 entities, assignees or obligees, are
                                                                       • Declaration of Earl Hagström in companies that allegedly sent
                                                               18
                                                                          Support of PMC Specialties      chemicals to the Omega Chemical
                                                               19         Group, Inc. and Ferro           Corporation (“Omega Chemical”) in
                                                                          Corporation’s (collectively,    Whittier, CA for appropriate processing
                                                               20
                                                                          “PMC”) Motion for Summary       and recycling, and that EPA contends
                                                               21         Judgment Re: CERLCA Liability that Omega Chemical failed to process,
                                                                          (“Hagström Decl.”), Ex. A       recycle or dispose of those chemicals
                                                               22
                                                                          [Excerpts of Final Remedial     properly. Docket No. 526, Fifth AC, ¶
                                                               23         Investigation/Feasibility Study 7; Docket No. 903-1, at #18605-18606
                                                                          Reports Omega Chemical          (Pls. Br. on Common Issues of L. in
                                                               24
                                                                          Corporation Superfund Site      Support of Mot. for Partial Summ. J. as
                                                               25         Operable Unit 2] (“OMEGA OU- to Certain Elements of CERCLA
                                                               26         2 RI/FS”) at § 8.1.2 p. 8-4.    Liability).

                                                               27                                                   Plaintiffs also do not dispute the
                                                                                                                    Omega Chemical facility is a
                                                               28
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       1
                                                                                                                               STATEMENT OF GENUINE DISPUTES
                                                  Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 4 of 170 Page ID #:31255



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                    Superfund site. Docket No. 770-2, at
                                                                4
                                                                                                    #14437 (Ex. A, 28) (OU-2 ROD, at 2-
                                                                5                                   1). Plaintiffs do not dispute that Omega
                                                                                                    Chemical operated from approximately
                                                                6
                                                                                                    1976 to 1991, an approximately 15-
                                                                7                                   year period. Id.
                                                                8                                   The evidence cited does not state that
                                                                9                                   Plaintiffs disposed of thousands of tons
                                                                                                    of their hazardous wastes at the former
                                                               10                                   Omega Chemical facility over a 15-
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                                                               11                                   year period. See Hagstrom Decl., Ex.
                                                                                                    A, at 6 (Docket No. 902-47, at # 17799)
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                    (OMEGA OU-2 RI/FS, at 8-4). It also
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                                                               13                                   does not state the Omega Chemical
                                                                                                    facility is now the “epicenter” of the
                                                               14                                   Omega Chemical Superfund Site
                                                               15                                   (“Omega Site”).
                                                               16                                   Plaintiffs object to paragraph 3 as
                                                               17                                   immaterial for purposes of deciding this
                                                                                                    motion for summary judgment. This
                                                               18                                   fact does not bear on whether Plaintiffs
                                                               19                                   can meet their burden to demonstrate:
                                                                                                    (1) the PMC Property is a CERCLA
                                                               20                                   facility; (2) Defendants PMC
                                                               21                                   Specialties Group, Inc. (“PMC”) and
                                                                                                    Ferro Corporation (“Ferro”) (together,
                                                               22                                   the “PMC Defendants”) are one of the
                                                               23                                   four classes of persons that are liable
                                                                                                    under CERCLA; and (3) whether there
                                                               24                                   has been a “release” or “threatened
                                                               25                                   release” of hazardous substances from
                                                                                                    the PMC Property into OU-2
                                                               26                                   Groundwater (as defined in Footnote
                                                               27                                   1). Fresno Motors, LLC v. Mercedes
                                                                                                    Benz USA, LLC, 771 F.3d 1119, 1125
                                                               28
                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1       2
                                                                                                              STATEMENT OF GENUINE DISPUTES
                                                  Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 5 of 170 Page ID #:31256



                                                                1
                                                                           MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2       UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3          SUPPORTING EVIDENCE
                                                                                                                    (9th Cir. 2014); Falkner v. Gen. Motors
                                                                4
                                                                                                                    LLC, 393 F. Supp. 3d 927, 930 (C.D.
                                                                5                                                   Cal. 2018) (“A material fact for
                                                                                                                    purposes of summary judgment is one
                                                                6
                                                                                                                    that might affect the outcome of the suit
                                                                7                                                   under the applicable law.”) (citation
                                                                                                                    omitted).
                                                                8
                                                                9
                                                                        1.    Moving Parties’ Response1
                                                               10
                                                                        Responding Party’s dispute is immaterial, Plaintiff acknowledges that the Omega
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                                                               11       Chemical facility it sent materials to their disposal resulted in the release of a
                                                               12       plume over four miles long.
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                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13       Supporting Evidence:
                                                               14         • Declaration of Earl Hagström in Support of PMC Specialties Group, Inc.
                                                                             and Ferro Corporation’s (collectively, “PMC”) Motion for Summary
                                                               15            Judgment Re: CERLCA Liability (“Hagström Decl.”), Ex. A [Excerpts of
                                                               16            Final Remedial Investigation/Feasibility Study Reports Omega Chemical
                                                                             Corporation Superfund Site Operable Unit 2] (“OMEGA OU-2 RI/FS”) at
                                                               17            § 8.1.2 p. 8-4.
                                                               18
                                                               19
                                                               20       2.    Plaintiffs’ toxic wastes              Response: Partially disputed and not
                                                                        contaminated not only the soil and          supported by the cited evidence.
                                                               21
                                                                        groundwater at and under the Omega
                                                               22
                                                               23
                                                                    1
                                                                      While Plaintiffs improperly attempt to raise legal arguments in its responses to
                                                               24
                                                                    Statement of Genuine Disputes, it misstates the standard to which it is subject. As
                                                               25   the Statement of Uncontroverted facts and subsequent responses to the same are not
                                                                    the proper vehicle for making legal arguments, Plaintiffs’ improper legal arguments
                                                               26
                                                                    do not constitute “Controverted material facts” and as a result, PMC will not
                                                               27   address them here.
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       3
                                                                                                                              STATEMENT OF GENUINE DISPUTES
                                                  Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 6 of 170 Page ID #:31257



                                                                1
                                                                           MOVING DEFENDANTS’
                                                                                                                        PLAINTIFFS’ RESPONSE AND
                                                                2       UNCONTROVERTED FACTS AND
                                                                                                                          SUPPORTING EVIDENCE
                                                                3          SUPPORTING EVIDENCE
                                                                        Site itself, but also contaminated the        Evidence: Plaintiffs do not dispute soil
                                                                4
                                                                        groundwater flowing from the Site—a           and groundwater at and under the
                                                                5       plume of contamination that now               Omega Site is contaminated. Docket
                                                                        extends at least four and a half miles        No. 770-2, at #14432 (Ex. A, 16) (OU-
                                                                6
                                                                        downgradient of the Omega Site. The           2 ROD, at 1-1).
                                                                7       contaminated groundwater plume was
                                                                        designated by the U.S. EnvironmentalPlaintiffs do not dispute that EPA
                                                                8                                           defines Operable Unit-2 of the Omega
                                                                        Protection Agency (“EPA”) as
                                                                9                                           Site as “the contamination in
                                                                        “Operable Unit 2,” or “OU-2” for short.
                                                                                                            groundwater generally downgradient
                                                               10       Supporting Evidence:                and originating from the former Omega
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11         • Hagström Decl., Ex. A [OMEGA Chemical Corporation (Omega
                                                                             OU-2 RI/FS] at § 8.1.2 p. 8-4. Chemical) facility in Whittier,
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                            California, much of which has
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       & MACHTINGER LLP




                                                               13                                           commingled with chemicals released at
                                                                                                            other areas overlaying the OU2
                                                               14                                           groundwater plume.” 2 Id.; RFJN, Ex. 5,
                                                               15                                           at 111 (OU-2 Consent Decree).
                                                               16                                                     Plaintiffs do not dispute that EPA
                                                               17                                                     describes the OU2 Groundwater
                                                                                                                      contamination as a “continuous plume
                                                               18                                                     that is approximately 4 ½ miles long
                                                               19                                                     and 1 ½ miles wide.” Docket No. 770-
                                                                                                                      2, at #14437 (Ex. A, 21) (OU-2 ROD,
                                                               20                                                     at 1-1).
                                                               21                                                     The PMC Defendants mischaracterize
                                                               22                                                     the evidence cited. Section 8.1.2 of the
                                                                                                                      OMEGA OU-2 RI/FS does not
                                                               23                                                     specifically identify Plaintiffs as
                                                               24
                                                                    2
                                                                     OU-2 is defined in the September 2011 EPA OU-2 Record of Decision and in the
                                                               25   March 31, 2017 OU-2 Consent Decree, entered between Plaintiffs and EPA; it is
                                                                    composed of contaminated groundwater generally downgradient of OU-1,
                                                               26   commingled with chemicals released from properties near or within the OU-2
                                                                    boundary, which is shown graphically in both the 2011 EPA Record of Decision
                                                               27   and the 2017 Consent Decree (hereafter, “OU-2 Groundwater”). Docket No. 770-2,
                                                                    at #14432 (Ex. A, 000016) (OU-2 ROD, at 1-1); RFJN, Ex. 5, at 111 (OU-2
                                                               28   Consent Decree).
                                                                                                                               MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                         4
                                                                                                                                STATEMENT OF GENUINE DISPUTES
                                                  Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 7 of 170 Page ID #:31258



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                    responsible for the soil and
                                                                4
                                                                                                                    groundwater contamination at and
                                                                5                                                   under the Omega Site, or the OU-2
                                                                                                                    Groundwater contamination
                                                                6
                                                                                                                    downgradient of the Site. In fact, it
                                                                7                                                   acknowledges the Omega plume “flows
                                                                                                                    under a densely developed commercial-
                                                                8
                                                                                                                    industrial area, there are additional
                                                                9                                                   facilities whose releases of hazardous
                                                                                                                    substances have reached groundwater
                                                               10
                                                                                                                    and become commingled with the
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                                                               11                                                   Omega contamination,” and the
                                                                                                                    OMEGA OU-2 RI/FS might not have
                                                               12
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                                                                                                                    “identified all sources of contamination
                            Los Angeles, California 90067
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                                                               13                                                   within the OU2 area.” See Hagstrom
                                                               14                                                   Decl., Ex. A, at 6 (Docket No. 902-47,
                                                                                                                    at # 17799) (OMEGA OU-2 RI/FS, at
                                                               15                                                   8-4).
                                                               16
                                                               17    2.       Moving Parties’ Response

                                                               18    Plaintiff admits this fact is uncontroverted. Plaintiffs do not dispute that they are
                                                                     responsible for soil and groundwater contamination at and under the Omega Site,
                                                               19    and the OU-2 Groundwater contamination downgradient of the Site. Plaintiff
                                                               20    cites no evidence to controvert this uncontroverted fact, nor can it.
                                                               21    Notably, Plaintiff did not object to any of PMC’s evidence.
                                                               22    Supporting Evidence:
                                                               23      • Hagström Decl., Ex. A [OMEGA OU-2 RI/FS] at § 8.1.2 p. 8-4.
                                                               24    3.     EPA identified the Plaintiffs as        Response: Partially disputed, not
                                                               25    the primary source of OU-2                     supported by the cited evidence and
                                                                     contamination, and EPA’s                       immaterial.
                                                               26    environmental contractor, CH2M Hill,
                                                                     confirmed after years of investigation         Evidence: Plaintiffs do not dispute that
                                                               27
                                                                     that Plaintiffs’ waste releases from the       EPA asserts Plaintiffs are responsible
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       5
                                                                                                                              STATEMENT OF GENUINE DISPUTES
                                                  Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 8 of 170 Page ID #:31259



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                                                                        MOVING DEFENDANTS’
                                                                                                                  PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                    SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     former Omega Chemical facility are  for remediating the OU-2 Groundwater
                                                                4
                                                                     “the main source of contamination incontamination. Docket No. 526, Fifth
                                                                5    OU-2.                               AC, ¶ 8; Docket No. 903-2, at #18629-
                                                                                                         18630 (Pls. Memo. of Points &
                                                                6    Supporting Evidence:                Authorities in Support of Mot. for
                                                                7      • Hagström Decl., Ex. A [OMEGA Partial Summ. J. as to Certain Elements
                                                                          OU-2 RI/FS] at § 8.1.2 p. 8-4. of CERCLA Liability).
                                                                8
                                                                9                                               Plaintiffs do not dispute EPA’s
                                                                                                                environmental contractor, CH2M Hill,
                                                               10                                               conducted a Remedial Investigation
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                               (“OMEGA OU-2 RI/FS”) of the
                                                                                                                Omega Site and § 8.1.2 of the report
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                states “[t]he former Omega Chemical
                            Los Angeles, California 90067
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                                                               13                                               facility is the main source of
                                                                                                                groundwater contamination at OU2.”
                                                               14                                               Hagstrom Decl., Ex. A, at 6 (Docket
                                                               15                                               No. 902-47, at # 17799) (OMEGA OU-
                                                                                                                2 RI/FS, at 8-4).
                                                               16
                                                               17                                               The PMC Defendants, however,
                                                                                                                mischaracterize the evidence cited.
                                                               18                                               Section 8.1.2 of the OMEGA OU-2
                                                               19                                               RI/FS does not specifically identify
                                                                                                                Plaintiffs as the primary source of the
                                                               20                                               OU-2 Groundwater contamination. See
                                                               21                                               id. In fact, it acknowledges the Omega
                                                                                                                plume “flows under a densely
                                                               22                                               developed commercial-industrial area,
                                                               23                                               there are additional facilities whose
                                                                                                                releases of hazardous substances have
                                                               24                                               reached groundwater and become
                                                               25                                               commingled with the Omega
                                                                                                                contamination,” and the OMEGA OU-2
                                                               26                                               RI/FS might not have “identified all
                                                               27                                               sources of contamination within the
                                                                                                                OU2 area.” Id.
                                                               28
                                                                                                                         MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                   6
                                                                                                                          STATEMENT OF GENUINE DISPUTES
                                                  Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 9 of 170 Page ID #:31260



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                    Plaintiffs’ object to paragraph 3
                                                                4
                                                                                                                    because their responsibility for
                                                                5                                                   contributing to the OU-2 Groundwater
                                                                                                                    contamination is immaterial for
                                                                6
                                                                                                                    purposes of deciding this motion for
                                                                7                                                   summary judgment. In this phase of the
                                                                                                                    litigation, certain elements of the PMC
                                                                8
                                                                                                                    Defendants’ liability under CERCLA is
                                                                9                                                   at issue, not Plaintiffs’. Fresno Motors,
                                                                                                                    LLC v. Mercedes Benz USA, LLC, 771
                                                               10
                                                                                                                    F.3d 1119, 1125 (9th Cir. 2014);
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                   Falkner v. Gen. Motors LLC, 393 F.
                                                                                                                    Supp. 3d 927, 930 (C.D. Cal. 2018) (“A
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                    material fact for purposes of summary
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13                                                   judgment is one that might affect the
                                                               14                                                   outcome of the suit under the
                                                                                                                    applicable law.”) (citation omitted).
                                                               15
                                                               16    3.       Moving Parties’ Response
                                                               17    Plaintiffs admit this fact is uncontroverted. Plaintiffs’ response does not dispute
                                                               18    that they are responsible for soil and groundwater contamination at and under the
                                                                     Omega Site, and the OU-2 Groundwater contamination downgradient of the Site.
                                                               19    Plaintiffs cite no evidence to controvert this uncontroverted fact, nor can they.
                                                               20
                                                                     Supporting Evidence:
                                                               21      • Hagström Decl., Ex. A [OMEGA OU-2 RI/FS] at § 8.1.2 p. 8-4.
                                                               22
                                                                     4.     For more than a decade, EPA has         Response: Partially disputed, not
                                                               23    been investigating and identifying other       supported by the cited evidence,
                                                                     parties that owned or operated on              misleading and immaterial.
                                                               24
                                                                     properties in the path of the OU-2
                                                               25    plume to assess whether operations or          Evidence: Plaintiffs do not dispute the
                                                                     spills on any of those properties during       OMEGA OU-2 RI/FS was issued in
                                                               26                                                   August 2010, more than a decade ago.
                                                                     the parties’ ownership or operation of
                                                               27    the property may have resulted in the          Hagstrom Decl., Ex. A, at 6 (Docket
                                                                     incremental addition of hazardous              No. 902-47, at # 17799) (OMEGA OU-
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       7
                                                                                                                              STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 10 of 170 Page ID #:31261



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                        PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                          SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     substances to the mass of Plaintiffs’            2 RI/FS, at 8-4).
                                                                4
                                                                     contaminants already present in the
                                                                5    OU-2 plume. These parties are referred           The PMC Defendants mischaracterize
                                                                     to as “potentially responsible parties” or       the evidence cited and describe in a
                                                                6                                                     self-serving way. See Hagstrom Decl.,
                                                                     PRPs.
                                                                7                                                     Ex. A, at 6 (Docket No. 902-47, at #
                                                                     Supporting Evidence:                             17799) (OMEGA OU-2 RI/FS, at 8-4).
                                                                8                                                     Section 8.1.2 of the OMEGA OU-2
                                                                          Hagström Decl., Ex. A [OMEGA                RI/FS states: “The Omega plume is
                                                                9
                                                                          OU-2 RI/FS] at § 8.1.2 p. 8-4.              over 4 miles long, and because it flows
                                                               10                                                     under a densely developed commercial-
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                                                               11                                                     industrial area, there are additional
                                                                                                                      facilties whose releases of hazardous
                                                               12
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                                                                                                                      substances have reached groundwater
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                                                               13                                                     and become commingled with the
                                                                                                                      Omega contamination.” Id. The
                                                               14                                                     OMEGA OU-2 RI/FS does not state the
                                                               15                                                     additional facilities whose releases of
                                                                                                                      hazardous substances have reached
                                                               16                                                     groundwater and become commingled
                                                               17                                                     with the Omega contamination resulted
                                                                                                                      in an “incremental addition of
                                                               18                                                     hazardous substances.” See id. It also
                                                               19                                                     does not specifically identify Plaintiffs
                                                                                                                      as the parties responsible for the
                                                               20                                                     “mass” of “contaminants already
                                                               21                                                     present in the OU-2 plume.” See id.
                                                               22                                                     Plaintiffs’ object to paragraph 4
                                                               23                                                     because their responsibility for
                                                                                                                      contributing to the OU-2 Groundwater
                                                               24                                                     contamination is immaterial for
                                                               25                                                     purposes of deciding this motion for
                                                                                                                      summary judgment. In this phase of the
                                                               26                                                     litigation, certain elements of the PMC
                                                               27                                                     Defendants’ liability under CERCLA is
                                                                                                                      at issue, not Plaintiffs’. In addition,
                                                               28
                                                                                                                               MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                         8
                                                                                                                                STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 11 of 170 Page ID #:31262



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                     EPA’s conduct of the Remedial
                                                                4
                                                                                                                     Investigation is not determinative of the
                                                                5                                                    outcome of this summary judgment.
                                                                                                                     Fresno Motors, LLC v. Mercedes Benz
                                                                6
                                                                                                                     USA, LLC, 771 F.3d 1119, 1125 (9th
                                                                7                                                    Cir. 2014); Falkner v. Gen. Motors
                                                                                                                     LLC, 393 F. Supp. 3d 927, 930 (C.D.
                                                                8
                                                                                                                     Cal. 2018) (“A material fact for
                                                                9                                                    purposes of summary judgment is one
                                                                                                                     that might affect the outcome of the suit
                                                               10
                                                                                                                     under the applicable law.”) (citation
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                                                               11                                                    omitted).
                                                               12
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                            Los Angeles, California 90067
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                                                               13    4.       Moving Parties’ Response

                                                               14    Plaintiff does not controvert this fact with any supporting evidence. While
                                                                     Plaintiff argues that PMC mischaracterizes the evidence, Plaintiffs do not dispute
                                                               15    that EPA has been investigating the Omega OU2 Superfund Site and the
                                                               16    contamination emanating therefrom for more than ten years, and that it has been
                                                                     attempting to identify additional responsible parties. Plaintiffs cites no evidence to
                                                               17    controvert this uncontroverted fact, nor can they.
                                                               18
                                                                     Supporting Evidence:
                                                               19      • Hagström Decl., Ex. A [OMEGA OU-2 RI/FS] at § 8.1.2 p. 8-4.
                                                               20
                                                                     5.      After identifying the universe of       Response: Partially disputed, not
                                                               21    PRPs, EPA sent two types of letters to          supported by the cited evidence and
                                                                     the PRPs, a “General Notice Letter” and         immaterial.
                                                               22
                                                                     a “Special Notice Letter.” These letters
                                                               23    inform the PRPs regarding their                 Evidence: Plaintiffs do not dispute that
                                                                     identification as a PRP, their potential        EPA sent “General Notice Letters”
                                                               24                                                    (“GNLs”) or “Special Notice Letters”
                                                                     liability at the Omega Superfund site,
                                                               25    information regarding the site and other        to numerous PRPs. Hagstrom Decl.,
                                                                     PRPs, and negotiations for the cleanup          Ex. B, at 21 (Docket No. 526, Fifth AC,
                                                               26                                                    ¶ 68 (alleging each defendant received
                                                                     of the site.
                                                               27                                                    a SNL, GNL or has not yet received a
                                                                     Supporting Evidence:
                                                               28
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                        9
                                                                                                                               STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 12 of 170 Page ID #:31263



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                  PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                    SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                              notice letter)).
                                                                4    Hagstrom Decl., Ex. A [OMEGA OU-2
                                                                5    RI/FS] at § 8.1.2 p. 8-4; Ex. B, [5AC] ¶ The statement that EPA sent GNLs and
                                                                     68-83, 97-98                             SNLs to “the universe of PRPs” is
                                                                6                                             overstated and misleading, and
                                                                7                                             contradicted by the very evidence the
                                                                                                              PMC Defendants cite. Hagstrom Decl.,
                                                                8                                             Ex. A, at 6 (Docket No. 902-47, at #
                                                                9                                             17799) (OMEGA OU-2 RI/FS, at 8-4).
                                                               10                                               Section 8.1.2 of the OMEGA OU-2
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                                                                                                                RI/FS states: “The Omega plume is
                                                               11
                                                                                                                over 4 miles long, and because it flows
                                                               12                                               under a densely developed commercial-
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                            Los Angeles, California 90067
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                                                                                                                industrial area, there are additional
                                                               13
                                                                                                                facilities whose releases of hazardous
                                                               14                                               substances have reached groundwater
                                                               15                                               and become commingled with the
                                                                                                                Omega contamination. Other sources of
                                                               16                                               groundwater contamination at OU2
                                                               17                                               have been identified based on
                                                                                                                information obtained from file reviews
                                                               18                                               and findings from field investigations.
                                                               19                                               This investigation may not have
                                                                                                                identified all sources of contamination
                                                               20                                               within the OU2 area, and the EPA may
                                                               21                                               conduct additional investigations in the
                                                                                                                future.” Id.
                                                               22
                                                                                                                Under CERCLA, EPA is not required
                                                               23                                               to send notice letters to all entities that
                                                               24                                               contributed contamination to OU-2
                                                                                                                Groundwater and the Agency has not
                                                               25                                               done so. EPA acknowledges there are
                                                               26                                               state-led actions to clean up known
                                                                                                                source properties that are continuing to
                                                               27
                                                                                                                contribute to the OU-2 Groundwater
                                                               28                                               contamination and that those actions
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                  10
                                                                                                                           STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 13 of 170 Page ID #:31264



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                   must work in parallel with the EPA
                                                                4
                                                                                                                   OU-2 groundwater containment
                                                                5                                                  remedy. See Dkt. 770-2, at #14433,
                                                                                                                   #14440-14441 (Ex. A, 17, 24-25) (OU-
                                                                6
                                                                                                                   2 ROD, at 1-2, 2-4, 2-5).
                                                                7
                                                                                                                   None of the evidence cited by the PMC
                                                                8                                                  Defendants describes the contents of a
                                                                9                                                  notice letter, though Plaintiffs do not
                                                                                                                   dispute such information is set forth in
                                                               10                                                  Hagstrom Decl., Ex B. (Docket No.
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                                                               11                                                  526, Fifth AC, §§ 4-5).
                                                               12                                                  Plaintiffs object to paragraph 5 as
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                            Los Angeles, California 90067
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                                                                                                                   immaterial for purposes of deciding this
                                                               13
                                                                                                                   motion for summary judgment. Though
                                                               14                                                  strong circumstantial evidence of
                                                               15                                                  Defendants’ liability, EPA’s issuance
                                                                                                                   of a notice letter to the PMC
                                                               16                                                  Defendants would not directly prove
                                                               17                                                  any of the elements of PMC’s or
                                                                                                                   Ferro’s liability under CERCLA and is,
                                                               18                                                  therefore, immaterial. Fresno Motors,
                                                               19                                                  LLC v. Mercedes Benz USA, LLC, 771
                                                                                                                   F.3d 1119, 1125 (9th Cir. 2014);
                                                               20                                                  Falkner v. Gen. Motors LLC, 393 F.
                                                               21                                                  Supp. 3d 927, 930 (C.D. Cal. 2018) (“A
                                                                                                                   material fact for purposes of summary
                                                               22                                                  judgment is one that might affect the
                                                               23                                                  outcome of the suit under the
                                                                                                                   applicable law.”) (citation omitted).
                                                               24
                                                               25    5.       Moving Parties’ Response
                                                               26
                                                                     Plaintiff does not dispute EPA has been investigating the site for more than 10
                                                               27    years and that it has sent General or Special Notice letters to all entities and
                                                               28
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     11
                                                                                                                             STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 14 of 170 Page ID #:31265



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     individuals it has identified in its more than decade long investigation.
                                                                4
                                                                5    Supporting Evidence:

                                                                6    Hagstrom Decl., Ex. A [OMEGA OU-2 RI/FS] at § 8.1.2 p. 8-4; Ex. B, [5AC] ¶
                                                                     68-83, 97-98.
                                                                7
                                                                8
                                                                     6.    EPA has not identified PMC, as a        Response: Partially disputed,
                                                                9    PRP following its investigation of the        mischaracterizes the evidence cited and
                                                                     Omega OU-2 Plume, and has not issued          immaterial.
                                                               10
                                                                     any General Notice Letters or Special
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                                                               11    Notice Letters to PMC.              Evidence: Plaintiffs do not dispute
                                                                                                         that, to date, EPA has not sent a GNL
                                                               12
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                                                                     Supporting Evidence:                or SNL to PMC or Ferro. Hagstrom
                            Los Angeles, California 90067
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                                                               13      • Hagstrom Decl., Ex. A [OMEGA Decl., Ex. B (Docket No. 526, Fifth
                                                                          OU-2 RI/FS] at § 8.1.2 p. 8-4; AC, ¶¶ 68, 97-98 (alleging PMC and
                                                               14         Ex. B, [5AC] ¶ 68-83, 97-98.   Ferro have not yet received a notice
                                                               15                                        letter)).
                                                               16                                                  The evidence PMC and Ferro cite
                                                               17                                                  plainly states that EPA recognizes its
                                                                                                                   investigations to date “may not have
                                                               18                                                  identified all sources of contamination
                                                               19                                                  within the OU2 area, and the EPA may
                                                                                                                   conduct additional investigations in the
                                                               20                                                  future.” Hagstrom Decl., Ex. A (Docket
                                                               21                                                  No. 902-47, at #17799 (Ex. A, 6)
                                                                                                                   (OMEGA OU-2 RI/FS, at 8-4)). EPA
                                                               22                                                  could issue a GNL or SNL to PMC or
                                                               23                                                  Ferro in the future.

                                                               24                                                  CERCLA does not require EPA to send
                                                                                                                   notice letters to all entities that
                                                               25                                                  contributed contamination to OU-2
                                                               26                                                  Groundwater. EPA acknowledges there
                                                                                                                   are state-led actions to clean up known
                                                               27
                                                                                                                   source properties that are continuing to
                                                               28                                                  contribute to the OU-2 Groundwater
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     12
                                                                                                                             STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 15 of 170 Page ID #:31266



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                  contamination and that those actions
                                                                4
                                                                                                                  must work in parallel with the EPA
                                                                5                                                 OU-2 Groundwater containment
                                                                                                                  remedy. See Dkt. 770-2, at #14433,
                                                                6
                                                                                                                  #14440-14441 (Ex. A, 17, 24-25) (OU-
                                                                7                                                 2 ROD, at 1-2, 2-4, 2-5).
                                                                8                                                 Finally, Plaintiffs object to paragraph 6
                                                                9                                                 as immaterial for purposes of deciding
                                                                                                                  this motion for summary judgment.
                                                               10                                                 Though strong circumstantial evidence
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                                                               11                                                 of the PMC Defendants’ liability,
                                                                                                                  EPA’s issuance of a notice letter to
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                  PMC or Ferro would not directly prove
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                                                               13                                                 any of the elements of PMC’s or
                                                                                                                  Ferro’s liability under CERCLA and is,
                                                               14                                                 therefore, immaterial. Fresno Motors,
                                                               15                                                 LLC v. Mercedes Benz USA, LLC, 771
                                                                                                                  F.3d 1119, 1125 (9th Cir. 2014);
                                                               16                                                 Falkner v. Gen. Motors LLC, 393 F.
                                                               17                                                 Supp. 3d 927, 930 (C.D. Cal. 2018) (“A
                                                                                                                  material fact for purposes of summary
                                                               18                                                 judgment is one that might affect the
                                                               19                                                 outcome of the suit under the
                                                                                                                  applicable law.”) (citation omitted).
                                                               20
                                                               21    6.       Moving Parties’ Response
                                                               22
                                                                     Plaintiffs do not dispute that EPA has not identified PMC as a PRP following its
                                                               23    investigation of the Omega OU-2 Plume, or that EPA has not issued any General
                                                               24    Notice Letters or Special Notice Letters to PMC. Plaintiff offers no evidence to
                                                                     controvert this uncontroverted fact. Plaintiff only argues that after more than a
                                                               25    decade, EPA might identify additional responsible parties, citing a 2010 report.
                                                               26    Notably, after an additional 11 years, EPA still has not identified PMC as a PRP,
                                                                     and has not issued any General Notice Letters or Special Notice Letters to PMC.
                                                               27
                                                                     EPA’s Guidance Document regarding Transmittal of Notice Letters provides that
                                                               28
                                                                                                                           MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    13
                                                                                                                            STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 16 of 170 Page ID #:31267



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     “General Notice letters should be sent to all parties where there is sufficient
                                                                4
                                                                     evidence to make a preliminary determination of potential liability under section
                                                                5    107 of CERCLA.”
                                                                6    Supporting Evidence:
                                                                7
                                                                     Hagström Decl., Ex. A [OMEGA OU-2 RI/FS] at § 8.1.2 p. 8-4; Ex. B, [5AC] ¶
                                                                8    68-83, 97-98.
                                                                9    Interim Guidance on Notice Letters, Negations, and Information Exchange, J.
                                                               10    Winston Porter, US EPA, October 19, 1987
                                                                     (https://www.epa.gov/sites/production/files/documents/tran-notlet-mem.pdf).
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                                                               11
                                                               12
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                                                                     7.     PMC has not received either a           Response: Undisputed, but immaterial.
                            Los Angeles, California 90067
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                                                               13    General Notice Letter or Special Notice
                                                                     Letter and Plaintiff has not identified        Evidence: Plaintiffs incorporate their
                                                               14    PMC as a “General Notice Letter” or            response to paragraph 6 herein.
                                                               15    “Special Notice Letter” defendant.
                                                               16    Supporting Evidence:
                                                               17      • Hagstrom Decl., Ex. A [OMEGA
                                                                          OU-2 RI/FS] at § 8.1.2 p. 8-4;
                                                               18         Ex. B, [5AC] ¶ 68-83, 97-98.
                                                               19
                                                               20    7.       Moving Parties’ Response
                                                               21    This fact is uncontroverted. PMC offered evidence in support of this fact, and
                                                               22    Plaintiffs offered no evidence to dispute it. Plaintiffs did not assert evidentiary
                                                                     objections to PMC’s evidence.
                                                               23
                                                               24    8.     The PMC Site is located on 9.1          Response: Undisputed, but not
                                                               25    acres comprised of 10 parcels with             supported by the evidence cited and,
                                                                     separate Assessor Parcel Numbers and           therefore, does not comply with Fed. R.
                                                               26    located at 10051 Romandel Avenue,              Civ. P. 56(c)(1)(A).
                                                               27    Santa Fe Springs, California.
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      14
                                                                                                                              STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 17 of 170 Page ID #:31268



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     Supporting Evidence:
                                                                4
                                                                       • Declaration of Richard Vogl in
                                                                5         Support of PMC Specialties
                                                                6         Group, Inc. and Ferro
                                                                          Corporation’s Motion for
                                                                7         Summary Judgment Re:
                                                                8         CERLCA Liability (“Vogl
                                                                          Decl.”) ¶ 12a.
                                                                9
                                                               10    8.       Moving Parties’ Response
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                                     This fact is uncontroverted. PMC offered evidence in support of this fact, and
                                                               12    Plaintiffs offered no evidence to dispute it. Plaintiffs did not assert any
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                            Los Angeles, California 90067
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                                                               13    evidentiary objections to PMC’s evidence.

                                                               14
                                                                     9.    The PMC SITE was operated as a         Response: Partially disputed as
                                                               15    chemical manufacturing plant operated        incomplete.
                                                               16    by others beginning in approximately
                                                                     1938 until 1986 when PMC operations          Evidence: Ferro acquired certain
                                                               17    began.                                       parcels of the PMC Site by December
                                                                                                                  16, 1975, and Ferro admits it owned
                                                               18
                                                                     Supporting Evidence:                         and operated a specialty chemical
                                                               19      • Vogl Decl., ¶ 12b.                       manufacturing facility at the PMC
                                                                                                                  SITE from approximately 1976 until
                                                               20
                                                                                                                  1986. Declaration of Nancy Sher
                                                               21                                                 Cohen Supp. of Opp’n to Defs.’ Mot.
                                                                                                                  for Summ. J. (“Cohen Decl.”), Exs. 6,
                                                               22
                                                                                                                  at 81_ (Ferro Corp.’s Supp. Responses
                                                               23                                                 to Pls.’ First Set of Interrogatories (Oct.
                                                                                                                  13, 2017), Supp. Response No. 4, at p.
                                                               24
                                                                                                                  8)), 2, at 21 (Waterstone Envtl., Inc.,
                                                               25                                                 Site Audit Report Of The Former
                                                                                                                  Productol Facility (Jan. 18, 1999) at 7
                                                               26
                                                                                                                  (Ferro Corporation purchased the plant
                                                               27                                                 and operated it until 1986 when the
                                                               28                                                 plant was purchased by PMC
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    15
                                                                                                                             STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                  Specialties, Inc.)).
                                                                4
                                                                5
                                                                     9.       Moving Parties’ Response
                                                                6
                                                                     This fact is uncontroverted. PMC offered evidence in support of this fact, and
                                                                7    Plaintiffs offered no evidence to dispute it. Plaintiffs did not assert any
                                                                8    evidentiary objections to PMC’s evidence.
                                                                9
                                                                     10. Operations at the PMC Site were          Response: Undisputed, but misleading.
                                                               10    discontinued in 1992.
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                                                               11                                                 Evidence: Plaintiffs do not dispute
                                                                     Supporting Evidence:                         various documents state operations at
                                                               12      • Vogl Decl., ¶ 12b.                       the PMC Site were discontinued in
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                            Los Angeles, California 90067
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                                                               13                                                 1992. Nevertheless, there was already
                                                                                                                  significant soil contamination at the
                                                               14                                                 PMC Property by the time operations
                                                               15                                                 were discontinued in 1992. Rebuttal
                                                                                                                  Expert Report of Robert D. Mutch, Jr.
                                                               16                                                 P.Hg, P.E. (“Mutch Rebuttal Report”),
                                                               17                                                 Mar. 4, 2021, at § 2.7, Appendix A at
                                                                                                                  6-10. And, contamination remains in
                                                               18                                                 soil and groundwater at the PMC
                                                               19                                                 Property at present. Cohen Decl., Ex. 3,
                                                                                                                  at 31-37 (Waterstone Envtl., Inc.,
                                                               20                                                 Removal Action Workplan, May 22,
                                                               21                                                 2020) at 40-46).

                                                               22
                                                                     10.      Moving Parties’ Response
                                                               23
                                                                     This fact is uncontroverted. PMC offered evidence in support of this fact, and
                                                               24
                                                                     Plaintiffs offered no evidence to dispute it.
                                                               25
                                                               26    11. The PMC SITE has been subject            Response: Partially disputed and
                                                                     to California Department of Health           immaterial.
                                                               27
                                                                     Services (DHS) oversight since 1988
                                                               28                                                 Evidence: Mot. at 15. Plaintiffs do not
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    16
                                                                                                                             STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 19 of 170 Page ID #:31270



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     and California Department of Toxic            dispute that the PMC Property has been
                                                                4
                                                                     Substances Control (DTSC) oversight           subject to regulatory oversight by the
                                                                5    since approximately 2006, resulting in        entities referenced. But, PMC has not
                                                                     PMC undertaking and completing                begun, yet alone completed,
                                                                6
                                                                     multiple site assessment actions.             remediation of the soil contamination
                                                                7                                                  that has been present on the PMC
                                                                     Supporting Evidence:                          Property for decades. Cohen Decl., Ex.
                                                                8      • Vogl Decl., ¶ 12c.                        3, at 31-37_ (Waterstone
                                                                9                                                  Environmental, Inc., Removal Action
                                                                                                                   Workplan, May 22, 2020, at 40-46).
                                                               10
                                                                                                                   Contamination remains in soil and
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                  groundwater at the PMC Property at
                                                                                                                   present. Id. See also Mutch Rebuttal
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                   Report, Mar. 4, 2021, at § 2.8 (site
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                                                               13                                                  assessments are not equivalent to
                                                               14                                                  cleaning up the site and, to date, PMC
                                                                                                                   has only submitted workplans to DTSC
                                                               15                                                  but not undertaken actual cleanup of
                                                               16                                                  the site).

                                                               17                                                  Plaintiffs object to paragraph 11 as
                                                                                                                   immaterial for purposes of deciding this
                                                               18                                                  motion for summary judgment. Fresno
                                                               19                                                  Motors, LLC v. Mercedes Benz USA,
                                                                                                                   LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                               20                                                  2014); Falkner v. Gen. Motors LLC,
                                                               21                                                  393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                                                                                   2018) (“A material fact for purposes of
                                                               22                                                  summary judgment is one that might
                                                               23                                                  affect the outcome of the suit under the
                                                                                                                   applicable law.”) (citation omitted).
                                                               24
                                                               25
                                                                     11.      Moving Parties’ Response
                                                               26
                                                                     This fact is uncontroverted, as Plaintiff admits the Site has been subject to
                                                               27    DHS/DTSC oversight since 1988, and Plaintiff does not dispute PMC has
                                                               28    undertaken and completed multiple Site assessment activities. As demonstrated
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     17
                                                                                                                             STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 20 of 170 Page ID #:31271



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     by Plaintiffs’ response to Uncontroverted Fact 12, it is apparent that Plaintiff does
                                                                4
                                                                     not dispute that remedial activity has been undertaken.
                                                                5
                                                                     Supporting Evidence:
                                                                6
                                                                     Vogl Decl., ¶ 12c. Plaintiffs’ Statement of Genuine Disputes, at 12.
                                                                7
                                                                8
                                                                     12. The site operational equipment,            Response: Partially disputed as
                                                                9    all storage tanks, including 171 above-        incomplete and misleading. Immaterial.
                                                                     ground storage tanks and conveyance
                                                               10                                                   Evidence: Plaintiffs do not dispute
                                                                     piping and structures were demolished
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    and/or removed by November 1993.               McLaren/Hart Envtl. Eng’g
                                                                                                                    decommissioned the PMC chemical
                                                               12
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                                                                                                                    facility between August 1992 and
                            Los Angeles, California 90067
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                                                               13    Supporting Evidence:                           November 1993, which included
                                                                       • Vogl Decl., ¶ 12e, 21-23, Ex. S            “cleaning, demolishing, and removing
                                                               14         [Summary of PMC cleanup                   all above-ground tanks, process
                                                               15         actions]                                  equipment, pipelines and towers; and
                                                                                                                    abatement of asbestos-containing
                                                               16                                                   material (ACM).” Cohen Decl., Ex. 15,
                                                               17                                                   at 188 (McLaren/Hart Envtl. Eng’g,
                                                                                                                    Facility Decommissioning Report for
                                                               18                                                   PMC Specialties, Inc. (May 1994) at 1-
                                                               19                                                   1).
                                                               20                                                   Significantly, there was already
                                                               21                                                   significant soil contamination at the
                                                                                                                    PMC Property prior to 1992. Mutch
                                                               22                                                   Rebuttal Report, Mar. 4, 2021, at § 2.7,
                                                               23                                                   Appendix A at pp. 6-10.

                                                               24                                                   And, despite the decommissioning
                                                                                                                    activities from August 1992 to
                                                               25                                                   November 1993, contamination
                                                               26                                                   remains in soil and groundwater at the
                                                                                                                    PMC Property at present. Cohen Decl.,
                                                               27
                                                                                                                    Ex._3, at 31-37_(Waterstone Envtl.,
                                                               28                                                   Inc., Removal Action Workplan, May
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      18
                                                                                                                              STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 21 of 170 Page ID #:31272



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                     22, 2020) at 40-46).
                                                                4
                                                                5                                                    Plaintiffs object to paragraph 12 as
                                                                                                                     immaterial for purposes of deciding this
                                                                6                                                    motion for summary judgment. Fresno
                                                                7                                                    Motors, LLC v. Mercedes Benz USA,
                                                                                                                     LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                                8                                                    2014); Falkner v. Gen. Motors LLC,
                                                                9                                                    393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                                                                                     2018) (“A material fact for purposes of
                                                               10                                                    summary judgment is one that might
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                    affect the outcome of the suit under the
                                                                                                                     applicable law.”) (citation omitted).
                                                               12
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                            Los Angeles, California 90067
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                                                               13    12.      Moving Parties’ Response
                                                               14
                                                                     This fact is uncontroverted, Plaintiffs do not dispute that all of the site operational
                                                               15    equipment was removed by November 1993.
                                                               16    Supporting Evidence:
                                                               17      • Vogl Decl., ¶ 12e, 21-23, Ex. S [Summary of PMC cleanup actions]
                                                               18    13. Following the demolition, the               Response: Partially disputed.
                                                               19    PMC Site was capped with asphalt and            Immaterial. Actions taken at the PMC
                                                                     rolled base material and engineering            Property to date have not prevented
                                                               20    controls were placed in certain areas to        chemicals to leach in the soil and
                                                               21    prevent rainwater from causing                  groundwater, as no remedial action
                                                                     chemicals to leach in the soil and              designed to directly address the soil
                                                               22    groundwater.                                    contamination has yet been
                                                               23                                                    implemented.
                                                                     Supporting Evidence:
                                                               24      • Vogl Decl. ¶ 12e, 21-23, Ex. S              Evidence:
                                                               25         [Summary of PMC cleanup
                                                                          actions].                                  Mot. at 15; Cohen Decl., Ex. 3, at 31-
                                                               26                                                    37_(Waterstone Environmental, Inc.,
                                                                                                                     Removal Action Workplan, May 22,
                                                               27                                                    2020, at 40-46).
                                                               28
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       19
                                                                                                                               STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                     Plaintiffs object to paragraph 13 as
                                                                4
                                                                                                                     immaterial for purposes of deciding this
                                                                5                                                    motion for summary judgment. Fresno
                                                                                                                     Motors, LLC v. Mercedes Benz USA,
                                                                6
                                                                                                                     LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                                7                                                    2014); Falkner v. Gen. Motors LLC,
                                                                                                                     393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                                8
                                                                                                                     2018) (“A material fact for purposes of
                                                                9                                                    summary judgment is one that might
                                                                                                                     affect the outcome of the suit under the
                                                               10
                                                                                                                     applicable law.”) (citation omitted).
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                               12    13.      Moving Parties’ Response
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                            Los Angeles, California 90067
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                                                               13    This fact is uncontroverted. Plaintiffs’ response does not identify any dispute
                                                               14    with the stated fact that the PMC Site was capped with asphalt and rolled base
                                                                     material and engineering controls were placed in certain areas to prevent
                                                               15    rainwater from causing chemicals to leach in the soil in groundwater. Nor does it
                                                               16    dispute that PMC took the remaining remedial actions set forth in Ex. S to the
                                                                     Vogl Declaration. Plaintiffs did not assert any evidentiary objections to PMC’s
                                                               17    evidence.
                                                               18
                                                                     Supporting Evidence:
                                                               19      • Vogl Decl. ¶ 12e, 21-23, Ex. S [Summary of PMC cleanup actions].
                                                               20
                                                                     14. Despite its extensive                       Response: Partially disputed as
                                                               21    investigation of the Omega Chemical             unsupported by the evidence cited and
                                                                     Site and the Omega OU-2 Plume, EPA              immaterial.
                                                               22
                                                                     has never identified Ferro Corporation
                                                               23    or PMC Specialties Group, Inc.                  Evidence: Plaintiffs do not dispute
                                                                     (collectively, “PMC”) as a responsible          that, to date, EPA has not sent a GNL
                                                               24                                                    or SNL to PMC or Ferro. Hagstrom
                                                                     party, or even a potentially responsible
                                                               25    party with respect to the Omega OU-2            Decl., Ex. B (Docket No. 526, Fifth
                                                                     Plume.                                          AC, ¶¶ 68, 97-98 (alleging PMC and
                                                               26                                                    Ferro have not yet received a notice
                                                               27    Supporting Evidence:                            letter)).
                                                                       • Hagstrom Decl., Ex. A [OMEGA
                                                               28
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       20
                                                                                                                               STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                              OU-2 RI/FS] at § 8.1.2 p. 8-4.        The cited evidence does not state EPA
                                                                4
                                                                                                                    has undertaken “extensive
                                                                5                                                   investigations.” See Hagstrom Decl.,
                                                                                                                    Ex. A, at 6 (Docket No. 902-47, at
                                                                6
                                                                                                                    #17799) (OMEGA OU-2 RI/FS at §
                                                                7                                                   8.1.2 p. 8-4). It does not state that EPA
                                                                                                                    has never identified the PMC
                                                                8
                                                                                                                    Defendants as a “responsible party” or
                                                                9                                                   “even a potentially responsible party
                                                                                                                    with respect to the Omega OU-2
                                                               10
                                                                                                                    Plume.” Id.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                                                                                    In fact, the evidence the PMC
                                                               12
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                                                                                                                    Defendants cite plainly states that EPA
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                                                               13                                                   recognizes its investigations to date
                                                                                                                    “may not have identified all sources of
                                                               14                                                   contamination within the OU2 area,
                                                               15                                                   and the EPA may conduct additional
                                                                                                                    investigations in the future.” Hagstrom
                                                               16                                                   Decl., Ex. A (Docket No. 902-47, at
                                                               17                                                   #17799 (Ex. A, 6) (OMEGA OU-2
                                                                                                                    RI/FS, at 8-4)). EPA could issue a GNL
                                                               18                                                   or SNL to PMC or Ferro in the future.
                                                               19
                                                                                                                    Plaintiffs object to paragraph 14 as
                                                               20                                                   immaterial for purposes of deciding this
                                                               21                                                   motion for summary judgment. Fresno
                                                                                                                    Motors, LLC v. Mercedes Benz USA,
                                                               22                                                   LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                               23                                                   2014); Falkner v. Gen. Motors LLC,
                                                                                                                    393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                               24                                                   2018) (“A material fact for purposes of
                                                               25                                                   summary judgment is one that might
                                                                                                                    affect the outcome of the suit under the
                                                               26                                                   applicable law.”) (citation omitted).
                                                               27
                                                               28
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      21
                                                                                                                               STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                   PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                     SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE

                                                                4    14.      Moving Parties’ Response
                                                                5
                                                                     This fact is uncontroverted. Plaintiffs have offered no evidence to dispute, nor
                                                                6    does it dispute, that despite its decades long superfund investigation, EPA has
                                                                     never identified Ferro Corporation or PMC Specialties Group, Inc. (collectively,
                                                                7
                                                                     “PMC”) as a responsible party, or even a potentially responsible party with
                                                                8    respect to the Omega OU-2 Plume. While Plaintiff offers a statement that EPA
                                                                     may not have identified all sources of contamination, this RI/FS was from 2010.
                                                                9
                                                                     In yet another decade, EPA has not identified PMC as a responsible party with
                                                               10    respect to the OMEGA Superfund Site or OU-2 Groundwater or sent a General or
GREENBERG GLUSKER FIELDS CLAMAN




                                                                     Special Notice letter, despite its more than two decades of investigation.
                                                               11
                                                               12    Supporting Evidence:
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                       • Hagström Decl., Ex. A [OMEGA OU-2 RI/FS] at § 8.1.2 p. 8-4.
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                                                               13
                                                               14    15. Plaintiffs allege that certain          Response: Partially disputed as
                                                                     disposals occurred at the PMC Site          incomplete.
                                                               15    during the time it was owned or
                                                                     operated by PMC.                            Evidence: Plaintiffs allege disposals
                                                               16                                                occurred at the PMC Site during the
                                                               17    Supporting Evidence:                        time it was owned and operated by
                                                                       • Hagstrom Decl., Ex. B, [5AC] ¶          Ferro and PMC. Hagstrom Decl., Ex. B
                                                               18
                                                                          375-378.                               at 100-103 (Docket No. 526, Fifth AC,
                                                               19                                                ¶¶ 368-378); Plaintiffs’ Request for
                                                                                                                 Judicial Notice in Support of
                                                               20
                                                                                                                 Opposition to Defs.’ Joint Mots. for
                                                               21                                                Summ. J. re: CERCLA Liability
                                                                                                                 (“Opp’n RFJN”), Exs. 8, at 75-
                                                               22
                                                                                                                 78_(SFSFD, Fire Investigation Report
                                                               23                                                No. 528 (Mar. 18, 1979) (release of
                                                                                                                 chemicals during fire at plant), 9, at_79
                                                               24
                                                                                                                 (DTSC, Abandoned Site Project, Oct.
                                                               25                                                19, 1980 Driveby (Oct. 19, 1980) at 1
                                                                                                                 (documenting sloppy storage of
                                                               26
                                                                                                                 chemicals in drums on bare ground and
                                                               27                                                along railroad tracks), 10, at 86 (DTSC,
                                                                                                                 Abandoned Site Project, Report (Mar.
                                                               28
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                   22
                                                                                                                           STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                     1981) at 3 (documenting considerable
                                                                4
                                                                                                                     number of stored drums on unpaved
                                                                5                                                    segments of property and potential for
                                                                                                                     contamination via runoff during storm),
                                                                6
                                                                                                                     11, at 96 (Dept. of Health Services,
                                                                7                                                    Facility Inspection Report (Feb. 8,
                                                                                                                     1985) at 10 (documenting signs of
                                                                8
                                                                                                                     chemical spills by railroad tracks and
                                                                9                                                    brownish liquid leaking onto unpaved
                                                                                                                     ground from pipe in naphthenic acid
                                                               10
                                                                                                                     plant area), 12, at_113 (Dept. of Health
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                    Srvs., Notice of Violation & Directive
                                                                                                                     to Comply (Feb. 22, 1985) (signs of
                                                               12
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                                                                                                                     soil contamination along railroad tracks
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       & MACHTINGER LLP




                                                               13                                                    by naphthalene-cresylate loading area
                                                               14                                                    and throughout unpaved areas by the
                                                                                                                     naphthenic acid plant area)
                                                               15
                                                                                                                     See also, Appendix A to Mutch
                                                               16                                                    Rebuttal Report, Mar. 4, 2021, at pp. 1-
                                                               17                                                    6.
                                                               18
                                                                     15.      Moving Parties’ Response
                                                               19
                                                               20    This fact is uncontroverted. While Plaintiffs’ response includes several
                                                                     extraneous facts, it does not dispute the asserted fact.
                                                               21
                                                                     Supporting Evidence:
                                                               22
                                                                       • Hagstrom Decl., Ex. B, [5AC] ¶ 375-378.
                                                               23
                                                                     16. Plaintiffs identify the chemicals           Response: Disputed as incomplete.
                                                               24    allegedly released or disposed of at the
                                                                     PMC Site, between 1987-1992, as                 Evidence: Plaintiffs also allege that, in
                                                               25
                                                                     benzene, cresol, MEK, phenol,                   2011, EPA concluded that cresol and
                                                               26    propylene, styrene, and sulfuric acid.          phenol had been disposed of at the
                                                                                                                     PMC Property. Hagstrom Decl., Ex. B,
                                                               27
                                                                     Supporting Evidence:                            at 101 (Dkt. No. 902-48, at #17894,
                                                               28
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       23
                                                                                                                               STATEMENT OF GENUINE DISPUTES
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                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                          • Hagstrom Decl., Ex. B, [5AC] ¶        Fifth AC, ¶ 373). Plaintiffs allege that,
                                                                4
                                                                            373.                                  in 1987, a storage tank was removed
                                                                5                                                 from the PMC Property and soil
                                                                                                                  underneath was found to be
                                                                6
                                                                                                                  contaminated with ethylbenzene and
                                                                7                                                 other chemicals. Id. at ¶ 375. In the
                                                                                                                  same paragraph, Plaintiffs allege
                                                                8
                                                                                                                  Defendant PMC stopped using a
                                                                9                                                 chemical storage tank holding benzene,
                                                                                                                  p-cresol, ethylbenzene and 2-4-
                                                               10
                                                                                                                  dimethylphenol because it had two
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                 cracks in the side and a one-inch hole
                                                                                                                  in the bottom. Id.
                                                               12
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                            Los Angeles, California 90067
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                                                               13                                                 Plaintiffs also allege that, between 1986
                                                                                                                  and 2002, soil investigations at the
                                                               14                                                 PMC Property revealed the presence of
                                                               15                                                 numerous hazardous substances,
                                                                                                                  including: ethylbenzene; PCE; TCE;
                                                               16                                                 toluene; naphthalene; and 1,1,2-TCA.
                                                               17                                                 Id. at ¶ 376.
                                                               18                                                 Plaintiffs’ discovery responses
                                                               19                                                 identified disposals and releases of:
                                                                                                                  acetone, methyl ethyl ketone,
                                                               20                                                 chloroform, naphthalene, benzene,
                                                               21                                                 toluene, ethylbenzene and xylenes,
                                                                                                                  inter alia. Cohen Decl., Ex. 7, at 98-
                                                               22                                                 110 (Plaintiffs’ Supp. Responses to
                                                               23                                                 Def. PMC’s First Set of Interrogs. No.
                                                                                                                  2 & 3 (Jan. 22, 2018)); Ex. 8, at 125-
                                                               24                                                 136 (Plaintiffs’ Supp. Responses to
                                                               25                                                 Def. Ferro’s First Set of Interrogs. No.
                                                                                                                  2 & 3 (Jan. 22, 2018)).
                                                               26
                                                                                                                  Plaintiffs were not obligated to conduct
                                                               27
                                                                                                                  expert discovery in Phase I, the liability
                                                               28                                                 phase, unless and until a party filed a
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    24
                                                                                                                             STATEMENT OF GENUINE DISPUTES
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                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                    motion for summary judgment or
                                                                4
                                                                                                                    partial summary judgment. See Nov.
                                                                5                                                   23, 2020 Order re Briefing and Expert
                                                                                                                    Discovery Schedule – Liability
                                                                6
                                                                                                                    Summary-Judgment Motions (Docket
                                                                7                                                   No. 888). Additional chemicals have
                                                                                                                    been detected in soil and groundwater
                                                                8
                                                                                                                    at the PMC Site. Mutch Rebuttal
                                                                9                                                   Report, Mar. 4, 2021, Appendix A at
                                                                                                                    pp. 6-10 (1,1,2-TCA, 1,2-Dibromo-3-
                                                               10
                                                                                                                    chloropropane, benzene, PCE, toluene,
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                   antimony, arsenic, hexavalent
                                                                                                                    chromium, mercury, nickel, and
                                                               12
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                                                                                                                    selenium detected in soil at the PMC
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                                                               13                                                   Site), pp. 10-14 (1,1,1-TCA, PCE,
                                                               14                                                   DEHP, trans-1,2-DCE, benzene, cis-
                                                                                                                    1,2-DCE, TCE, toluene, and methylene
                                                               15                                                   chloride detected in groundwater at the
                                                               16                                                   PMC Site).

                                                               17
                                                                     16.      Moving Parties’ Response
                                                               18
                                                                     This fact is not controverted. Plaintiffs offer no evidence to dispute the stated fact
                                                               19    nor do they object to the evidence asserted.
                                                               20
                                                               21    17. Relying only on information and            Response: Disputed. Plaintiffs do not
                                                                     belief, Plaintiffs conclude without any        contend that PMC is a source of
                                                               22
                                                                     basis that contaminants have migrated          contamination of another downgradient
                                                               23    into the soil and the groundwater, and         piece of real property; instead,
                                                                     have migrated offsite to support its           Plaintiffs contend that the PMC
                                                               24
                                                                     claim that PMC is a source of                  Property is a source of contamination in
                                                               25    contamination of another downgradient          OU-2 Groundwater. The soils at the
                                                                     property.                                      PMC Property are contaminated with
                                                               26
                                                                                                                    various CERCLA hazardous
                                                               27    Supporting Evidence:                           substances, as is the groundwater, and
                                                                       • Hagstrom Decl., Ex. B, [5AC] ¶             contaminated groundwater has
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      25
                                                                                                                              STATEMENT OF GENUINE DISPUTES
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                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                              379-384.                            migrated offsite.
                                                                4
                                                                5                                                 Evidence: Hagstrom Decl., Ex. B, at
                                                                                                                  102-104, (Dkt. No. 902-48, at #17895-
                                                                6                                                 17897, ¶¶ 379-384); 40 C.F.R. § 302.4;
                                                                7                                                 Cohen Decl., Exs. 5, at 55-56, 68, 71,
                                                                                                                  73 (Waterstone Environmental, Inc.,
                                                                8                                                 Final Environmental Characterization
                                                                9                                                 Report (Sept. 30, 2013) at 18-19 &
                                                                                                                  Table 3 at 12, 15, 17),_16, at 194
                                                               10                                                 (Kaman Sciences Corp., Soil and
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                 Groundwater Assessment in the
                                                                                                                  Vicinity of Tank T-81 (Jun. 1988) at 3-
                                                               12
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                                                                                                                  5); Mutch Rebuttal Report, Mar. 4,
                            Los Angeles, California 90067
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                                                               13                                                 2021, at 2-11 to 2-12 & Fig. 2-18,
                                                                                                                  Appendix A at pp. 6-13.
                                                               14
                                                               15    17.      Moving Parties’ Response
                                                               16
                                                                     Plaintiffs have only made conclusory allegations in its opposition in an effort to
                                                               17    salvage their claims after Defendants motion for summary judgment was filed.
                                                               18    Plaintiff’s Complaint states “Upon information and belief, the hazardous
                                                                     substances present in the soil at the PMC Source Property have migrated and
                                                               19    continue to migrate into the saturated zone beneath the property and have come to
                                                               20    be located in groundwater….Groundwater analysis completed in the region
                                                                     indicates that benzene and toluene have migrated downgradient from the PMC
                                                               21    Source Property.” 5AC, ¶ 377
                                                               22    “Upon information and belief, contaminants in the soil and in groundwater from
                                                               23    the soil at the PMC Source Property have migrated offsite in the same general
                                                                     direction as the regional groundwater flow…” 5AC, ¶ 379.
                                                               24
                                                               25    “However, evidence from a downgradient site, OFRP, has confirmed that releases
                                                                     of benzene and toluene from the PMC Source Property are impacting offsite
                                                               26    groundwater.” 5AC, ¶ 385.
                                                               27
                                                                     “Upon information and belief, the source of contamination at the OFRP site is the
                                                               28
                                                                                                                           MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    26
                                                                                                                            STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                           MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2       UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3          SUPPORTING EVIDENCE
                                                                        PMC Source Property.’ 5AC, ¶ 386.
                                                                4
                                                                5       Mr. Mutch’s conclusory assertions are speculative and lack support. The
                                                                        groundwater modeling relied upon by Mr. Mutch does not take into account the
                                                                6       “diffusion, biodegradation, retardation and other factors” that “you include” in
                                                                7       “contaminant transport modeling”. Hagström Reply Decl. ¶ 3, Exh. G, Mutch
                                                                        Depo VII, p. 825:3-6. Mr. Mutch admits that he has not done the “careful
                                                                8       analysis” [to determine the contaminant source], which would include “field
                                                                9       work” … additional drilling, well construction, soil sampling, and I think certain
                                                                        forensic technologies, certainly chemical fingerprinting, probably compound
                                                               10       specific isotope analysis, what we call CSIA analysis in selected wells” to
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                                                               11       determine the source of the contamination shown in the area immediately adjacent
                                                                        to the OU-2 boundary as drawn by Mr. Mutch on Figure 2-183. Id. ¶ 3-4, Ex. G.,
                                                               12
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                                                                        Mutch Depo VII at pp. 860:19-25; 861:1-10; 861:15-18; Ex. H, at 2-18.
                            Los Angeles, California 90067
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                                                               13
                                                               14
                                                               15       18. Plaintiffs only allege that              Response: Disputed. Plaintiffs’ Fifth
                                                               16       Benzene and toluene migrated to the          Amended Complaint asserts numerous
                                                                        Oil Field Reclamation Project                allegations against Defendants PMC
                                                               17       (“OFRP”) Site, which sits in between         Specialties Group, Inc. and Ferro Corp.,
                                                               18       the PMC Site and the Omega OU-2              including that contaminants in the soil
                                                                        Plume to the west and downgradient of        and in the groundwater from the soil at
                                                               19       the PMC Site.                                the PMC Source Property have
                                                               20                                                    migrated offsite in the same general
                                                                        Supporting Evidence:                         direction as the regional groundwater
                                                               21         • Hagström Decl., Ex. B, [5AC] ¶           flow.
                                                                             383-386.
                                                               22                                                    Evidence: Hagstrom Decl., Ex. B,
                                                               23                                                    [5AC] ¶¶ 97-98; 115; 367-386; 396-
                                                                                                                     426.
                                                               24
                                                               25                                                    Plaintiffs were not obligated to conduct
                                                                                                                     expert discovery in Phase I, the liability
                                                               26
                                                               27   3
                                                                     The yellow highlights on the version attached to the Hagström Reply Declaration
                                                                    were added by PMC and reflect those results which were unavailable, unreliable,
                                                               28   estimated, and/or below the detection limit.
                                                                                                                               MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       27
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                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                   phase, unless and until a party filed a
                                                                4
                                                                                                                   motion for summary judgment or
                                                                5                                                  partial summary judgment. See Nov.
                                                                                                                   23, 2020 Order re Briefing and Expert
                                                                6
                                                                                                                   Discovery Schedule – Liability
                                                                7                                                  Summary-Judgment Motions (Docket
                                                                                                                   No. 888). Groundwater contamination
                                                                8
                                                                                                                   from the PMC Site migrates into the
                                                                9                                                  OU-2 Groundwater plume. Mutch
                                                                                                                   Rebuttal Report, Mar. 4, 2021, at § 2.1,
                                                               10
                                                                                                                   Figures 2-5 through 2-9, Appendix A to
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                  Mutch Rebuttal Report, Mar. 4, 2021,
                                                                                                                   at pp. 5-14 & Figure 1-1.
                                                               12
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                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13
                                                                     18.      Moving Parties’ Response
                                                               14
                                                                     Plaintiffs have only made this conclusory allegations in its opposition in an effort
                                                               15    to salvage their claims after Defendants motion for summary judgment was filed.
                                                               16    Plaintiff’s Complaint states “Upon information and belief, the hazardous
                                                                     substances present in the soil at the PMC Source Property have migrated and
                                                               17    continue to migrate into the saturated zone beneath the property and have come to
                                                               18    be located in groundwater….Groundwater analysis completed in the region
                                                                     indicates that benzene and toluene have migrated downgradient from the PMC
                                                               19    Source Property.” 5AC, ¶ 377
                                                               20
                                                                     “Upon information and belief, contaminants in the soil and in groundwater from
                                                               21    the soil at the PMC Source Property have migrated offsite in the same general
                                                               22    direction as the regional groundwater flow…” 5AC, ¶ 379.

                                                               23    “However, evidence from a downgradient site, OFRP, has confirmed that releases
                                                                     of benzene and toluene from the PMC Source Property are impacting offsite
                                                               24    groundwater.” 5AC, ¶ 385.
                                                               25
                                                                     “Upon information and belief, the source of contamination at the OFRP site is the
                                                               26    PMC Source Property.’ 5AC, ¶ 386.
                                                               27
                                                                     Mr. Mutch’s conclusory assertions are speculative and lack support. The
                                                               28    groundwater modeling relied upon by Mr. Mutch does not take into account the
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     28
                                                                                                                             STATEMENT OF GENUINE DISPUTES
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                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     “diffusion, biodegradation, retardation and other factors” that “you include” in
                                                                4
                                                                     “contaminant transport modeling”. Hagström Reply Decl. ¶ 3, Exh. G, Mutch
                                                                5    Depo VII, p. 825:3-6. Mr. Mutch admits that he has not done the “careful
                                                                     analysis” [to determine the contaminant source], which would include “field
                                                                6
                                                                     work” … additional drilling, well construction, soil sampling, and I think certain
                                                                7    forensic technologies, certainly chemical fingerprinting, probably compound
                                                                     specific isotope analysis, what we call CSIA analysis in selected wells” to
                                                                8
                                                                     determine the source of the contamination shown in the area immediately adjacent
                                                                9    to the OU-2 boundary as drawn by Mr. Mutch on Figure 2-18. Id. ¶ 3-4, Ex. G.,
                                                                     Mutch Depo VII at pp. 860:19-25; 861:1-10; 861:15-18; Ex. H, at 2-18.
                                                               10
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    Notably, Plaintiffs failed to object to the evidence offered by PMC.
                                                               12
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                            Los Angeles, California 90067




                                                                     19. In Plaintiffs’ responses to PMC’s         Response: Disputed.
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                                                               13    discovery, Plaintiffs’ only allege
                                                               14    “groundwater contamination from the     Evidence: Plaintiffs were not obligated
                                                                     [PMC Site] may intersect OU-2 given     to conduct expert discovery in Phase I,
                                                               15    that the groundwater flow direction     the liability phase, unless and until a
                                                               16    from that property has been determined  party filed a motion for summary
                                                                     to be to the southwest.”                judgment or partial summary judgment.
                                                               17                                            See Nov. 23, 2020 Order re Briefing
                                                               18    Supporting Evidence:                    and Expert Discovery Schedule –
                                                                       • Hagstrom Decl., Ex. C, [Ferro       Liability Summary-Judgment Motions
                                                               19         Corporation’s Interrogatories to   (Docket No. 888). Groundwater
                                                               20         Plaintiffs] Nos. 3-4, Ex. D,       contamination from the PMC Site
                                                                          [Plaintiffs’ Supplemental Resp.    migrates into the OU-2 Groundwater
                                                               21         to Ferro Corporation’s             plume. Mutch Rebuttal Report, Mar. 4,
                                                               22         Interrogatories to Plaintiffs] No. 2021, at § 2.1, Figures 2-5 through 2-9,
                                                                          3-4; Ex. E, [PMC Interrogatories Appendix A to Mutch Rebuttal Report,
                                                               23         to Plaintiffs], No. 3, Ex. F, [PMC Mar. 4, 2021, at pp. 5-14 & Figure 1-1.
                                                               24         Supplemental Resp. to PMC’s
                                                                          Interrogatories to Plaintiffs] No.
                                                               25         3.
                                                               26
                                                               27    19.      Moving Parties’ Response
                                                               28
                                                                                                                           MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     29
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                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     This fact is uncontroverted. Plaintiffs offer no dispute that in its discovery
                                                                4
                                                                     responses, these are the only allegations asserted regarding the hypothetical
                                                                5    possibly that contamination may intersect OU2 groundwater.
                                                                6    Mr. Mutch’s conclusory assertions are speculative and lack support. The
                                                                7    groundwater modeling relied upon by Mr. Mutch does not take into account the
                                                                     “diffusion, biodegradation, retardation and other factors” that “you include” in
                                                                8    “contaminant transport modeling”. Hagström Reply Decl. ¶ 3, Exh. G, Mutch
                                                                9    Depo VII, p. 825:3-6. Mr. Mutch admits that he has not done the “careful
                                                                     analysis” [to determine the contaminant source], which would include “field
                                                               10    work” … additional drilling, well construction, soil sampling, and I think certain
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                                                               11    forensic technologies, certainly chemical fingerprinting, probably compound
                                                                     specific isotope analysis, what we call CSIA analysis in selected wells” to
                                                               12
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                                                                     determine the source of the contamination shown in the area immediately adjacent
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                                                               13    to the OU-2 boundary as drawn by Mr. Mutch on Figure 2-18. Id. ¶ 3-4, Ex. G.,
                                                                     Mutch Depo VII at pp. 860:19-25; 861:1-10; 861:15-18; Ex. H, at 2-18.
                                                               14
                                                               15    Notably, Plaintiffs did not assert evidentiary objections as to PMC’s Evidence.

                                                               16
                                                                     20. The PMC Site is not located                Response: Disputed and immaterial.
                                                               17    above or adjacent to the OU-2 Facility.        The PMC Source Property is located on
                                                               18                                                   10051 Romandel Avenue, Santa Fe
                                                                     Supporting Evidence:                           Springs, California. The eastern
                                                               19      • Vogl Decl. ¶ 17, Ex. C [site               boundary of Operable Unit No. 2,
                                                                          map], G [PMC Plot Plan] and H             according to PMC’s expert, Mr.
                                                               20
                                                                          [map showing OFRP].                       Richard Vogel, passes 1,000 feet to the
                                                               21                                                   west of the PMC Source Property,
                                                               22                                                   although CH2M HILL appears to have
                                                                                                                    placed it closer.
                                                               23
                                                                                                                    Evidence: Mot. at 14; Vogl Decl. ¶
                                                               24                                                   11a; Opp’n RFJN, Ex. 2, at 30 (CH2M
                                                               25                                                   HILL, Final Remedial Investigation /
                                                                                                                    Feasibility Study Reports, August
                                                               26
                                                                                                                    2010, at Fig. 1-4).
                                                               27
                                                                                                                    Plaintiffs object to paragraph 20 as
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      30
                                                                                                                              STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                    immaterial for purposes of deciding this
                                                                4
                                                                                                                    motion for summary judgment. Fresno
                                                                5                                                   Motors, LLC v. Mercedes Benz USA,
                                                                                                                    LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                                6
                                                                                                                    2014); Falkner v. Gen. Motors LLC,
                                                                7                                                   393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                                                                                    2018) (“A material fact for purposes of
                                                                8
                                                                                                                    summary judgment is one that might
                                                                9                                                   affect the outcome of the suit under the
                                                                                                                    applicable law.”) (citation omitted).
                                                               10
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                                                               11
                                                                     20.      Moving Parties’ Response
                                                               12
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                            Los Angeles, California 90067




                                                                     While Plaintiff’s response states that the fact is disputed, it does not actually
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                                                               13    dispute that the PMC Site is not located adjacent or above the Omega OU-2
                                                               14    Plume. Notably, Plaintiffs did not object to PMC’s evidence.
                                                               15    Supporting Evidence:
                                                               16      • Vogl Decl. ¶ 17, Ex. C [site map], G [PMC Plot Plan] and H [map showing
                                                                          OFRP].
                                                               17
                                                                     21. The available data demonstrates            Response: Disputed and immaterial.
                                                               18
                                                                     that no mixing, commingling, or                Plaintiffs need only establish a
                                                               19    intersection of the PMC Plume and the          plausible migration pathway, not
                                                                     Omega OU-2 Plume has occurred.                 mixing, commingling or intersection.
                                                               20
                                                               21    Supporting Evidence:                           Evidence: Mutch Rebuttal Report §§
                                                                       • Vogl Decl., ¶¶ 10-23, Ex. C [site          2.1, 2.3 & Figs. 2-5 to 2-9, 2-18; Opp’n
                                                               22         map], G [PMC Plot Plan] and H             RFJN, Ex. 2, at 30 (CH2M HILL, Final
                                                               23         [map showing OFRP].                       Remedial Investigation / Feasibility
                                                                                                                    Study Reports (August 2010) at Fig. 1-
                                                               24                                                   4); Cohen Decl., Ex. 14, at 181-183 _
                                                               25                                                   (Intera Incorporated, Final
                                                                                                                    Groundwater Flow Model
                                                               26                                                   Development and Calibration Report
                                                               27                                                   (May 11, 2020) at Figs. 2.5, 4.7, 5.11).
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      31
                                                                                                                              STATEMENT OF GENUINE DISPUTES
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                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                     Plaintiffs object to paragraph 21 as
                                                                4
                                                                                                                     immaterial for purposes of deciding this
                                                                5                                                    motion for summary judgment. Fresno
                                                                                                                     Motors, LLC v. Mercedes Benz USA,
                                                                6
                                                                                                                     LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                                7                                                    2014); Falkner v. Gen. Motors LLC,
                                                                                                                     393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                                8
                                                                                                                     2018) (“A material fact for purposes of
                                                                9                                                    summary judgment is one that might
                                                                                                                     affect the outcome of the suit under the
                                                               10
                                                                                                                     applicable law.”) (citation omitted).
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                                                               11
                                                               12    21.      Moving Parties’ Response
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                            Los Angeles, California 90067
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                                                               13    While Plaintiff states that it disputes the fact, it does not actually state any facts in
                                                               14    dispute. Instead, it makes a legal argument that Defendants uncontroverted fact is
                                                                     not relevant, a complete misstatement of the law. Plaintiff has not described any
                                                               15    dispute as to the stated uncontroverted fact that no mixing, commingling, or
                                                               16    intersection of the PMC Plume and the Omega OU-2 Plume has occurred, it
                                                                     simply argues it is not material to the motion.
                                                               17
                                                               18    Mr. Mutch’s conclusory assertions are speculative and lack support. The
                                                                     groundwater modeling relied upon by Mr. Mutch does not take into account the
                                                               19    “diffusion, biodegradation, retardation and other factors” that “you include” in
                                                               20    “contaminant transport modeling”. Hagström Reply Decl. ¶ 3, Exh. G, Mutch
                                                                     Depo VII, p. 825:3-6. Mr. Mutch admits that he has not done the “careful
                                                               21    analysis” [to determine the contaminant source], which would include “field
                                                               22    work” … additional drilling, well construction, soil sampling, and I think certain
                                                                     forensic technologies, certainly chemical fingerprinting, probably compound
                                                               23    specific isotope analysis, what we call CSIA analysis in selected wells” to
                                                               24    determine the source of the contamination shown in the area immediately adjacent
                                                                     to the OU-2 boundary as drawn by Mr. Mutch on Figure 2-18. Id. ¶ 3-4, Ex. G.,
                                                               25    Mutch Depo VII at pp. 860:19-25; 861:1-10; 861:15-18; Ex. H, at 2-18.
                                                               26
                                                                     Notably, Plaintiffs did not assert evidentiary objections to PMC’s evidence.
                                                               27
                                                                     Supporting Evidence:
                                                               28
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       32
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                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                           • Vogl Decl., ¶¶ 10-23, Ex. C [site map], G [PMC Plot Plan] and H [map
                                                                4
                                                                             showing OFRP].
                                                                5
                                                                     22. The distinct chemical and                   Response: Disputed and immaterial.
                                                                6    physical characteristics of each plume          Plaintiffs need only establish a
                                                                7    demonstrate the PMC Plume has not               plausible migration pathway, not
                                                                     reached, commingled or intersected the          mixing, commingling or intersection.
                                                                8    Omega OU-2 Plume.
                                                                9                                                    Evidence: Mutch Rebuttal Report §§
                                                                     Supporting Evidence:                            2.1, 2.3, 2.6 & Figs. 2-5 to 2-9, 2-18;
                                                               10      • Vogl Decl., ¶¶ 10f, 11c, 20b-c,             Opp’n RFJN, Ex. 2, at 30 (CH2M
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                                                               11         Ex. Q-1, Q-2 [Chemical                     HILL, Final Remedial Investigation /
                                                                          Fingerprint Analysis]                      Feasibility Study Reports (August
                                                               12                                                    2010) at Fig. 1-4); Cohen Decl., Ex. 14,
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                            Los Angeles, California 90067
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                                                               13                                                    at 181-183_(Intera Incorporated, Final
                                                                                                                     Groundwater Flow Model
                                                               14                                                    Development and Calibration Report
                                                               15                                                    (May 11, 2020) at Figs. 2.5, 4.7, 5.11).

                                                               16                                                    Plaintiffs object to paragraph 22 as
                                                                                                                     immaterial for purposes of deciding this
                                                               17
                                                                                                                     motion for summary judgment. Fresno
                                                               18                                                    Motors, LLC v. Mercedes Benz USA,
                                                                                                                     LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                               19
                                                                                                                     2014); Falkner v. Gen. Motors LLC,
                                                               20                                                    393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                                                                                     2018) (“A material fact for purposes of
                                                               21
                                                                                                                     summary judgment is one that might
                                                               22                                                    affect the outcome of the suit under the
                                                                                                                     applicable law.”) (citation omitted).
                                                               23
                                                               24
                                                                     22.      Moving Parties’ Response
                                                               25
                                                                     While Plaintiff states that it disputes the fact, it does not actually state any facts in
                                                               26    dispute. Instead, it makes a legal argument that Defendants uncontroverted fact is
                                                               27    not relevant, a complete misstatement of the law. Plaintiff has not described any
                                                                     dispute as to the stated uncontroverted fact that no mixing, commingling, or
                                                               28
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       33
                                                                                                                               STATEMENT OF GENUINE DISPUTES
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                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     intersection of the PMC Plume and the Omega OU-2 Plume has occurred, it
                                                                4
                                                                     simply argues it is not material to the motion. The fact that the groundwater data
                                                                5    identifying the distinct chemical and physical characteristics of demonstrates
                                                                     contaminants have not reached, commingled or intersected the OU-2 Plume is
                                                                6
                                                                     absolutely relevant to the determination of the motion.
                                                                7
                                                                     Mr. Mutch’s conclusory assertions are speculative and lack support. The
                                                                8    groundwater modeling relied upon by Mr. Mutch does not take into account the
                                                                9    “diffusion, biodegradation, retardation and other factors” that “you include” in
                                                                     “contaminant transport modeling”. Hagström Reply Decl. ¶ 3, Exh. G, Mutch
                                                               10    Depo VII, p. 825:3-6. Mr. Mutch admits that he has not done the “careful
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                                                               11    analysis” [to determine the contaminant source], which would include “field
                                                                     work” … additional drilling, well construction, soil sampling, and I think certain
                                                               12
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                                                                     forensic technologies, certainly chemical fingerprinting, probably compound
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                                                               13    specific isotope analysis, what we call CSIA analysis in selected wells” to
                                                                     determine the source of the contamination shown in the area immediately adjacent
                                                               14    to the OU-2 boundary as drawn by Mr. Mutch on Figure 2-18. Id. ¶ 3-4, Ex. G.,
                                                               15    Mutch Depo VII at pp. 860:19-25; 861:1-10; 861:15-18; Ex. H, at 2-18.
                                                               16    Notably, Plaintiffs did not object to PMC’s evidence.
                                                               17
                                                               18    23. The most frequently detected               Response: Disputed as misleading and
                                                                     chemicals at the highest concentrations        immaterial.
                                                               19    in the Omega OU-2 Plume is
                                                                     characterized by the VOCs,                     Evidence: There are more than three
                                                               20                                                   contaminants in OU-2 Groundwater,
                                                                     trichloroethylene (“TCE”),
                                                               21    perchloroethylene (“PCE”), and 1, 1            and benzene is included on the list.
                                                                     dichloroethene (“1, 1-DCE”)                    Mutch Rebuttal Report, Mar. 4, 2012,
                                                               22                                                   at § 2.6. Benzene is present in both the
                                                                     (collectively “Omega OU-2 Marker
                                                               23    Chemicals”)                                    OU-2 Groundwater plume and
                                                                                                                    groundwater at the PMC Site. Id.;
                                                               24    Supporting Evidence:                           RFJN, Ex. 1, at 42-43 (listing benzene
                                                               25      • Vogl Decl., ¶¶ 20b, Ex. Q-1, Q-2           as contaminant of potential concern in
                                                                          [Chemical Fingerprint Analysis].          OU-2 Groundwater); Cohen Decl., Ex.
                                                               26
                                                                                                                    10, at 173_(Waterstone Envtl., Inc.,
                                                               27                                                   Envtl. Characterization Report—
                                                                                                                    Former Productol Site (July 12, 2000)
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
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                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                    at 2) (identifying chemicals detected in
                                                                4
                                                                                                                    groundwater at the PMC Site at
                                                                5                                                   elevated concentrations, including
                                                                                                                    benzene).
                                                                6
                                                                7                                                   Plaintiffs object to paragraph 23 as
                                                                                                                    immaterial for purposes of deciding this
                                                                8                                                   motion for summary judgment. Fresno
                                                                9                                                   Motors, LLC v. Mercedes Benz USA,
                                                                                                                    LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                               10                                                   2014); Falkner v. Gen. Motors LLC,
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                   393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                                                                                    2018) (“A material fact for purposes of
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                    summary judgment is one that might
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                                                               13                                                   affect the outcome of the suit under the
                                                                                                                    applicable law.”) (citation omitted).
                                                               14
                                                               15
                                                                     23.      Moving Parties’ Response
                                                               16
                                                                     Plaintiffs do not dispute the uncontroverted fact originally offered, that the
                                                               17    Omega OU-2 Plume is characterized by high concentrations of TCE, PCE and
                                                               18    1,1-DCE.
                                                               19    Notably, Plaintiffs did not assert evidentiary objections to PMC’s evidence.
                                                               20
                                                               21    24. The most frequently detected               Response: Disputed as misleading.
                                                                     chemicals at the highest concentrations
                                                               22    in the PMC Plume are naphthalene and           Evidence: There are more than two
                                                                     benzene.                                       contaminants in groundwater at the
                                                               23
                                                                                                                    PMC Site. Mutch Rebuttal Report,
                                                               24    Supporting Evidence                            Mar. 4, 2012, at § 2.6. Cohen Decl., Ex.
                                                                       • Vogl Decl., ¶ 13g, 20b. See Also,          10, at 173_(Waterstone Envtl., Inc.,
                                                               25
                                                                          Ex. F2 [Voluntary Cleanup                 Envtl. Characterization Report—
                                                               26         Agreement for PMC Site].                  Former Productol Site (July 12, 2000)
                                                                                                                    at 2) (identifying chemicals detected in
                                                               27
                                                                                                                    groundwater at the PMC Site at
                                                               28                                                   elevated concentrations, including 2-
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      35
                                                                                                                              STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                     Methyl and 4-Methyl phenol, 2,4-
                                                                4
                                                                                                                     Dimethylphenol and Phenol).
                                                                5
                                                                                                                     The PMC Defendants’ expert, Richard
                                                                6                                                    Vogl, has not drawn a representation of
                                                                7                                                    the purported “PMC Plume,” Cohen
                                                                                                                     Decl., Ex. 9, at 146-147, 162 (R. Vogl
                                                                8                                                    Dep. Tr., at 40:22 to 41:14; 162:11-20),
                                                                9                                                    nor does the stated fact identify other
                                                                                                                     hazardous substances, including phenol
                                                               10                                                    and 2,4-DIMP, that have been detected
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                    in groundwater at the PMC Site and
                                                                                                                     downgradient of the PMC Site. Cohen
                                                               12
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                                                                                                                     Decl., Ex. 10, at 173 (Waterstone
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13                                                    Environmental, Inc. Environmental
                                                                                                                     Characterization Report (Jul. 12, 2000),
                                                               14                                                    at 2); see Mutch Rebuttal Report, Mar.
                                                               15                                                    4, 2021, at Figure 2-18.
                                                               16
                                                                     24.      Moving Parties’ Response
                                                               17
                                                               18    Plaintiffs do not dispute the uncontroverted fact offered, that the chemicals with
                                                                     the highest concentration in the PMC Plume are naphthalene and benzene.
                                                               19
                                                                     Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               20
                                                               21    25. The groundwater contaminants in             Response: Disputed and immaterial.
                                                               22    the Omega OU-2 Plume show
                                                                     detections of the Omega OU-2 Marker    Evidence: Mutch Rebuttal Report §§
                                                               23                                           2.5, 2.6 & Fig. 2-18; Opp’n RFJN, Exs.
                                                                     Chemicals are consistently detected at
                                                               24                                           2, at 31 (CH2M HILL, Remedial
                                                                     substantially similar magnitudes in both
                                                                     OU-1 and OU-2.                         Investigation / Feasibility Study
                                                               25                                           Reports, Operable Unit 2 (Aug. 2010)
                                                               26    Supporting Evidence:                   at 2-1), 3, at 55 (OU-2 Consent Decree
                                                                       • Vogl Decl., ¶ 20f, Ex. P [map      (Oct. 6, 2016), Appendix B, at 287);
                                                               27         depicting well data used re       Cohen Decl., Ex. 10, at 173
                                                               28         chemical fingerprinting], Q-1, Q- (Waterstone Environmental, Inc.
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       36
                                                                                                                               STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                              2 [chemical fingerprinting            Environmental Characterization Report
                                                                4
                                                                              analysis].                            (Jul. 12, 2000), at 2).
                                                                5
                                                                                                                    Plaintiffs object to paragraph 25 as
                                                                6                                                   immaterial for purposes of deciding this
                                                                7                                                   motion for summary judgment. Fresno
                                                                                                                    Motors, LLC v. Mercedes Benz USA,
                                                                8                                                   LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                                9                                                   2014); Falkner v. Gen. Motors LLC,
                                                                                                                    393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                               10                                                   2018) (“A material fact for purposes of
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                   summary judgment is one that might
                                                                                                                    affect the outcome of the suit under the
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                    applicable law.”) (citation omitted).
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13
                                                               14    25.      Moving Parties’ Response
                                                               15    This fact is uncontroverted. While Plaintiffs state it is disputed, they offer no
                                                               16    explanation of what is disputed.

                                                               17    Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               18    Supporting Evidence:
                                                               19      • Vogl Decl., ¶ 20f, Ex. P [map depicting well data used re chemical
                                                                          fingerprinting], Q-1, Q-2 [chemical fingerprinting analysis].
                                                               20
                                                                     26. The same maximum                           Response: Disputed and immaterial.
                                                               21
                                                                     downgradient reach or outer edge of
                                                               22    TCE, PCE and 1,1 DCE, which                    Evidence: Mutch Rebuttal Report §§
                                                                     migrated onto the PMC Site from                2.5, 2.6 & Fig. 2-18; Opp’n RFJN, Exs.
                                                               23                                                   2, at_31 (CH2M HILL, Remedial
                                                                     upgradient sources, is also defined by
                                                               24    non-detect test results in monitoring          Investigation / Feasibility Study
                                                                     wells located less than 450 feet from the      Reports, Operable Unit 2 (Aug. 2010)
                                                               25                                                   at 2-1), 3, at 55 (OU-2 Consent Decree
                                                                     PMC Site.
                                                               26                                                   (Oct. 6, 2016), Appendix B, at 287);
                                                                                                                    Cohen Decl., Ex. 10, at 173
                                                               27    Supporting Evidence:                           (Waterstone Environmental, Inc.
                                                               28      • Vogl Decl., ¶¶ 19a(viii), 20f, Ex.         Environmental Characterization Report,
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      37
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                         PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                           SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                              P [map depicting well data used          Jul. 12, 2000, at 2).
                                                                4
                                                                              re chemical fingerprinting], Q-1,
                                                                5             Q-2 [chemical fingerprinting             Plaintiffs object to paragraph 26 as
                                                                              analysis].                               immaterial for purposes of deciding this
                                                                6                                                      motion for summary judgment. Fresno
                                                                7                                                      Motors, LLC v. Mercedes Benz USA,
                                                                                                                       LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                                8                                                      2014); Falkner v. Gen. Motors LLC,
                                                                9                                                      393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                                                                                       2018) (“A material fact for purposes of
                                                               10                                                      summary judgment is one that might
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                      affect the outcome of the suit under the
                                                                                                                       applicable law.”) (citation omitted).
                                                               12
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                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13    26.      Moving Parties’ Response
                                                               14
                                                                     While Plaintiff alleges the fact is disputed, it does not explain what is disputed.
                                                               15
                                                                     To the extent Plaintiffs claim that Mr. Mutch’s rebuttal report disputes this fact, it
                                                               16    does not. Mr. Mutch’s conclusory assertions are speculative and lack support.
                                                               17    The groundwater modeling relied upon by Mr. Mutch does not take into account
                                                                     the “diffusion, biodegradation, retardation and other factors” that “you include” in
                                                               18    “contaminant transport modeling”. Hagström Reply Decl. ¶ 3, Exh. G, Mutch
                                                               19    Depo VII, p. 825:3-6. Mr. Mutch admits that he has not done the “careful
                                                                     analysis” [to determine the contaminant source], which would include “field
                                                               20    work” … additional drilling, well construction, soil sampling, and I think certain
                                                               21    forensic technologies, certainly chemical fingerprinting, probably compound
                                                                     specific isotope analysis, what we call CSIA analysis in selected wells” to
                                                               22    determine the source of the contamination shown in the area immediately adjacent
                                                               23    to the OU-2 boundary as drawn by Mr. Mutch on Figure 2-18. Id. ¶ 3-4, Ex. G.,
                                                                     Mutch Depo VII at pp. 860:19-25; 861:1-10; 861:15-18; Ex. H, at 2-18.
                                                               24
                                                               25    Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.

                                                               26
                                                                     27. The benzene and naphthalene                   Response: Disputed and immaterial.
                                                               27    plume originating from the PMC Site               The cited evidence does not support the
                                                               28    attenuates to non-detect concentrations           statement. Mr. Vogl’s declaration does
                                                                                                                                 MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                         38
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     within 800 feet downgradient from the          not include an explanation or graphic
                                                                4
                                                                     PMC Site.                                      depicting the nature or extent of a
                                                                5                                                   plume originating from the PMC
                                                                     Supporting Evidence                            Property. Contamination from the PMC
                                                                6      • Vogl Decl., ¶ 20a-e, Ex. Q-1               Property has impacted or threatens to
                                                                7         [chemical fingerprinting                  impact OU-2 Groundwater.
                                                                          analysis].
                                                                8                                                   Evidence: Mutch Rebuttal Report §§
                                                                9                                                   2.1, 2.3 & Figs. 2-5 to 2-9, 2-18; Opp’n
                                                                                                                    RFJN, Ex. 2, at 30 (CH2M HILL, Final
                                                               10                                                   Remedial Investigation / Feasibility
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                   Study Reports (Aug. 2010) at Fig. 1-4);
                                                                                                                    Cohen Decl., Ex. 14, at 181-183 (Intera
                                                               12
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                                                                                                                    Incorporated, Final Groundwater Flow
                            Los Angeles, California 90067
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                                                               13                                                   Model Development and Calibration
                                                                                                                    Report (May 11, 2020) at Figs. 2.5, 4.7,
                                                               14                                                   5.11).
                                                               15
                                                                                                                    Plaintiffs object to paragraph 27 as
                                                               16                                                   immaterial for purposes of deciding this
                                                               17                                                   motion for summary judgment. Fresno
                                                                                                                    Motors, LLC v. Mercedes Benz USA,
                                                               18                                                   LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                               19                                                   2014); Falkner v. Gen. Motors LLC,
                                                                                                                    393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                               20                                                   2018) (“A material fact for purposes of
                                                               21                                                   summary judgment is one that might
                                                                                                                    affect the outcome of the suit under the
                                                               22                                                   applicable law.”) (citation omitted).
                                                               23
                                                               24    27.      Moving Parties’ Response

                                                               25    Mr. Vogl describes the non-detects for TCE and PCE at MW-22 and M-23, which
                                                                     are downgradient from MW-21, between the PMC Site and the Omega OU-2
                                                               26
                                                                     Plume, as well as the Beaumon Trust Site. Vogl Declaration, 19a(i)-(viii).
                                                               27
                                                                      To the extent Plaintiffs claim that Mr. Mutch’s rebuttal report disputes this fact, it
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      39
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     does not. Mr. Mutch’s conclusory assertions are speculative and lack support.
                                                                4
                                                                     The groundwater modeling relied upon by Mr. Mutch does not take into account
                                                                5    the “diffusion, biodegradation, retardation and other factors” that “you include” in
                                                                     “contaminant transport modeling”. Hagström Reply Decl. ¶ 3, Exh. G, Mutch
                                                                6
                                                                     Depo VII, p. 825:3-6. Mr. Mutch admits that he has not done the “careful
                                                                7    analysis” [to determine the contaminant source], which would include “field
                                                                     work” … additional drilling, well construction, soil sampling, and I think certain
                                                                8
                                                                     forensic technologies, certainly chemical fingerprinting, probably compound
                                                                9    specific isotope analysis, what we call CSIA analysis in selected wells” to
                                                                     determine the source of the contamination shown in the area immediately adjacent
                                                               10
                                                                     to the OU-2 boundary as drawn by Mr. Mutch on Figure 2-18. Id. ¶ 3-4, Ex. G.,
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    Mutch Depo VII at pp. 860:19-25; 861:1-10; 861:15-18; Ex. H, at 2-18. While
                                                                     Mr. Mutch contends groundwater flow from the PMC Site reaches OU-2
                                                               12
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                                                                     Groundwater, he makes no effort to establish that contaminants (and admits he
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       & MACHTINGER LLP




                                                               13    has not done the work to support such a conclusion), with varying chemical
                                                               14    properties, would have traveled that far.

                                                               15    Notably, Plaintiffs did not object to PMC’s evidence.
                                                               16
                                                                     28. The trace amount of benzene in             Response: Disputed and immaterial.
                                                               17    the Omega OU-2 Mid-plume and                   The cited evidence does not support the
                                                               18    benzene in these three downgradient            statement that benzene in the Omega
                                                                     areas are likely from gasoline or light        OU-2 Mid-plume and benzene in these
                                                               19    end hydrocarbon releases on the                three downgradient areas are likely
                                                               20    numerous properties with underground           from the sources referenced in the fact.
                                                                     storage tanks and/or Leaky                     Contamination from the PMC Property
                                                               21    Underground Storage Tank (“LUST”),             has impacted or threatens to impact
                                                               22    and other chemical releases.                   OU-2 Groundwater.
                                                               23    Supporting Evidence                            Evidence: Mutch Rebuttal Report §§
                                                               24      • Vogl Decl., ¶ 20d-g, Ex. Q-1               2.1, 2.3 & Figs. 2-5 to 2-9, 2-18; Opp’n
                                                                          [chemical fingerprinting                  RFJN, Ex. 2, at 30 (CH2M HILL, Final
                                                               25         analysis].                                Remedial Investigation / Feasibility
                                                               26                                                   Study Reports (Aug. 2010) at Fig. 1-4);
                                                                                                                    Cohen Decl., Ex. 14, at 181-183 (Intera
                                                               27                                                   Incorporated, Final Groundwater Flow
                                                               28                                                   Model Development and Calibration
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                    Report, May 11, 2020, Figs. 2.5, 4.7,
                                                                4
                                                                                                                    5.11).
                                                                5
                                                                                                                    Plaintiffs object to paragraph 28 as
                                                                6                                                   immaterial for purposes of deciding this
                                                                7                                                   motion for summary judgment. Fresno
                                                                                                                    Motors, LLC v. Mercedes Benz USA,
                                                                8                                                   LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                                9                                                   2014); Falkner v. Gen. Motors LLC,
                                                                                                                    393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                               10                                                   2018) (“A material fact for purposes of
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                   summary judgment is one that might
                                                                                                                    affect the outcome of the suit under the
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                    applicable law.”) (citation omitted).
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13
                                                               14    28.      Moving Parties’ Response
                                                               15    While Plaintiffs state the fact is disputed, it offers no explanation as to what the
                                                               16    dispute is. It simply concludes that “Contamination from the PMC Property has
                                                                     impacted or threatens to impact OU-2 Groundwater.”
                                                               17
                                                                     Mr. Vogl describes the non-detects for TCE and PCE at MW-22 and M-23, which
                                                               18    are downgradient from MW-21, between the PMC Site and the Omega OU-2
                                                               19    Plume, as well as the Beaumon Trust Site. Vogl Decl., ¶ 19a(i)-(viii).
                                                               20    To the extent Plaintiffs claim that Mr. Mutch’s rebuttal report disputes this fact, it
                                                               21    does not. Mr. Mutch’s conclusory assertions are speculative and lack support.
                                                                     The groundwater modeling relied upon by Mr. Mutch does not take into account
                                                               22    the “diffusion, biodegradation, retardation and other factors” that “you include” in
                                                               23    “contaminant transport modeling”. Hagström Reply Decl. ¶ 3, Exh. G, Mutch
                                                                     Depo VII, p. 825:3-6. Mr. Mutch admits that he has not done the “careful
                                                               24    analysis” [to determine the contaminant source], which would include “field
                                                               25    work” … additional drilling, well construction, soil sampling, and I think certain
                                                                     forensic technologies, certainly chemical fingerprinting, probably compound
                                                               26    specific isotope analysis, what we call CSIA analysis in selected wells” to
                                                               27    determine the source of the contamination shown in the area immediately adjacent
                                                                     to the OU-2 boundary as drawn by Mr. Mutch on Figure 2-18. Id. ¶ 3-4, Ex. G.,
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     Mutch Depo VII at pp. 860:19-25; 861:1-10; 861:15-18; Ex. H, at 2-18. While
                                                                4
                                                                     Mr. Mutch contends groundwater flow from the PMC Site reaches OU-2
                                                                5    Groundwater, he makes no effort to establish that contaminants (and admits he
                                                                     has not done the work to support such a conclusion), with varying chemical
                                                                6
                                                                     properties, would have traveled that far.
                                                                7
                                                                     Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                                8
                                                                9    29. Three releases at downgradient              Response: Disputed as immaterial and
                                                               10    locations have been documented and              not supported by the evidence cited.
                                                                     are downgradient from the PMC Site;
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    the three locations, include a pipeline         Evidence: The three downgradient
                                                               12    release of gasoline that McClaren/Hart          releases “selected” by the PMC
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                                                                                                                     Defendants’ expert, Richard Vogl, as
                            Los Angeles, California 90067




                                                                     Described in the OFRP Groundwater
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                                                               13    Study; a release at a former drum               part of his “chemical fingerprinting
                                                               14    recycler, the Beaumon Trust Property,           analysis” are not the only three releases
                                                                     which washed out thousands of drums             of hazardous substances to groundwater
                                                               15    collected from industrial sites and             downgradient of the PMC Site. Mutch
                                                               16    illegally dumped over 60 volatile, semi-        Rebuttal Report, Mar. 4, 2021, at §§
                                                                     volatile, and metals-containing                 2.3, 2.5 & Figures 2-18 (demonstrating
                                                               17    chemical compounds on a single town             that benzene, napthalene, 2,4-DIMP
                                                               18    lot; as well as a LUST site at the              and phenol has migrated from the PMC
                                                                     Yellow Freight Property.                        Site into OU-2 Groundwater).
                                                               19
                                                                     Supporting Evidence                             Plaintiffs object to paragraph 29 as
                                                               20                                                    immaterial for purposes of deciding this
                                                                       • Vogl Decl., ¶ 20d-e, Ex. Q-1
                                                               21         [chemical fingerprinting                   motion for summary judgment. Fresno
                                                                          analysis].                                 Motors, LLC v. Mercedes Benz USA,
                                                               22                                                    LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                               23                                                    2014); Falkner v. Gen. Motors LLC,
                                                                                                                     393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                               24                                                    2018) (“A material fact for purposes of
                                                               25                                                    summary judgment is one that might
                                                                                                                     affect the outcome of the suit under the
                                                               26
                                                                                                                     applicable law.”) (citation omitted).
                                                               27
                                                               28
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       42
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE

                                                                4    29.      Moving Parties’ Response
                                                                5
                                                                     While Plaintiffs contend the fact is disputed, Plaintiffs do not controvert the
                                                                6    offered fact, that three releases at downgradient locations have been documented
                                                                     and are downgradient from the PMC Site.
                                                                7
                                                                8    To the extent Plaintiffs claim that Mr. Mutch’s rebuttal report disputes this fact, it
                                                                     does not. Mr. Mutch’s conclusory assertions are speculative and lack support.
                                                                9    The groundwater modeling relied upon by Mr. Mutch does not take into account
                                                               10    the “diffusion, biodegradation, retardation and other factors” that “you include” in
                                                                     “contaminant transport modeling”. Hagström Reply Decl. ¶ 3, Exh. G, Mutch
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    Depo VII, p. 825:3-6. Mr. Mutch admits that he has not done the “careful
                                                               12    analysis” [to determine the contaminant source], which would include “field
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                            Los Angeles, California 90067




                                                                     work” … additional drilling, well construction, soil sampling, and I think certain
       & MACHTINGER LLP




                                                               13    forensic technologies, certainly chemical fingerprinting, probably compound
                                                               14    specific isotope analysis, what we call CSIA analysis in selected wells” to
                                                                     determine the source of the contamination shown in the area immediately adjacent
                                                               15    to the OU-2 boundary as drawn by Mr. Mutch on Figure 2-18. Id. ¶ 3-4, Ex. G.,
                                                               16    Mutch Depo VII at pp. 860:19-25; 861:1-10; 861:15-18; Ex. H, at 2-18. While
                                                                     Mr. Mutch contends groundwater flow from the PMC Site reaches OU-2
                                                               17    Groundwater, he makes no effort to establish that contaminants (and admits he
                                                               18    has not done the work to support such a conclusion), with varying chemical
                                                                     properties, would have traveled that far.
                                                               19
                                                               20    Notably, Plaintiffs did not object to PMC’s evidence.

                                                               21
                                                                     30. There are approximately 25                Response: Disputed as immaterial and
                                                               22    properties with former or current             not supported by the evidence cited.
                                                               23    underground storage tanks located
                                                                     within the Omega OU-2 Plume and in            Regardless of whether there are
                                                               24    the region downgradient from the PMC          approximately 25 properties with
                                                                     Site.                                         former or current underground storage
                                                               25                                                  tanks located within the Omega OU-2
                                                               26    Supporting Evidence:                          Plume and in the region downgradient
                                                                       • Vogl Decl., ¶ 20d-e, Ex. Q-1,             from the Site, which Vogl. Decl., Ex.
                                                               27
                                                                          [chemical fingerprinting                 Q-1, does not depict or substantiate,
                                                               28                                                  does not change the fact that
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     43
                                                                                                                             STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 46 of 170 Page ID #:31297



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                              analysis].                          contamination from the PMC Property
                                                                4
                                                                                                                  has impacted or threatens to impact
                                                                5                                                 OU-2 Groundwater. Mutch Rebuttal
                                                                                                                  Report §§ 2.1, 2.3 & Figs. 2-5 to 2-9, 2-
                                                                6
                                                                                                                  18; Opp’n RFJN, Ex. 2, at 30 (CH2M
                                                                7                                                 HILL, Final Remedial Investigation /
                                                                                                                  Feasibility Study Reports (Aug. 2010)
                                                                8
                                                                                                                  at Fig. 1-4); Cohen Decl., Ex. 14, at
                                                                9                                                 181-183 (Intera Incorporated, Final
                                                                                                                  Groundwater Flow Model
                                                               10
                                                                                                                  Development and Calibration Report,
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                 May 11, 2020, Figs. 2.5, 4.7, 5.11).
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                  Plaintiffs object to paragraph 30 as
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       & MACHTINGER LLP




                                                               13                                                 immaterial for purposes of deciding this
                                                                                                                  motion for summary judgment. Fresno
                                                               14                                                 Motors, LLC v. Mercedes Benz USA,
                                                               15                                                 LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                                                                                  2014); Falkner v. Gen. Motors LLC,
                                                               16                                                 393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                               17                                                 2018) (“A material fact for purposes of
                                                                                                                  summary judgment is one that might
                                                               18                                                 affect the outcome of the suit under the
                                                               19                                                 applicable law.”) (citation omitted).
                                                               20
                                                                     30.      Moving Parties’ Response
                                                               21
                                                               22    While Plaintiffs contend the fact is disputed, (“Regardless of whether there are
                                                                     approximately 25 properties with former or current underground storage tanks
                                                               23    located within the Omega OU-2 Plume…”), Plaintiffs do not controvert the
                                                               24    offered fact, that there are approximately 25 properties with former or current
                                                                     underground storage tanks located within the Omega OU-2 Plume and in the
                                                               25    region downgradient from the PMC Site.
                                                               26
                                                                     Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               27
                                                               28
                                                                                                                           MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    44
                                                                                                                            STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 47 of 170 Page ID #:31298



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                  PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                    SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE

                                                                4    31. PMC never used TCE, PCE, or            Response: Disputed as immaterial.
                                                                5    1,1 DCE in its operations.
                                                                                                          Evidence: Any hazardous substances
                                                                6    Supporting Evidence:                 present in OU-2 Groundwater above
                                                                       • Vogl Decl. ¶¶ 10e, 19a(viii),    screening levels will be addressed by
                                                                7
                                                                          Exhibit E [summary of chemicals the EPA-required OU-2 remedy. Mutch
                                                                8         used and stored at PMC Site]    Rebuttal Report, Mar. 4, 2021, at § 2.5.
                                                                                                          There are more than three contaminants
                                                                9
                                                                                                          in OU-2 Groundwater, and benzene is
                                                               10                                         included on the list. Id. at §§ 2.5, 2.6;
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                                                                                                          RFJN, Ex. 1, at 42-43 (listing benzene
                                                               11
                                                                                                          as contaminant of potential concern in
                                                               12                                         OU-2 Groundwater). Benzene was used
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                            Los Angeles, California 90067
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                                                                                                          by both PMC Defendants in plant
                                                               13
                                                                                                          operations and has been detected in
                                                               14                                         groundwater underneath the PMC Site
                                                               15                                         at elevated concentrations. Cohen
                                                                                                          Decl., Exs. 2, at 23-24 (Waterstone
                                                               16                                         Envtl., Inc., Envtl. Characterization
                                                               17                                         Report—Former Productol Site (Jan.
                                                                                                          18, 1999) at 9-10) (identifying
                                                               18                                         chemicals used in PMC Defendants’
                                                               19                                         operations, including benzene), 10, at
                                                                                                          173 (Waterstone Envtl., Inc., Envtl.
                                                               20                                         Characterization Report—Former
                                                               21                                         Productol Site (July 12, 2000) at 2)
                                                                                                          (identifying chemicals detected in
                                                               22                                         groundwater at the PMC Site at
                                                               23                                         elevated concentrations, including
                                                                                                          benzene).
                                                               24
                                                                                                                Plaintiffs object to paragraph 31 as
                                                               25                                               immaterial for purposes of deciding this
                                                               26                                               motion for summary judgment. Fresno
                                                                                                                Motors, LLC v. Mercedes Benz USA,
                                                               27
                                                                                                                LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                               28                                               2014); Falkner v. Gen. Motors LLC,
                                                                                                                         MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                  45
                                                                                                                          STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                    393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                                4
                                                                                                                    2018) (“A material fact for purposes of
                                                                5                                                   summary judgment is one that might
                                                                                                                    affect the outcome of the suit under the
                                                                6
                                                                                                                    applicable law.”) (citation omitted).
                                                                7
                                                                8    31.      Moving Parties’ Response
                                                                9     This fact is uncontroverted. The stated fact was that PMC never used TCE, PCE,
                                                               10    or 1,1 DCE in its operations. Plaintiffs’ response exclusively focuses on benzene,
                                                                     which does not offer any material dispute as to the uncontroverted fact originally
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    stated.
                                                               12
                          2049 Century Park East, Suite 2600




                                                                     Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13
                                                               14    Supporting Evidence:
                                                                       • Vogl Decl. ¶¶ 10e, 19a(viii), Exhibit E [summary of chemicals used and
                                                               15         stored at PMC Site]
                                                               16
                                                                     32. TCE, PCE and 1,1 DCE have                  Response: Partially disputed but
                                                               17    migrated onto the PMC Site from a              immaterial. Plaintiffs do not dispute
                                                                     source or sources located upgradient of        that TCE, PCE, and 1,1-DCE were
                                                               18
                                                                     the PMC Site.                                  detected in samples drawn at or near
                                                               19                                                   the PMC Source Property. However,
                                                                     Supporting Evidence:                           the evidence presented does not
                                                               20      • Vogl Decl. ¶ 19a(viii), Ex. I1, I2         establish that those chemicals migrated
                                                               21         [depiction of PMC Site and                onsite, or from where.
                                                                          monitoring wells], J [historical
                                                               22         groundwater data], R [depiction           Evidence: Vogl Decl. ¶ 19a(viii), Ex.
                                                               23         of nearby sites with chlorinated          I1, I2 [depiction of PMC Site and
                                                                          solvent use].                             monitoring wells], J [historical
                                                               24                                                   groundwater data], R [depiction of
                                                               25                                                   nearby sites with chlorinated solvent
                                                                                                                    use].
                                                               26
                                                                                                                    Plaintiffs object to paragraph 31 as
                                                               27
                                                                                                                    immaterial for purposes of deciding this
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      46
                                                                                                                              STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                    motion for summary judgment. Fresno
                                                                4
                                                                                                                    Motors, LLC v. Mercedes Benz USA,
                                                                5                                                   LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                                                                                    2014); Falkner v. Gen. Motors LLC,
                                                                6
                                                                                                                    393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                                7                                                   2018) (“A material fact for purposes of
                                                                                                                    summary judgment is one that might
                                                                8
                                                                                                                    affect the outcome of the suit under the
                                                                9                                                   applicable law.”) (citation omitted).
                                                               10
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    32.      Moving Parties’ Response

                                                               12    This fact is uncontroverted. Plaintiffs offer nothing to dispute that the low
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                            Los Angeles, California 90067




                                                                     concentrations of TCE, PCE and 1,1-DCE identified migrated from properties
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                                                               13    upgradient from the PMC Site. Notably, Plaintiffs did not dispute that PMC
                                                               14    never used TCE, PCE, or 1,1 DCE in its operations.
                                                               15    Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               16    Supporting Evidence:
                                                               17
                                                                           • Vogl Decl. ¶¶ 10e, 19a(viii), Exhibit E [summary of chemicals used and
                                                               18            stored at PMC Site]; Plaintiffs’ Statement of Genuine Disputes, at ¶ 31.
                                                               19
                                                               20    33. Monitoring wells MW 21, MW                 Response: Partially disputed but
                                                                     22, and MW 23 are located                      immaterial. Plaintiffs do not dispute
                                                               21    approximately 350 to 450 feet                  that MW 21, MW 22, and MW, 23 are
                                                               22    downgradient and off of the PMC Site.          located off of the PMC Property, but
                                                                                                                    the wells do not, according to the map
                                                               23    Supporting Evidence:                           legend, appear to be 350 to 450 feet
                                                               24      • Vogl Decl. ¶¶ 19a(viii), 20e, Ex.          downgradient.
                                                                          I1, I2 [depiction of PMC Site and
                                                               25         monitoring wells], J [historical  Evidence: Ex. I1, I2 [depiction of PMC
                                                                          groundwater data], R [depiction   Site and monitoring wells]
                                                               26
                                                                          of nearby sites with chlorinated
                                                               27         solvent use].
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      47
                                                                                                                              STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                   Plaintiffs object to paragraph 31 as
                                                                4
                                                                                                                   immaterial for purposes of deciding this
                                                                5                                                  motion for summary judgment. Fresno
                                                                                                                   Motors, LLC v. Mercedes Benz USA,
                                                                6
                                                                                                                   LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                                7                                                  2014); Falkner v. Gen. Motors LLC,
                                                                                                                   393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                                8
                                                                                                                   2018) (“A material fact for purposes of
                                                                9                                                  summary judgment is one that might
                                                                                                                   affect the outcome of the suit under the
                                                               10
                                                                                                                   applicable law.”) (citation omitted).
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                               12    33.      Moving Parties’ Response
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                                                               13    Plaintiffs do not dispute the stated uncontroverted fact. Plaintiffs’ counsels’
                                                               14    subjective opinion that the wells do not appear to be 350 to 450 feet is
                                                                     contradicted by the figure itself and does not create a disputed fact.
                                                               15
                                                               16    Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.

                                                               17    Supporting Evidence:
                                                                       • Vogl Decl. ¶¶ 19a(viii), 20e, Ex. I1, I2 [depiction of PMC Site and
                                                               18
                                                                          monitoring wells], J [historical groundwater data], R [depiction of nearby
                                                               19         sites with chlorinated solvent use].
                                                               20    34. MW-21, the most upgradient of             Response: Disputed. The evidence
                                                               21    these monitoring wells shows low              presented does not support the
                                                                     concentrations of TCE, PCE and 1,1            statement.
                                                               22    DCE, and the concentration levels
                                                                     decrease to non-detect at further             Evidence: Vogl Decl., Ex. J.
                                                               23
                                                                     downgradient wells M-22 and M-23.
                                                               24
                                                                     Supporting Evidence:
                                                               25
                                                                       • Vogl Decl. ¶ 19a(viii), Ex. I1,
                                                               26         I2[depiction of PMC Site and
                                                               27         monitoring wells], J [historical
                                                                          groundwater data], R [depiction
                                                               28
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     48
                                                                                                                             STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                        PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                          SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                              of nearby sites with chlorinated
                                                                4
                                                                              solvent use].
                                                                5
                                                                6    34.      Moving Parties’ Response
                                                                7
                                                                     Plaintiffs offer no evidence to dispute this uncontroverted fact.
                                                                8
                                                                     Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                                9
                                                               10
                                                                     35. The Omega OU-2 Plume is over                 Response: Disputed. The eastern
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    2000 feet from the PMC Site.                     boundary of Operable Unit No. 2,
                                                               12                                                     according to PMC’s expert, Mr.
                          2049 Century Park East, Suite 2600




                                                                     Supporting Evidence:
                            Los Angeles, California 90067




                                                                                                                      Richard Vogel, passes 1,000 feet to the
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                                                               13      • Vogl Decl. ¶ 19a(viii), 20e, Ex.             west of the PMC Source Property,
                                                               14         C., I1, I2 [depiction of PMC Site           although CH2M HILL appears to have
                                                                          and monitoring wells], J                    placed it closer.
                                                               15         [historical groundwater data], R
                                                               16         [depiction of nearby sites with             Evidence: Mot. at 14; Vogl Decl. ¶
                                                                          chlorinated solvent use].                   11a; Opp’n RFJN, Ex. 2, at 30 (CH2M
                                                               17                                                     HILL, Final Remedial Investigation /
                                                               18                                                     Feasibility Study Reports, August
                                                                                                                      2010, at Fig. 1-4).
                                                               19
                                                                                                                      Plaintiffs object to paragraph 20 as
                                                               20                                                     immaterial for purposes of deciding this
                                                               21                                                     motion for summary judgment. Fresno
                                                                                                                      Motors, LLC v. Mercedes Benz USA,
                                                               22
                                                                                                                      LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                               23                                                     2014); Falkner v. Gen. Motors LLC,
                                                                                                                      393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                               24
                                                                                                                      2018) (“A material fact for purposes of
                                                               25                                                     summary judgment is one that might
                                                                                                                      affect the outcome of the suit under the
                                                               26
                                                                                                                      applicable law.”) (citation omitted).
                                                               27
                                                               28
                                                                                                                               MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                        49
                                                                                                                                STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE

                                                                4    35.      Moving Parties’ Response
                                                                5
                                                                     This fact is uncontroverted. The only dispute Plaintiffs’ note is that the
                                                                6    improperly drawn boundary of OU2, which overstates the boundary of the plume,
                                                                     is more than 1,000 feet from the PMC Site. The fact that the improperly drawn
                                                                7
                                                                     boundary of the OU2 Site is more than 1,000 feet from the PMC Site does not
                                                                8    controvert the stated uncontroverted fact, that the actual Omega OU-2
                                                                     groundwater plume is more than 2,000 feet from the PMC Site.
                                                                9
                                                               10    Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    Supporting Evidence:
                                                               12      • Vogl Decl. ¶ 19a(viii), 20e, Ex. C., I1, I2 [depiction of PMC Site and
                          2049 Century Park East, Suite 2600




                                                                          monitoring wells], J [historical groundwater data], R [depiction of nearby
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       & MACHTINGER LLP




                                                               13         sites with chlorinated solvent use].
                                                               14    36. Groundwater flow immediately             Response: Disputed. The statement is
                                                               15    adjacent to the PMC does trend in a          not supported by the evidence, which
                                                                     southwest direction as it leaves the         discusses groundwater flow rate and
                                                               16    PMC Site.                                    not the direction of groundwater flow
                                                               17                                                 immediately adjacent to the PMC
                                                                     Supporting Evidence:                         Property.
                                                               18      • Vogl Decl. ¶ 19a(vi).
                                                               19                                                 Evidence: Vogl Decl. ¶ 19a(vi)

                                                               20
                                                               21
                                                                     36.      Moving Parties’ Response
                                                               22
                                                               23    Plaintiffs’ do not dispute the groundwater flow trending immediately off the site
                                                                     is in a southwest direction as it leaves the PMC Site.
                                                               24
                                                               25    Supporting Evidence:
                                                               26    Vogl Decl. ¶ 12f, 19a(a)(i)(ii).
                                                               27
                                                                     37.      Groundwater flow from the PMC Response: Disputed. The cited
                                                               28
                                                                                                                           MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    50
                                                                                                                            STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                         PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                           SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     Site is deflected to the south - southeast        evidence does not support the
                                                                4
                                                                     when it runs into the Santa Fe Springs            statement.
                                                                5    Anticline (“Anticline”), causing it to
                                                                     run parallel to the Omega OU-2 Plume.             Evidence: Mutch Rebuttal Report,
                                                                6                                                      Mar. 4, 2021, at §§ 2.1, 2.2 & Figs. 2-5
                                                                7    Supporting Evidence:                              to 2-9, 2-17; Opp’n RFJN, Ex. 2, at 30
                                                                       • Vogl Decl. ¶¶ 10a, 12f, Ex. K                 (CH2M HILL, Final Remedial
                                                                8         [divisions of mines bulletin with            Investigation / Feasibility Study
                                                                9         map depicting Sante Fe Springs               Reports (Aug. 2010) at Fig. 1-4);
                                                                          Anticline]                                   Cohen Decl., Ex. 14, at 181-183 (Intera
                                                               10                                                      Incorporated, Final Groundwater Flow
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                      Model Development and Calibration
                                                                                                                       Report (May 11, 2020) at Figs. 2.5, 4.7,
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                       5.11).
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13
                                                               14    37.      Moving Parties’ Response
                                                               15    The USGS report titled Characterization of Potential Transport Pathways and
                                                               16    Implications for Groundwater Management near an Anticline in the Central Basin
                                                                     states: “The trend of the OU2 is inferred to parallel the shallow groundwater
                                                               17    gradient (EPA, 2010), which trends southwest from the former Omega facility,
                                                               18    turns to the south at about the location of the [Anticline] crest, and then trends
                                                                     slightly to the southeast, south of the site….”
                                                               19
                                                                     Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               20
                                                               21    To the extent Plaintiffs claim that Mr. Mutch’s rebuttal report disputes this fact, it
                                                                     does not. Mr. Mutch’s conclusory assertions are speculative and lack support.
                                                               22    The groundwater modeling relied upon by Mr. Mutch does not take into account
                                                               23    the “diffusion, biodegradation, retardation and other factors” that “you include” in
                                                                     “contaminant transport modeling”. Hagström Reply Decl. ¶ 3, Exh. G, Mutch
                                                               24    Depo VII, p. 825:3-6. Mr. Mutch admits that he has not done the “careful
                                                               25    analysis” [to determine the contaminant source], which would include “field
                                                                     work” … additional drilling, well construction, soil sampling, and I think certain
                                                               26    forensic technologies, certainly chemical fingerprinting, probably compound
                                                               27    specific isotope analysis, what we call CSIA analysis in selected wells” to
                                                                     determine the source of the contamination shown in the area immediately adjacent
                                                               28
                                                                                                                                MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                         51
                                                                                                                                 STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                  PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                    SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     to the OU-2 boundary as drawn by Mr. Mutch on Figure 2-18. Id. ¶ 3-4, Ex. G.,
                                                                4
                                                                     Mutch Depo VII at pp. 860:19-25; 861:1-10; 861:15-18; Ex. H, at 2-18. While
                                                                5    Mr. Mutch contends groundwater flow from the PMC Site reaches OU-2
                                                                     Groundwater, he makes no effort to establish that contaminants (and admits he
                                                                6
                                                                     has not done the work to support such a conclusion), with varying chemical
                                                                7    properties, would have traveled that far.
                                                                8
                                                                     38. The Santa Fe Springs Anticline is Response: Disputed.
                                                                9
                                                                     a 32-story high (350 feet), 2000 plus
                                                               10    foot wide dome that lies between the     Evidence: Mutch Rebuttal Report,
                                                                     PMC Site and the Omega OU-2 Plume. Mar. 14, 2021, at §§ 2.1, 2.2 & Figs. 2-
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                             5 to 2-9, 2-17; Opp’n RFJN, Ex. 2, at
                                                               12    Supporting Evidence:                     30 (CH2M HILL, Final Remedial
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                        • Vogl Decl. ¶¶ 10a, 12f, Ex. K       Investigation / Feasibility Study
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                                                               13           [divisions of mines bulletin with Reports (Aug. 2010) at Fig. 1-4);
                                                               14           map depicting Sante Fe Springs    Cohen Decl., Ex. 14, at 181-183 (Intera
                                                                            Anticline]                        Incorporated, Final Groundwater Flow
                                                               15                                             Model Development and Calibration
                                                               16                                             Report (May 11, 2020) at Figs. 2.5, 4.7,
                                                                                                              5.11).
                                                               17
                                                               18    38.      Moving Parties’ Response
                                                               19
                                                                     Plaintiffs do not describe what the dispute is, and it is not clear from the
                                                               20    documents cited what Plaintiffs allege they are disputing. The cited portions of
                                                               21    the documents identified by Plaintiff do not appear to dispute that the Santa Fe
                                                                     Springs Anticline is a 32-story high (350 feet), 2000 plus foot wide dome that lies
                                                               22    between the PMC Site and the Omega OU-2 Plume.
                                                               23
                                                                     Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               24
                                                                     Supporting Evidence:
                                                               25      • Vogl Decl. ¶¶ 10a, 12f, Ex. K [divisions of mines bulletin with map
                                                               26         depicting Sante Fe Springs Anticline]
                                                               27    39. The Anticline physically          Response: Disputed. The cited
                                                               28    separates the Omega OU-2 Plume on its evidence does not support the
                                                                                                                         MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    52
                                                                                                                          STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     Western flank from groundwater on its         statement.
                                                                4
                                                                     Eastern flank.
                                                                5                                           Evidence: Mutch Rebuttal Report
                                                                     Supporting Evidence:                   §§ 2.1, 2.2 & Figs. 2-5 to 2-9, 2-17;
                                                                6      • Vogl Decl. ¶ 12f, Exs. C [site     Opp’n RFJN, Ex. 2, at 30 (CH2M
                                                                7         map], K [divisions of mines       HILL, Final Remedial Investigation /
                                                                          bulletin with map depicting Sante Feasibility Study Reports (Aug. 2010)
                                                                8         Fe Springs Anticline], L [map     at Fig. 1-4); Cohen Decl., Ex. 14, at
                                                                9         showing boundaries of PMC Site 181-183 (Intera Incorporated, Final
                                                                          and anticline], M [excerpts of    Groundwater Flow Model
                                                               10         USGS report Characterization of Development and Calibration Report,
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                                                               11         Potential Transport Pathways and May 11, 2020, Figs. 2.5, 4.7, 5.11).
                                                                          Implications for Groundwater
                                                               12
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                                                                          Management near an Anticline in
                            Los Angeles, California 90067
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                                                               13         the Central Basin Area, LA
                                                                          County, CA], N [modified figure
                                                               14         from USGS report depicting
                                                               15         groundwater flow].
                                                               16
                                                               17    39.      Moving Parties’ Response

                                                               18    Plaintiffs do not describe what the dispute is, and it is not clear from the
                                                                     documents cited what Plaintiffs allege they are disputing. Plaintiffs’ reference to
                                                               19
                                                                     models and hypothetical flow paths do not controvert the fact that the Anticline
                                                               20    physically separates the Omega OU-2 Plume on its Western flank from
                                                                     groundwater on its Eastern Flank.
                                                               21
                                                               22    The USGS report titled Characterization of Potential Transport Pathways and
                                                                     Implications for Groundwater Management near an Anticline in the Central Basin
                                                               23    states: “The trend of the OU2 is inferred to parallel the shallow groundwater
                                                               24    gradient (EPA, 2010), which trends southwest from the former Omega facility,
                                                                     turns to the south at about the location of the [Anticline] crest, and then trends
                                                               25    slightly to the southeast, south of the site….”
                                                               26
                                                                     Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               27
                                                                     Supporting Evidence:
                                                               28
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     53
                                                                                                                             STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                           • Vogl Decl. ¶ 12f, Exs. C [site map], K [divisions of mines bulletin with
                                                                4
                                                                             map depicting Sante Fe Springs Anticline], L [map showing boundaries of
                                                                5            PMC Site and anticline], M [excerpts of USGS report Characterization of
                                                                6            Potential Transport Pathways and Implications for Groundwater
                                                                             Management near an Anticline in the Central Basin Area, LA County, CA],
                                                                7            N [modified figure from USGS report depicting groundwater flow].
                                                                8    40. Groundwater flow direction on            Response: Partially disputed. Plaintiffs
                                                                9    and near the PMC Site has been               do not dispute that the groundwater on
                                                                     monitored since at least 1999.               and near the PMC Property has been
                                                               10                                                 monitored from time to time. Plaintiffs
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                                                               11    Supporting Evidence:                         dispute PMC’s interpretation of the
                                                                       • Vogl Decl. ¶ 12f.                        flow direction as represented by Exs. O
                                                               12
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                                                                                                                  and N.
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13
                                                                                                                  Evidence: Mutch Rebuttal Report §§
                                                               14                                                 2.1, 2.2 & Figs. 2-5 to 2-9, 2-17;
                                                               15                                                 CH2M HILL, Final Remedial
                                                                                                                  Investigation / Feasibility Study
                                                               16                                                 Reports, August 2010, Fig. 1-4; Cohen
                                                               17                                                 Decl., Ex._14, at 181-183_(Intera
                                                                                                                  Incorporated, Final Groundwater Flow
                                                               18                                                 Model Development and Calibration
                                                               19                                                 Report, May 11, 2020, Figs. 2.5, 4.7,
                                                                                                                  5.11).
                                                               20
                                                               21
                                                               22
                                                                     40.      Moving Parties’ Response
                                                               23
                                                                     Plaintiffs do not controvert the fact that groundwater flow direction on and near
                                                               24    the PMC Site has been monitored since at least 1999.
                                                               25
                                                                     Supporting Evidence:
                                                               26      • Vogl Decl. ¶ 12f.
                                                               27    41. The Omega OU-2 Plume                     Response: Disputed.
                                                               28    migrates to and is influenced by the
                                                                                                                           MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    54
                                                                                                                            STATEMENT OF GENUINE DISPUTES
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                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     west side of the Anticline, while the  Evidence: Mutch Rebuttal Report §§
                                                                4
                                                                     groundwater from the PMC Site          2.1, 2.2 & Figs. 2-5 to 2-9, 2-17;
                                                                5    migrates on the east side of the       CH2M HILL, Final Remedial
                                                                     Anticline.                             Investigation / Feasibility Study
                                                                6
                                                                                                            Reports, August 2010, Fig. 1-4; Cohen
                                                                7    Supporting Evidence:                   Decl., Ex. 14, at 181-183_(Intera
                                                                       • Vogl Decl. ¶ 19a (i)-(v), Exs. C   Incorporated, Final Groundwater Flow
                                                                8         [site map], K [divisions of mines Model Development and Calibration
                                                                9         bulletin with map depicting Sante Report, May 11, 2020, Figs. 2.5, 4.7,
                                                                          Fe Springs Anticline], L [map     5.11).
                                                               10         showing boundaries of PMC Site
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                                                               11         and anticline], M [excerpts of
                                                                          USGS report Characterization of
                                                               12
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                                                                          Potential Transport Pathways and
                            Los Angeles, California 90067
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                                                               13         Implications for Groundwater
                                                                          Management near an Anticline in
                                                               14         the Central Basin Area, LA
                                                               15         County, CA], N [modified figure
                                                                          from USGS report depicting
                                                               16         groundwater flow].
                                                               17
                                                               18    41.       Moving Parties’ Response
                                                               19
                                                                     The USGS report titled Characterization of Potential Transport Pathways and
                                                               20    Implications for Groundwater Management near an Anticline in the Central Basin
                                                                     states: “The trend of the OU2 is inferred to parallel the shallow groundwater
                                                               21
                                                                     gradient (EPA, 2010), which trends southwest from the former Omega facility,
                                                               22    turns to the south at about the location of the [Anticline] crest, and then trends
                                                                     slightly to the southeast, south of the site….”
                                                               23
                                                               24    Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               25    To the extent Plaintiffs claim that Mr. Mutch’s rebuttal report disputes this fact, it
                                                                     does not. Mr. Mutch’s conclusory assertions are speculative and lack support.
                                                               26
                                                                     The groundwater modeling relied upon by Mr. Mutch does not take into account
                                                               27    the “diffusion, biodegradation, retardation and other factors” that “you include” in
                                                                     “contaminant transport modeling”. Hagström Reply Decl. ¶ 3, Exh. G, Mutch
                                                               28
                                                                                                                           MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      55
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     Depo VII, p. 825:3-6. Mr. Mutch admits that he has not done the “careful
                                                                4
                                                                     analysis” [to determine the contaminant source], which would include “field
                                                                5    work” … additional drilling, well construction, soil sampling, and I think certain
                                                                     forensic technologies, certainly chemical fingerprinting, probably compound
                                                                6
                                                                     specific isotope analysis, what we call CSIA analysis in selected wells” to
                                                                7    determine the source of the contamination shown in the area immediately adjacent
                                                                     to the OU-2 boundary as drawn by Mr. Mutch on Figure 2-18. Id. ¶ 3-4, Ex. G.,
                                                                8
                                                                     Mutch Depo VII at pp. 860:19-25; 861:1-10; 861:15-18; Ex. H, at 2-18. While
                                                                9    Mr. Mutch contends groundwater flow from the PMC Site reaches OU-2
                                                                     Groundwater, he makes no effort to establish that contaminants (and admits he
                                                               10
                                                                     has not done the work to support such a conclusion), with varying chemical
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                                                               11    properties, would have traveled that far.
                                                               12
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                            Los Angeles, California 90067
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                                                               13    42. A 2014 United States Geological             Response: Partially disputed. Plaintiffs
                                                                     Survey report recognizes the change in          do not dispute that the 2014 United
                                                               14    direction, noting that “The Trend of the        States Geological Survey states what is
                                                               15    OU2 plume….turns to the south at                quoted, but flow path directions in the
                                                                     about the location of the Santa Fe              OU-2 area are not influenced by the
                                                               16    Springs Anticline.”                             anticline as represented in Exhibit N.
                                                               17    Supporting Evidence:                            Evidence: Mutch Rebuttal Report §§
                                                               18      • Vogl Decl. ¶ 19a (i)-(v), Ex. M             2.1, 2.4 & Figs. 2-5 to 2-9, 2-18;
                                                                          [excerpts of USGS report                   CH2M HILL, Final Remedial
                                                               19                                                    Investigation / Feasibility Study
                                                                          Characterization of Potential
                                                               20         Transport Pathways and                     Reports, August 2010, Fig. 1-4; Cohen
                                                                          Implications for Groundwater               Decl., Ex._14, at 181-183_(Intera
                                                               21                                                    Incorporated, Final Groundwater Flow
                                                                          Management near an Anticline in
                                                               22         the Central Basin Area, LA                 Model Development and Calibration
                                                                          County, CA], N [modified figure            Report, May 11, 2020, Figs. 2.5, 4.7,
                                                               23                                                    5.11).
                                                                          from USGS report depicting
                                                               24         groundwater flow].
                                                               25
                                                               26    42.      Moving Parties’ Response
                                                               27
                                                                     Plaintiffs do not controvert the offered fact, that a 2014 United States Geological
                                                               28    Survey report recognizes the change in direction, noting that “The Trend of the
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
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                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     OU2 plume….turns to the south at about the location of the Santa Fe Springs
                                                                4
                                                                     Anticline.”
                                                                5
                                                                     Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                                6
                                                                     Supporting Evidence:
                                                                7
                                                                       • Vogl Decl. ¶ 19a (i)-(v), Ex. M [excerpts of USGS report Characterization
                                                                8         of Potential Transport Pathways and Implications for Groundwater
                                                                9         Management near an Anticline in the Central Basin Area, LA County, CA],
                                                                          N [modified figure from USGS report depicting groundwater flow].
                                                               10
                                                                     43. The K-values (estimated rate of            Response: Partially disputed,
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                                                               11    groundwater migration in feet per day)         immaterial. Flow path directions in the
                                                               12    immediately southwest of the PMC Site          OU-2 area are not influenced by the
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                            Los Angeles, California 90067




                                                                     are extremely low, meaning the soils on        values referenced in the statement as
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                                                               13    the east flank of the Anticline, which         represented in Exhibit O.
                                                               14    lies between the PMC Site and the
                                                                     Omega OU-2 Plume, are relatively        Evidence: Mutch Rebuttal Report §§
                                                               15    impermeable.                            2.1, 2.4 & Figs. 2-5 to 2-9, 2-18;
                                                               16                                            CH2M HILL, Final Remedial
                                                                     Supporting Evidence:                    Investigation / Feasibility Study
                                                               17      • Vogl Decl. ¶ 19a(vi), Ex O [map Reports, August 2010, Fig. 1-4; Cohen
                                                               18         depicting hydraulic conductivity]. Decl., Ex. 14, at 181-183 (Intera
                                                                                                             Incorporated, Final Groundwater Flow
                                                               19                                            Model Development and Calibration
                                                               20                                            Report, May 11, 2020, Figs. 2.5, 4.7,
                                                                                                             5.11).
                                                               21
                                                                                                                    Plaintiffs object to paragraph 54 as
                                                               22
                                                                                                                    immaterial for purposes of deciding this
                                                               23                                                   motion for summary judgment. Fresno
                                                                                                                    Motors, LLC v. Mercedes Benz USA,
                                                               24
                                                                                                                    LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                               25                                                   2014); Falkner v. Gen. Motors LLC,
                                                                                                                    393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                               26
                                                                                                                    2018) (“A material fact for purposes of
                                                               27                                                   summary judgment is one that might
                                                                                                                    affect the outcome of the suit under the
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      57
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                                                                        MOVING DEFENDANTS’
                                                                                                                        PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                          SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                      applicable law.”) (citation omitted).
                                                                4
                                                                5
                                                                6
                                                                     43.      Moving Parties’ Response
                                                                7
                                                                     Plaintiffs do not dispute the offered fact, the K-values (estimated rate of
                                                                8
                                                                     groundwater migration in feet per day) immediately southwest of the PMC Site
                                                                9    are extremely low, meaning the soils on the east flank of the Anticline, which lies
                                                                     between the PMC Site and the Omega OU-2 Plume, are relatively impermeable.
                                                               10
                                                                     In fact, in the cited portion of Mr. Mutch’s report he states “the presence of lower
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                                                               11    permeability sediments in some portions of the area between PMC and the
                                                               12    designated eastern edge of OU-2 area may be accurate,” and Mr. Mutch
                          2049 Century Park East, Suite 2600




                                                                     acknowledges that the flow paths are influenced by the anticline.
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                                                               13
                                                                     Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               14
                                                               15    Supporting Evidence:
                                                                       • Vogl Decl. ¶ 19a(vi), Ex O [map depicting hydraulic conductivity].
                                                               16      • Mutch Rebuttal Report §§ 2.1, 2.4
                                                               17
                                                                     44. The low permeability of the east             Response: Disputed.
                                                               18    flank of the Anticline inhibits
                                                                     groundwater flow and the Anticline      Evidence: Mutch Rebuttal Report,
                                                               19                                            Mar. 4, 2021, at §§ 2.1, 2.2 & Figs. 2-5
                                                                     itself then causes the plume to “deflect”
                                                               20    or change direction from generally      to 2-9, 2-17; Opp’n RFJN, Ex. 2, at 30
                                                                     southwest to south.                     (CH2M HILL, Final Remedial
                                                               21                                            Investigation / Feasibility Study
                                                               22    Supporting Evidence:                    Reports (Aug. 2010) at Fig. 1-4);
                                                                       • Vogl Decl. ¶ 19a(vi), Ex O, [map Cohen Decl., Ex. 14, at 181-183 (Intera
                                                               23         depicting hydraulic conductivity]. Incorporated, Final Groundwater Flow
                                                               24                                            Model Development and Calibration
                                                                                                             Report, May 11, 2020, Figs. 2.5, 4.7,
                                                               25                                            5.11).
                                                               26
                                                               27
                                                               28
                                                                                                                               MOVING DEFENDANTS’ RESPONSE TO
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                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE

                                                                4    44.      Moving Parties’ Response
                                                                5
                                                                     Plaintiffs do not dispute the offered fact, the K-values (estimated rate of
                                                                6    groundwater migration in feet per day) immediately southwest of the PMC Site
                                                                     are extremely low, meaning the soils on the east flank of the Anticline, which lies
                                                                7
                                                                     between the PMC Site and the Omega OU-2 Plume, are relatively impermeable.
                                                                8    In fact, in the cited portion of Mr. Mutch’s report he states “the presence of lower
                                                                     permeability sediments in some portions of the area between PMC and the
                                                                9
                                                                     designated eastern edge of OU-2 area may be accurate,” and Mr. Mutch
                                                               10    acknowledges that the flow paths are influenced by the anticline.
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                                                               11    Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               12
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                                                                     Supporting Evidence:
                            Los Angeles, California 90067
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                                                               13      • Vogl Decl. ¶ 19a(vi), Ex O [map depicting hydraulic conductivity].
                                                               14      • Mutch Rebuttal Report §§ 2.1, 2.4

                                                               15    45. Groundwater monitoring data at              Response: Disputed and immaterial.
                                                                     and adjacent to the PMC Site                    Plaintiffs need only establish a
                                                               16
                                                                     demonstrates PMC Plume has migrated             plausible migration pathway, not
                                                               17    too short a distance offsite to possibly        mixing, commingling or intersection.
                                                                     intersect, mix with, or commingle with
                                                               18                                                    Evidence: Mutch Rebuttal Report §§
                                                                     the Omega OU-2 Plume.
                                                               19                                                    2.1, 2.3, 2.6 & Fig. 2-18; CH2M HILL,
                                                                     Supporting Evidence:                            Final Remedial Investigation /
                                                               20      • Vogl Decl. ¶ 10b.                           Feasibility Study Reports, August
                                                               21                                                    2010, Fig. 1-4; Cohen Decl., Ex. 14, at
                                                                                                                     181-183 (Intera Incorporated, Final
                                                               22                                                    Groundwater Flow Model
                                                               23                                                    Development and Calibration Report,
                                                                                                                     May 11, 2020, Figs. 2.5, 4.7, 5.11).
                                                               24
                                                                                                                     Plaintiffs object to paragraph 45 as
                                                               25
                                                                                                                     immaterial for purposes of deciding this
                                                               26                                                    motion for summary judgment. Fresno
                                                               27                                                    Motors, LLC v. Mercedes Benz USA,
                                                                                                                     LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                               28
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
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                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                   2014); Falkner v. Gen. Motors LLC,
                                                                4
                                                                                                                   393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                                5                                                  2018) (“A material fact for purposes of
                                                                                                                   summary judgment is one that might
                                                                6
                                                                                                                   affect the outcome of the suit under the
                                                                7                                                  applicable law.”) (citation omitted).
                                                                8
                                                                9
                                                               10    45.      Moving Parties’ Response
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                                                               11    Plaintiffs do not controvert state fact, that the groundwater monitoring data at and
                                                               12    adjacent to the PMC Site demonstrates PMC Plume has migrated too short a
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                                                                     distance offsite to possibly intersect, mix with, or commingle with the Omega
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13    OU-2 Plume, they just argue they are not required to prove that the plumes have
                                                               14    commingled.

                                                               15    To the extent Plaintiffs claim that Mr. Mutch’s rebuttal report disputes this fact, it
                                                                     does not. Mr. Mutch’s conclusory assertions are speculative and lack support.
                                                               16    The groundwater modeling relied upon by Mr. Mutch does not take into account
                                                               17    the “diffusion, biodegradation, retardation and other factors” that “you include” in
                                                                     “contaminant transport modeling”. Hagström Reply Decl. ¶ 3, Exh. G, Mutch
                                                               18    Depo VII, p. 825:3-6. Mr. Mutch admits that he has not done the “careful
                                                               19    analysis” [to determine the contaminant source], which would include “field
                                                                     work” … additional drilling, well construction, soil sampling, and I think certain
                                                               20    forensic technologies, certainly chemical fingerprinting, probably compound
                                                               21    specific isotope analysis, what we call CSIA analysis in selected wells” to
                                                                     determine the source of the contamination shown in the area immediately adjacent
                                                               22    to the OU-2 boundary as drawn by Mr. Mutch on Figure 2-18. Id. ¶ 3-4, Ex. G.,
                                                               23    Mutch Depo VII at pp. 860:19-25; 861:1-10; 861:15-18; Ex. H, at 2-18. While
                                                                     Mr. Mutch contends groundwater flow from the PMC Site reaches OU-2
                                                               24    Groundwater, he makes no effort to establish that contaminants (and admits he
                                                               25    has not done the work to support such a conclusion), with varying chemical
                                                                     properties, would have traveled that far.
                                                               26
                                                               27    Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.

                                                               28
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     60
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                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE

                                                                4    46. The PMC Plume did not and does            Response: Disputed and immaterial.
                                                                5    not have a large enough chemical mass         Plaintiffs need only establish a
                                                                     to have migrated far enough off site to       plausible migration pathway, not
                                                                6    commingle with or intersect the Omega         mixing, commingling or intersection.
                                                                7    OU-2 Plume.
                                                                                                                   Evidence: Mutch Rebuttal Report §§
                                                                8    Supporting Evidence:                          2.1, 2.3, 2.6 & Fig. 2-18; CH2M HILL,
                                                                       • Vogl Decl. ¶ 19.                          Final Remedial Investigation /
                                                                9
                                                                                                                   Feasibility Study Reports, August
                                                               10                                                  2010, Fig. 1-4; Cohen Decl., Ex. 14, at
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                                                                                                                   181-183 (Intera Incorporated, Final
                                                               11
                                                                                                                   Groundwater Flow Model
                                                               12                                                  Development and Calibration Report,
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                                                                                   May 11, 2020, Figs. 2.5, 4.7, 5.11).
                                                               13
                                                               14                                                  Plaintiffs object to paragraph 46 as
                                                                                                                   immaterial for purposes of deciding this
                                                               15                                                  motion for summary judgment. Fresno
                                                               16                                                  Motors, LLC v. Mercedes Benz USA,
                                                                                                                   LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                               17                                                  2014); Falkner v. Gen. Motors LLC,
                                                               18                                                  393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                                                                                   2018) (“A material fact for purposes of
                                                               19                                                  summary judgment is one that might
                                                               20                                                  affect the outcome of the suit under the
                                                                                                                   applicable law.”) (citation omitted).
                                                               21
                                                               22
                                                               23
                                                                     46.      Moving Parties’ Response
                                                               24
                                                                     Plaintiffs do not controvert state fact, that the groundwater monitoring data at and
                                                               25    adjacent to the PMC Site demonstrates PMC Plume has migrated too short a
                                                               26    distance offsite to possibly intersect, mix with, or commingle with the Omega
                                                                     OU-2 Plume, they just argue they are not required to prove that the plumes have
                                                               27
                                                                     commingled.
                                                               28
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     61
                                                                                                                             STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 64 of 170 Page ID #:31315



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     To the extent Plaintiffs claim that Mr. Mutch’s rebuttal report disputes this fact, it
                                                                4
                                                                     does not. Mr. Mutch’s conclusory assertions are speculative and lack support.
                                                                5    The groundwater modeling relied upon by Mr. Mutch does not take into account
                                                                     the “diffusion, biodegradation, retardation and other factors” that “you include” in
                                                                6
                                                                     “contaminant transport modeling”. Hagström Reply Decl. ¶ 3, Exh. G, Mutch
                                                                7    Depo VII, p. 825:3-6. Mr. Mutch admits that he has not done the “careful
                                                                     analysis” [to determine the contaminant source], which would include “field
                                                                8
                                                                     work” … additional drilling, well construction, soil sampling, and I think certain
                                                                9    forensic technologies, certainly chemical fingerprinting, probably compound
                                                                     specific isotope analysis, what we call CSIA analysis in selected wells” to
                                                               10
                                                                     determine the source of the contamination shown in the area immediately adjacent
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                                                               11    to the OU-2 boundary as drawn by Mr. Mutch on Figure 2-18. Id. ¶ 3-4, Ex. G.,
                                                                     Mutch Depo VII at pp. 860:19-25; 861:1-10; 861:15-18; Ex. H, at 2-18. While
                                                               12
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                                                                     Mr. Mutch contends groundwater flow from the PMC Site reaches OU-2
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       & MACHTINGER LLP




                                                               13    Groundwater, he makes no effort to establish that contaminants (and admits he
                                                               14    has not done the work to support such a conclusion), with varying chemical
                                                                     properties, would have traveled that far.
                                                               15
                                                                     In Mr. Mutch’s addendum (Docket No. 949-80) at page 25, Figure 1-4 depicts
                                                               16    MW-12 as showing a non-detect for benzene.
                                                               17
                                                                     Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               18
                                                               19    47. PMC has removed the source of              Response: Disputed.
                                                               20    contamination cutting off the source of
                                                                     contaminates for the PMC Plume.                Evidence: The PMC Defendants have
                                                               21                                                   not started remediating the PMC
                                                                     Supporting Evidence:                           Property. Mutch Rebuttal Report, Mar.
                                                               22                                                   14, 2021, at § 2.8. There was already
                                                                       • Vogl Decl. ¶ 21.
                                                               23                                                   significant soil contamination at the
                                                                                                                    PMC Property by the time operations
                                                               24                                                   were discontinued in 1992. Id. at § 2.7
                                                               25                                                   & Appendix A, pp. 6-14.
                                                                                                                    Contamination remains in soil and
                                                               26
                                                                                                                    groundwater at the PMC Property at
                                                               27                                                   present. Cohen Decl., Ex._3, at 31-37
                                                                                                                    (Waterstone Envtl., Inc., Removal
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      62
                                                                                                                              STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                  Action Workplan, May 22, 2020) at 40-
                                                                4
                                                                                                                  46). Site assessments are not equivalent
                                                                5                                                 to cleaning up the site and, to date,
                                                                                                                  PMC has only submitted workplans to
                                                                6
                                                                                                                  DTSC but not undertaken actual
                                                                7                                                 cleanup of the site. Mutch Rebuttal
                                                                                                                  Report, Mar. 4, 2021, at § 2.8
                                                                8
                                                                9                                                 See also Mot. at 14-15
                                                               10
                                                                     47.      Moving Parties’ Response
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                               12    While Plaintiffs assert they dispute this fact, the assertion that PMC has not
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                                                                     started remediating the PMC Property is belied by Plaintiffs’ earlier admissions.
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       & MACHTINGER LLP




                                                               13    Plaintiffs do not dispute the all of the site operational equipment was removed by
                                                               14    November 1993. Plaintiffs do not dispute that PMC Site was capped with asphalt
                                                                     and rolled base material and engineering controls were placed in certain areas to
                                                               15    prevent rainwater from causing chemicals to leach in the soil in groundwater.
                                                               16    Plaintiffs did not dispute that PMC performed each of the actions on its Summary
                                                                     of PMC cleanup actions to date.
                                                               17
                                                                     Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               18
                                                               19    Supporting Evidence:
                                                                       • Vogl Decl. ¶ 12e, 21-23, Ex. S [Summary of PMC cleanup actions].
                                                               20      • Plaintiffs’ Responses to Statement of Genuine Disputes, at 12-13.
                                                               21
                                                                     48. PMC Site operations ceased in            Response: Partially disputed as
                                                               22    the early 1990s, and demolition              incomplete and misleading. Immaterial.
                                                               23    activities were completed by
                                                                     November, 1993.                              Evidence: Plaintiffs incorporate their
                                                               24                                                 responses to paragraphs 10, 12 and 13
                                                                     Supporting Evidence                          herein.
                                                               25      • Vogl Decl. ¶ 21, Ex. S [summary
                                                               26         of cleanup actions at PMC Site].
                                                               27
                                                               28
                                                                                                                           MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    63
                                                                                                                            STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 66 of 170 Page ID #:31317



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE

                                                                4    48.      Moving Parties’ Response
                                                                5
                                                                     While Plaintiffs assert they dispute this fact, Plaintiffs do not dispute the all of the
                                                                6    site operational equipment was removed and/or demolished by November 1993.
                                                                7    Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                                8
                                                                     Supporting Evidence:
                                                                9      • Vogl Decl. ¶ 12e, 21-23, Ex. S [Summary of PMC cleanup actions]
                                                               10      • Plaintiffs’ Responses to Statement of Genuine Disputes, at 12-13.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    49. Additional actions, including               Response: Partially disputed. Plaintiffs
                                                                     capping the property with asphalt, were         do not dispute that actions were taken
                                                               12
                          2049 Century Park East, Suite 2600




                                                                     taken to prevent rainwater infiltration         at the PMC Property such as laying
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       & MACHTINGER LLP




                                                               13    into subsurface soils, minimizing or            asphalt.
                                                                     eliminating the leaching of chemicals to
                                                               14                                                    Evidence: The PMC Defendants have
                                                                     groundwater.
                                                               15                                                    not started remediating the PMC Site.
                                                                     Supporting Evidence:                            Mutch Rebuttal Report, Mar. 14, 2021,
                                                               16      • Vogl Decl. ¶ 21, Ex. S [summary             at § 2.8. There was already significant
                                                               17         of cleanup actions at PMC Site].           soil contamination at the PMC Property
                                                                                                                     by the time operations were
                                                               18                                                    discontinued in 1992. Id. at § 2.7 &
                                                               19                                                    Appendix A, pp. 6-14. Contamination
                                                                                                                     remains in soil and groundwater at the
                                                               20                                                    PMC Property at present. Cohen Decl.,
                                                               21                                                    Ex. 3, at 31-37 (Waterstone Envtl., Inc.,
                                                                                                                     Removal Action Workplan, May 22,
                                                               22                                                    2020) at 40-46). Site assessments are
                                                               23                                                    not equivalent to cleaning up the site
                                                                                                                     and, to date, PMC has only submitted
                                                               24                                                    workplans to DTSC but not undertaken
                                                               25                                                    actual cleanup of the site. Mutch
                                                                                                                     Rebuttal Report, Mar. 4, 2021, at § 2.8
                                                               26
                                                               27                                                    See also Mot. at 14-15

                                                               28
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       64
                                                                                                                               STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 67 of 170 Page ID #:31318



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE

                                                                4    49.      Moving Parties’ Response
                                                                5
                                                                     While Plaintiffs assert they dispute this fact, the assertion that PMC has not
                                                                6    started remediating the PMC Property is belied by Plaintiffs’ earlier admissions.
                                                                     Plaintiffs do not dispute the all of the site operational equipment was removed by
                                                                7
                                                                     November 1993. Plaintiffs do not dispute that PMC Site was capped with asphalt
                                                                8    and rolled base material and engineering controls were placed in certain areas to
                                                                     prevent rainwater from causing chemicals to leach in the soil in groundwater.
                                                                9
                                                                     Plaintiffs did not dispute that PMC performed each of the actions listed on its
                                                               10    Summary of PMC cleanup actions to date.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               12
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                                                                     Supporting Evidence:
                            Los Angeles, California 90067
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                                                               13      • Vogl Decl. ¶ 12e, 21-23, Ex. S [Summary of PMC cleanup actions].
                                                               14      • Plaintiffs’ Responses to Statement of Genuine Disputes, at 12-13.

                                                               15    50. PMC is conducting further                  Response: Disputed as not supported
                                                                     remediation leading to the ultimate            by the evidence and misleading.
                                                               16
                                                                     closure of the PMC Site, and has been
                                                               17    proceeding under the supervision of the        Evidence: The PMC Defendants have
                                                                     DTSC since entering into a 2006                not started remediating the PMC Site.
                                                               18                                                   Mutch Rebuttal Report, Mar. 14, 2021,
                                                                     Voluntary Cleanup Agreement.
                                                               19                                                   at § 2.8. There was already significant
                                                                     Supporting Evidence:                           soil contamination at the PMC Property
                                                               20      • Vogl Decl. ¶ 22, Ex. F2                    by the time operations were
                                                               21         [voluntary cleanup agreement].            discontinued in 1992. Id. at § 2.7 &
                                                                                                                    Appendix A, pp. 6-14. Contamination
                                                               22                                                   remains in soil and groundwater at the
                                                               23                                                   PMC Property at present. Cohen Decl.,
                                                                                                                    Ex. 3, at 31-37 (Waterstone Envtl., Inc.,
                                                               24                                                   Removal Action Workplan, May 22,
                                                               25                                                   2020) at 40-46). Site assessments are
                                                                                                                    not equivalent to cleaning up the site
                                                               26                                                   and, to date, PMC has only submitted
                                                               27                                                   workplans to DTSC but not undertaken
                                                                                                                    actual cleanup of the site. Mutch
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      65
                                                                                                                              STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                    Rebuttal Report, Mar. 4, 2021, at § 2.8
                                                                4
                                                                5                                                   See also Mot. at 14-15.

                                                                6
                                                                     50.      Moving Parties’ Response
                                                                7
                                                                     While Plaintiffs assert they dispute this fact, the assertion that PMC has not
                                                                8
                                                                     started remediating the PMC Property is belied by Plaintiffs’ earlier admissions.
                                                                9    Plaintiffs do not dispute the all of the site operational equipment was removed by
                                                                     November 1993. Plaintiffs do not dispute that PMC Site was capped with asphalt
                                                               10
                                                                     and rolled base material and engineering controls were placed in certain areas to
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    prevent rainwater from causing chemicals to leach in the soil in groundwater.
                                                               12    Plaintiffs’ did not dispute that PMC performed each of the actions on its
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                                                                     Summary of PMC cleanup actions to date.
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13
                                                                     Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               14
                                                               15    Supporting Evidence:
                                                                       • Vogl Decl. ¶ 12e, 21-23, Ex. S [Summary of PMC cleanup actions].
                                                               16      • Plaintiffs’ Responses to Statement of Genuine Disputes, at 12-13.
                                                               17
                                                                     51. Extensive site investigation has           Response: Partially disputed as
                                                               18    been performed to evaluate the PMC             misleading and immaterial. Plaintiffs
                                                                     Site, including the collection of over         do not dispute that limited site
                                                               19
                                                                     800 samples for analysis of soil, soil         investigations have been performed at
                                                               20    gas, and groundwater, all in compliance        the PMC Property, including the
                                                                     with DTSC approved work plans.                 collection of soil, soil, gas, and
                                                               21
                                                                                                                    groundwater samples.
                                                               22    Supporting Evidence:
                                                                       • Vogl Decl. ¶ 22, Ex. F2,                   Evidence: The PMC Defendants have
                                                               23         [voluntary cleanup agreement].            not started remediating the PMC Site.
                                                               24                                                   Mutch Rebuttal Report, Mar. 14, 2021,
                                                                                                                    at § 2.8. There was already significant
                                                               25                                                   soil contamination at the PMC Property
                                                               26                                                   by the time operations were
                                                                                                                    discontinued in 1992. Id. at § 2.7 &
                                                               27                                                   Appendix A, pp. 6-14. Contamination
                                                               28                                                   remains in soil and groundwater at the
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      66
                                                                                                                              STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                   PMC Property at present. Cohen Decl.,
                                                                4
                                                                                                                   Ex. 3, at 31-37 (Waterstone Envtl., Inc.,
                                                                5                                                  Removal Action Workplan, May 22,
                                                                                                                   2020) at 40-46). Site assessments are
                                                                6
                                                                                                                   not equivalent to cleaning up the site
                                                                7                                                  and, to date, PMC has only submitted
                                                                                                                   workplans to DTSC but not undertaken
                                                                8
                                                                                                                   actual cleanup of the site. Mutch
                                                                9                                                  Rebuttal Report, Mar. 4, 2021, at § 2.8
                                                               10                                                  See also Mot. at 14-15.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                                                                                   Plaintiffs object to paragraph 51 as
                                                               12                                                  immaterial for purposes of deciding this
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13                                                  motion for summary judgment. Fresno
                                                                                                                   Motors, LLC v. Mercedes Benz USA,
                                                               14                                                  LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                               15                                                  2014); Falkner v. Gen. Motors LLC,
                                                                                                                   393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                               16                                                  2018) (“A material fact for purposes of
                                                               17                                                  summary judgment is one that might
                                                                                                                   affect the outcome of the suit under the
                                                               18                                                  applicable law.”) (citation omitted).
                                                               19
                                                               20    51.      Moving Parties’ Response

                                                               21    Plaintiffs do not dispute the uncontroverted fact offered, that extensive site
                                                                     investigation has been performed to evaluate the PMC Site, including the
                                                               22    collection of over 800 samples for analysis of soil, soil gas, and groundwater, all
                                                               23    in compliance with DTSC approved work plans.
                                                               24    Supporting Evidence:
                                                               25      • Vogl Decl. ¶ 22, Ex. F2, [voluntary cleanup agreement].
                                                                       • Vogl Decl. ¶ 12e, 21-23, Ex. S [Summary of PMC cleanup actions]
                                                               26
                                                               27    52. The monitoring data shows that      Response: Disputed and immaterial.
                                                                     the PMC Plume is stable or shrinking in The cited evidence does not support the
                                                               28
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     67
                                                                                                                             STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     size, and stable or decreasing in            statement that source removal and
                                                                4
                                                                     concentration due to source removal          natural attenuation has caused the PMC
                                                                5    and natural attenuation.                     Plume to stable or shrink in size and
                                                                                                                  stable or shrink in concentration. No
                                                                6    Supporting Evidence:                         meaningful remediation has been
                                                                7      • Vogl Decl. ¶ 21, Ex. F2                  completed.
                                                                          [voluntary cleanup agreement].
                                                                8                                                 Evidence: Mutch Rebuttal Report
                                                                9                                                 §§ 2.7, 2.8, 2.9 & Fig. 2-18; Mot. at 15;
                                                                                                                  Cohen Decl., Ex. 3, at 31-37
                                                               10                                                 (Waterstone Environmental, Inc.,
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                 Removal Action Workplan, May 22,
                                                                                                                  2020, at 40-46).
                                                               12
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13    52.      Moving Parties’ Response
                                                               14
                                                                     While Plaintiffs assert they dispute this fact, the assertion that PMC has not
                                                               15    started remediating the PMC Property is belied by Plaintiffs’ earlier admissions.
                                                               16    Plaintiffs do not dispute the all of the site operational equipment was removed by
                                                                     November 1993. Plaintiffs do not dispute that PMC Site was capped with asphalt
                                                               17    and rolled base material and engineering controls were placed in certain areas to
                                                               18    prevent rainwater from causing chemicals to leach in the soil in groundwater.
                                                                     Plaintiffs did not dispute that PMC performed each of the actions on its Summary
                                                               19    of PMC cleanup actions to date.
                                                               20    Supporting Evidence:
                                                               21      • Vogl Decl. ¶ 12e, 21-23, Ex. S [Summary of PMC cleanup actions].
                                                                       • Plaintiffs’ Responses to Statement of Genuine Disputes, at 12-13.
                                                               22
                                                               23    53. Groundwater monitoring wells on          Response: Disputed.
                                                                     Bloomfield Avenue north of Telegraph
                                                               24    Road, approximately 1000 feet from the       Evidence: Mutch Rebuttal Report §§
                                                               25    PMC Site, and approximately 1000-            2.5, 2.6, 2.9 & Fig. 2-18; Opp’n RFJN,
                                                                     1800 feet from the edge of the Omega         Exs. 2, at 30-31 (CH2M HILL, Final
                                                               26    OU-2 Plume show non-detections for           Remedial Investigation / Feasibility
                                                               27    the PMC Marker Chemicals.                    Study Reports, August 2010, at 1-4, 2-
                                                                                                                  1), 3, at 55 (OU-2 Consent Decree
                                                               28
                                                                                                                           MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    68
                                                                                                                            STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     Supporting Evidence:                           (Oct. 6, 2016), Appendix B, at 287);
                                                                4
                                                                       • Vogl Decl. ¶¶ 12a-f; 23, Ex. C             Cohen Decl., Ex. 10, at 173
                                                                5         [site map].                               (Waterstone Environmental, Inc.
                                                                                                                    Environmental Characterization Report,
                                                                6
                                                                                                                    Jul. 12, 2000, at 2).
                                                                7
                                                                8    53.      Moving Parties’ Response
                                                                9    While Plaintiffs allege this fact is disputed, they do not describe any such dispute
                                                               10    and the evidence referenced does not support a dispute. Mr. Mutch does not
                                                                     dispute that these wells showed non-detect for these marker chemicals only that
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                                                               11    after the line of non-detects, that further downgradient wells show detections of
                                                               12    the same chemicals. However, Mr. Mutch completely fails to take into account
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                     the number of other source properties which lie between PMC and the OU-2
       & MACHTINGER LLP




                                                               13    Plume which account for these detections further downgradient.
                                                               14
                                                                     Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               15
                                                                     Supporting Evidence:
                                                               16      • Vogl Decl. ¶¶ 12a-f; 23, Ex. C [site map].
                                                               17      • In Mr. Mutch’s addendum (Docket No. 949-80) at page 25, Figure 1-4
                                                                          depicts MW-12 as showing a non-detect for benzene.
                                                               18
                                                               19
                                                               20
                                                                     54. The K values in the area                   Response: Disputed and immaterial.
                                                               21    immediately adjacent to the PMC Site           Flow path directions in the OU-2 area
                                                               22    are low, on the order of 2, 3 or 5 feet        are not influenced by figures in the
                                                                     per day.                                       statement as represented in Exhibit O.
                                                               23
                                                               24    Supporting Evidence:                           Evidence: Mutch Rebuttal Report §§
                                                                       • Vogl Decl. ¶¶ 19(v)-(vi), Ex. O            2.1, 2.4 & Figs. 2-5 to 2-9, 2-18;
                                                               25         [map depicting hydraulic                  CH2M HILL, Final Remedial
                                                               26         conductivity].                            Investigation / Feasibility Study
                                                                                                                    Reports, August 2010, Fig. 1-4; Cohen
                                                               27                                                   Decl., Ex. 14, at 181-183 (Intera
                                                               28                                                   Incorporated, Final Groundwater Flow
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      69
                                                                                                                              STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                    Model Development and Calibration
                                                                4
                                                                                                                    Report, May 11, 2020, Figs. 2.5, 4.7,
                                                                5                                                   5.11).
                                                                6                                                   Plaintiffs object to paragraph 54 as
                                                                7                                                   immaterial for purposes of deciding this
                                                                                                                    motion for summary judgment. Fresno
                                                                8                                                   Motors, LLC v. Mercedes Benz USA,
                                                                9                                                   LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                                                                                    2014); Falkner v. Gen. Motors LLC,
                                                               10                                                   393 F. Supp. 3d 927, 930 (C.D. Cal.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                   2018) (“A material fact for purposes of
                                                                                                                    summary judgment is one that might
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                    affect the outcome of the suit under the
                            Los Angeles, California 90067
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                                                               13                                                   applicable law.”) (citation omitted).
                                                               14
                                                                     54.      Moving Parties’ Response
                                                               15
                                                               16    While Plaintiffs state the fact is disputed, it does not dispute the fact with any
                                                                     explanation or evidence. The fact that the K values in the area immediately
                                                               17    adjacent to the PMC site are low, on the order of 2, 3 or 5 feet per day.
                                                               18
                                                               19    Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               20
                                                                     55. The K values on the west side of           Response: Disputed and immaterial.
                                                               21    the Anticline, in the flow path of the         Flow path directions in the OU-2 area
                                                               22    Omega OU-2 Plume, range from 40 to             are not influenced by figures in the
                                                                     60 feet per day.                               statement as represented in Exhibit O.
                                                               23
                                                               24    Supporting Evidence:                           Evidence: Mutch Rebuttal Report §§
                                                                       • Vogl Decl. ¶¶ 19(v)-(vi),                  2.1, 2.4 & Figs. 2-5 to 2-9, 2-18;
                                                               25                                                   CH2M HILL, Final Remedial
                                                               26                                                   Investigation / Feasibility Study
                                                                                                                    Reports, August 2010, Fig. 1-4; Cohen
                                                               27                                                   Decl., Ex. 14, at 181-183 (Intera
                                                               28                                                   Incorporated, Final Groundwater Flow
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      70
                                                                                                                              STATEMENT OF GENUINE DISPUTES
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                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                    Model Development and Calibration
                                                                4
                                                                                                                    Report, May 11, 2020, Figs. 2.5, 4.7,
                                                                5                                                   5.11).
                                                                6                                                   Plaintiffs object to paragraph 55 as
                                                                7                                                   immaterial for purposes of deciding this
                                                                                                                    motion for summary judgment. Fresno
                                                                8                                                   Motors, LLC v. Mercedes Benz USA,
                                                                9                                                   LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                                                                                    2014); Falkner v. Gen. Motors LLC,
                                                               10                                                   393 F. Supp. 3d 927, 930 (C.D. Cal.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                   2018) (“A material fact for purposes of
                                                                                                                    summary judgment is one that might
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                    affect the outcome of the suit under the
                            Los Angeles, California 90067
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                                                               13                                                   applicable law.”) (citation omitted).
                                                               14
                                                                     55.      Moving Parties’ Response
                                                               15
                                                               16    While Plaintiffs state the fact is disputed, it does not dispute the fact with any
                                                                     explanation or evidence. The offered fact is uncontroverted, the K values on the
                                                               17    west side of the Anticline, in the flow path of the Omega OU-2 Plume, range from
                                                               18    40 to 60 feet per day.

                                                               19    Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               20
                                                                     56. Plaintiffs’ inaccurately portray           Response: Disputed and immaterial.
                                                               21    the PMC Site on Ex. B of the 5AC to            Exhibit B to the Fifth Am. Complaint is
                                                               22    include areas which were never owned           a demonstrative presented to show the
                                                                     or operated by PMC, as well as areas at        approximate locations of the source
                                                               23
                                                                     the PMC Site which were never used             properties that have contributed
                                                               24    for chemical processing or storage,            hazardous substances to OU-2
                                                                     including parking lots.                        Groundwater.
                                                               25
                                                               26    Supporting Evidence:                           Evidence: Fifth Am., Compl. ¶ 119.
                                                                       • Vogl Decl. ¶¶ 19(v)-(vi), Ex. G
                                                               27         [actual boundaries of PMC Site].          Plaintiffs object to paragraph 56 as
                                                                                                                    immaterial for purposes of deciding this
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      71
                                                                                                                              STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                  PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                    SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                motion for summary judgment. Fresno
                                                                4
                                                                                                                Motors, LLC v. Mercedes Benz USA,
                                                                5                                               LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                                                                                2014); Falkner v. Gen. Motors LLC,
                                                                6
                                                                                                                393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                                7                                               2018) (“A material fact for purposes of
                                                                                                                summary judgment is one that might
                                                                8
                                                                                                                affect the outcome of the suit under the
                                                                9                                               applicable law.”) (citation omitted).
                                                               10
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    56.      Moving Parties’ Response

                                                               12    Plaintiffs not dispute the uncontroverted fact, that the depiction on Ex. B
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                     inaccurately portrays the PMC Site to include areas which were never owned or
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                                                               13    operated by PMC, as well as areas at the PMC Site which were never used for
                                                               14    chemical processing or storage, including parking lots.
                                                               15
                                                                     57. As depicted in Ex. B to Plaintiffs’    Response: Disputed and immaterial.
                                                               16    5AC, the eastern edge of Omega OU-2        The cited evidence does not support the
                                                               17    Plume boundary appears to be drawn         statement that the plume was drawn
                                                                     using a mapping method that widens         closely bordering wells where no
                                                               18    and lengthens the extent of the plume      chemicals are found.
                                                               19    area to its maximum possible extent,
                                                                     closely bordering wells where no           Evidence: Mutch Rebuttal Report
                                                               20    chemicals are found.                       §§ 2.1, 2.9, 2.10 & Figs. 2-5 to 2-9, 2-
                                                               21                                               18; Opp’n, Exs. 2, at 30 (CH2M HILL,
                                                                     Supporting Evidence:                       Final Remedial Investigation /
                                                               22      • Vogl Decl. ¶ 16a-b, Ex. C [site        Feasibility Study Reports, August
                                                               23         map].                                 2010, Fig. 1-4), 3, at 52-53_(OU-2
                                                                                                                Consent Decree (Oct. 6, 2016),
                                                               24                                               Appendix A, 273-74); Cohen Decl.,
                                                               25                                               Exs. 17, at 200, 298-299 (McLaren-
                                                                                                                Hart, Oil Field Reclamation Project
                                                               26                                               Study Area (Jul. 31, 1996), at v, Fig. 4,
                                                               27                                               Fig. 5), 9, at 153-154 (R. Vogl Dep.
                                                                                                                Tr., at 100:25 to 101:2).
                                                               28
                                                                                                                         MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                  72
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                   Plaintiffs object to paragraph 57 as
                                                                4
                                                                                                                   immaterial for purposes of deciding this
                                                                5                                                  motion for summary judgment. Fresno
                                                                                                                   Motors, LLC v. Mercedes Benz USA,
                                                                6
                                                                                                                   LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                                7                                                  2014); Falkner v. Gen. Motors LLC,
                                                                                                                   393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                                8
                                                                                                                   2018) (“A material fact for purposes of
                                                                9                                                  summary judgment is one that might
                                                                                                                   affect the outcome of the suit under the
                                                               10
                                                                                                                   applicable law.”) (citation omitted).
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                               12    57.      Moving Parties’ Response
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
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                                                               13    This fact is uncontroverted by any admissible evidence. Mr. Mutch simply states
                                                               14    there is data for the portion designated “Area of No Data” on Vogl, Ex. C.,
                                                                     however he fails to identify any of the wells he claims exist, and the “square” that
                                                               15    he has drawn where he contends there is data is largely outside of the border of
                                                               16    the OU2 Plume (see Mutch Figure 2-20). Plaintiffs have offered no admissible
                                                                     evidence to controvert this offered fact.
                                                               17
                                                               18    Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.

                                                               19    Supporting Evidence:
                                                                       • Vogl Decl. ¶ 16a-b, Ex. C [site map].
                                                               20
                                                               21
                                                               22
                                                                     58. The dashed Omega OU-2 Plume               Response: Disputed and immaterial.
                                                               23    boundary drawn by CH2MHill                    The cited evidence does not support the
                                                               24    indicates that this boundary as drawn         statement.
                                                                     was inferred or estimated.
                                                               25                                                  Evidence: Mutch Rebuttal Report §§
                                                                     Supporting Evidence:                          2.9, 2.10 & Fig. 2-18; Opp’n, Exs. 2, at
                                                               26
                                                                       • Vogl Decl. ¶ 16b, Ex. C, [site            30 (CH2M HILL, Final Remedial
                                                               27         map].                                    Investigation / Feasibility Study
                                                                                                                   Reports (Aug. 2010) at Fig. 1-4), 3, at
                                                               28
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     73
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                   PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                     SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                 52-53 (OU-2 Consent Decree (Oct. 6,
                                                                4
                                                                                                                 2016), Appendix A, 273-74); Cohen
                                                                5                                                Decl., Exs. 17, at 200, 298-299
                                                                                                                 (McLaren-Hart, Oil Field Reclamation
                                                                6
                                                                                                                 Project Study Area (Jul. 31, 1996), at v,
                                                                7                                                Fig. 4, Fig. 5), 9, at 153-154 (R. Vogl
                                                                                                                 Dep. Tr., at 100:25 to 101:2).
                                                                8
                                                                9                                                Plaintiffs object to paragraph 60 as
                                                                                                                 immaterial for purposes of deciding this
                                                               10                                                motion for summary judgment. Fresno
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                Motors, LLC v. Mercedes Benz USA,
                                                                                                                 LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                 2014); Falkner v. Gen. Motors LLC,
                            Los Angeles, California 90067
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                                                               13                                                393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                                                                                 2018) (“A material fact for purposes of
                                                               14                                                summary judgment is one that might
                                                               15                                                affect the outcome of the suit under the
                                                                                                                 applicable law.”) (citation omitted).
                                                               16
                                                               17    58.      Moving Parties’ Response
                                                               18
                                                                     Plaintiffs do not dispute the uncontroverted fact offered, that the dashed Omega
                                                               19    OU-2 Plume boundary drawn by CH2MHill indicates that this boundary as drawn
                                                               20    was inferred or estimated.

                                                               21    Supporting Evidence:
                                                                       • Vogl Decl. ¶ 16b, Ex. C, [site map].
                                                               22
                                                               23
                                                               24
                                                                     59. The boundary of the Omega OU-           Response: Disputed. The cited
                                                               25    2 Plume is approximately 2000 feet          evidence does not support the
                                                               26    away from the PMC Site.                     statement.
                                                               27    Supporting Evidence:                        Evidence: Mutch Rebuttal Report §§
                                                                       • Vogl Decl., ¶ 16b, Ex. C, [site         2.9, 2.10 & Fig. 2-18; Opp’n RFJN, Ex.
                                                               28
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
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                                                                                                                           STATEMENT OF GENUINE DISPUTES
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                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                              map].                                2, at 30 (CH2M HILL, Final Remedial
                                                                4
                                                                                                                   Investigation / Feasibility Study
                                                                5                                                  Reports, August 2010, Fig. 1-4); Cohen
                                                                                                                   Decl., Exs. 17, at 200, 298-299
                                                                6
                                                                                                                   (McLaren-Hart, Oil Field Reclamation
                                                                7                                                  Project Study Area (Jul. 31, 1996), at v,
                                                                                                                   Fig. 4, Fig. 5), 9, at 153-154_(R. Vogl
                                                                8
                                                                                                                   Dep. Tr., at 100:25 to 101:2).
                                                                9
                                                               10    59.      Moving Parties’ Response
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    This fact is uncontroverted, and Plaintiff offers no explanation of any dispute.
                                                               12    The only dispute Plaintiffs note is that the improperly drawn boundary of OU2,
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                     which overstates the boundary of the plume, is more than 1,000 feet from the
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                                                               13    PMC Site. The fact that the improperly drawn boundary of the OU2 Site is more
                                                               14    than 1,000 feet from the PMC Site does not controvert the stated uncontroverted
                                                                     fact, that the actual Omega OU-2 groundwater plume is more than 2,000 feet from
                                                               15    the PMC Site.
                                                               16
                                                                     The cited evidence does not support Plaintiffs’ stated dispute.
                                                               17
                                                               18    60. The past and ongoing removal              Response: Disputed and immaterial.
                                                               19    and remedial work performed at the            PMC has not performed any
                                                                     source areas of the PMC further serve         meaningful remedial work at the
                                                               20    to limit the distance the PMC Plume           Property, and it only recently submitted
                                                               21    would have or could have traveled.            its workplan for remedial actions.

                                                               22    Supporting Evidence:                          Evidence: Mot. at 14-15; Cohen Decl.,
                                                                       • Vogl Decl., ¶ 12b.                        Ex. 3, at 31-37 (Waterstone
                                                               23
                                                                                                                   Environmental, Inc., Removal Action
                                                               24                                                  Workplan, May 22, 2020) at 40-46);
                                                                                                                   Mutch Rebuttal Report §§ 2.7, 2.8
                                                               25
                                                               26                                                  Plaintiffs object to paragraph 60 as
                                                                                                                   immaterial for purposes of deciding this
                                                               27                                                  motion for summary judgment. Fresno
                                                               28                                                  Motors, LLC v. Mercedes Benz USA,
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     75
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                        PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                          SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                      LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                                4
                                                                                                                      2014); Falkner v. Gen. Motors LLC,
                                                                5                                                     393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                                                                                      2018) (“A material fact for purposes of
                                                                6
                                                                                                                      summary judgment is one that might
                                                                7                                                     affect the outcome of the suit under the
                                                                                                                      applicable law.”) (citation omitted).
                                                                8
                                                                9
                                                                     60.      Moving Parties’ Response
                                                               10
                                                                     While Plaintiffs assert they dispute this fact, the assertion that PMC has not
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    started remediating the PMC Property is belied by Plaintiffs’ earlier admissions.
                                                               12    Plaintiffs do not dispute the all of the site operational equipment was removed by
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                     November 1993. Plaintiffs do not dispute that PMC Site was capped with asphalt
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                                                               13    and rolled base material and engineering controls were placed in certain areas to
                                                               14    prevent rainwater from causing chemicals to leach in the soil in groundwater.
                                                                     Plaintiffs did not dispute that PMC performed each of the actions on its Summary
                                                               15    of PMC cleanup actions to date.
                                                               16
                                                                     Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               17
                                                                     Supporting Evidence:
                                                               18
                                                                       • Vogl Decl. ¶ 12e, 21-23, Ex. S [Summary of PMC cleanup actions].
                                                               19      • Plaintiffs’ Responses to Statement of Genuine Disputes, at 12-13.
                                                               20    61. Groundwater monitoring data                  Response: Disputed and immaterial.
                                                               21    from wells instead on the PMC Site,              Plaintiffs need only establish a
                                                                     and downgradient demonstrate that the            plausible migration pathway, not
                                                               22    PMC Plume, has migrated less than                mixing, commingling or intersection.
                                                               23    1000 feet to the southwest, well short of        CH2M HILL has indicated that the
                                                                     the Omega OU-2 Plume.                            PMC Property is closer.
                                                               24
                                                               25    Supporting Evidence:                             Evidence: Opp’n RFJN, Ex. 2, at 31
                                                                       • Vogl Decl., ¶ ¶ 19(viii).                    (CH2M HILL, Remedial Investigation /
                                                               26                                                     Feasibility Study Reports, Operable
                                                               27                                                     Unit 2 (Aug. 2010) at 2-1); Mutch
                                                                                                                      Rebuttal Report § 2.9 & Fig. 2-18.
                                                               28
                                                                                                                               MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                        76
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                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                   Plaintiffs object to paragraph 61 as
                                                                4
                                                                                                                   immaterial for purposes of deciding this
                                                                5                                                  motion for summary judgment. Fresno
                                                                                                                   Motors, LLC v. Mercedes Benz USA,
                                                                6
                                                                                                                   LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                                7                                                  2014); Falkner v. Gen. Motors LLC,
                                                                                                                   393 F. Supp. 3d 927, 930 (C.D. Cal.
                                                                8
                                                                                                                   2018) (“A material fact for purposes of
                                                                9                                                  summary judgment is one that might
                                                                                                                   affect the outcome of the suit under the
                                                               10
                                                                                                                   applicable law.”) (citation omitted).
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                               12    61.        Moving Parties’ Response
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13
                                                               14    Plaintiffs do not controvert the stated fact, that Groundwater monitoring data from
                                                                     wells instead on the PMC Site, and downgradient demonstrate that the PMC
                                                               15    Plume, has migrated less than 1000 feet to the southwest, well short of the Omega
                                                               16    OU-2 Plume.
                                                               17    Notably, Plaintiffs did not assert any evidentiary objections to PMC’s evidence.
                                                               18
                                                                     The cited portion of Mr. Mutch’s report offers no explanation for his conclusory
                                                               19    disagreement with this statement.
                                                               20
                                                                     To the extent Plaintiffs claim that Mr. Mutch’s rebuttal report disputes this fact, it
                                                               21    does not. Mr. Mutch’s conclusory assertions are speculative and lack support.
                                                               22    The groundwater modeling relied upon by Mr. Mutch does not take into account
                                                                     the “diffusion, biodegradation, retardation and other factors” that “you include” in
                                                               23    “contaminant transport modeling”. Hagström Reply Decl. ¶ 3, Exh. G, Mutch
                                                               24    Depo VII, p. 825:3-6. Mr. Mutch admits that he has not done the “careful
                                                                     analysis” [to determine the contaminant source], which would include “field
                                                               25    work” … additional drilling, well construction, soil sampling, and I think certain
                                                               26    forensic technologies, certainly chemical fingerprinting, probably compound
                                                                     specific isotope analysis, what we call CSIA analysis in selected wells” to
                                                               27    determine the source of the contamination shown in the area immediately adjacent
                                                               28    to the OU-2 boundary as drawn by Mr. Mutch on Figure 2-18. Id. ¶ 3-4, Ex. G.,
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
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                                                                        MOVING DEFENDANTS’
                                                                                                                        PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                          SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     Mutch Depo VII at pp. 860:19-25; 861:1-10; 861:15-18; Ex. H, at 2-18. While
                                                                4
                                                                     Mr. Mutch contends groundwater flow from the PMC Site reaches OU-2
                                                                5    Groundwater, he makes no effort to establish that contaminants (and admits he
                                                                     has not done the work to support such a conclusion), with varying chemical
                                                                6
                                                                     properties, would have traveled that far.
                                                                7
                                                                8                                   II. Chrysler Source Property
                                                                9                           Moving Party: Union Pacific Railroad Company
                                                               10
                                                                     100. Union Pacific’s predecessors                Response: Undisputed.
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                                                               11    acquired the various parcels that
                                                               12    comprise the approximately 40-acre
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                     Chrysler Property through a series of
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                                                               13    transactions from 1888 through 1967.
                                                               14
                                                                     Supporting Evidence:
                                                               15      • Declaration of Sedina L. Banks
                                                               16         (“Banks Decl.”), Exhibit (“Exh.”)
                                                                          1 [Deeds for the Chrysler
                                                               17         Property 1888-1967];
                                                               18      • Declaration of James A. Levy
                                                                          (“Levy Decl.”), ¶ 8.
                                                               19
                                                               20
                                                                     100. Moving Parties’ Response
                                                               21
                                                                              No response is required, because the fact is undisputed.
                                                               22
                                                               23    101. On January 21, 1974, Union          Response: Undisputed.
                                                               24    Pacific’s predecessor, Southern Pacific
                                                                     Transportation Company, transferred
                                                               25    the entire Chrysler Property to Southern
                                                               26    Pacific Company (formerly S.P. Inc.)
                                                                     (“New Southern Pacific Company”).
                                                               27
                                                               28    Supporting Evidence:
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                        78
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                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                          • Banks Decl., Exh. 9 [January 21,
                                                                4
                                                                            1974 Deed];
                                                                5         • Levy Decl., ¶ 9.
                                                                6
                                                                7    101. Moving Parties’ Response
                                                                8             No response is required, because the fact is undisputed.
                                                                9
                                                                     102. New Southern Pacific Company               Response: Undisputed.
                                                               10
                                                                     is not a predecessor of Union Pacific.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                                     Supporting Evidence:
                                                               12
                          2049 Century Park East, Suite 2600




                                                                       • Banks Decl., Exh. 6 [February
                            Los Angeles, California 90067
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                                                               13         20, 1969 Merger Agreement];
                                                               14      • Levy Decl., ¶ 7.

                                                               15
                                                                     102. Moving Parties’ Response
                                                               16
                                                               17             No response is required, because the fact is undisputed.

                                                               18                                                    Response: Undisputed
                                                                     103. Union Pacific does not currently
                                                               19    own the Chrysler Property.
                                                               20
                                                                     Supporting Evidence:
                                                               21      • Banks Decl., Exh. 36 [Plaintiffs’
                                                                          Supplemental Responses to
                                                               22
                                                                          Union Pacific’s First Set of
                                                               23         Requests for Admission No. 3].
                                                               24
                                                               25    103. Moving Parties’ Response
                                                               26             No response is required, because the fact is undisputed.
                                                               27
                                                                     104. The original Chrysler Property             Response: Undisputed.
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       79
                                                                                                                              STATEMENT OF GENUINE DISPUTES
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                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     was subdivided into four properties
                                                                4
                                                                     identified as the LaSalle Property,
                                                                5    North-Central Property, Multitenant
                                                                     Property, and the Central Property.
                                                                6
                                                                7    Supporting Evidence:
                                                                       • Plaintiff’s Fifth Amended
                                                                8         Complaint, November 1, 2016,
                                                                9         ¶ 138 [Dkt. 526];
                                                                       • Banks Decl., Exh. 16 [Map of the
                                                               10         Chrysler Property, March 1988]
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                                                               11
                                                                     104. Moving Parties’ Response
                                                               12
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                              No response is required, because the fact is undisputed.
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                                                               13
                                                               14                                                    Response: Undisputed, but misleading.
                                                                     105. The Central Property, also
                                                               15    referred to by EPA as “Site A,” is
                                                                     located at approximately 12128 Burke            Evidence: Plaintiffs do not dispute
                                                               16                                                    U.S. EPA’s Final Remedial
                                                                     Street, Santa Fe Springs, CA.
                                                               17                                                    Investigation / Feasibility Study states:
                                                                     Supporting Evidence:                            “‘Site A’ is located at 12128 Burke
                                                               18      • Banks Decl., Exh. 34, p. 219                Street, Santa Fe Springs, California.”
                                                               19         [U.S. EPA’s Final Remedial                 Banks Decl., Ex. 34 (Docket No. 902-
                                                                          Investigation / Feasibility Study          41), at 219. However, it further states:
                                                               20         Reports Omega Chemical                     “Site A and several surrounding
                                                               21         Corporation Superfund Site                 properties collectively comprised a 40-
                                                                          Operable Unit 2, Los Angeles               acre new car preparation facility from
                                                               22         County, California, Volume 1];             1965 to 1988. At least five 10,000-
                                                               23      • Request for Judicial Notice                 gallon USTs, four 3,000-gallon USTs,
                                                                          (“RJN”), ¶ 24.                             two 550-gallon USTs, five 550-gallon
                                                               24                                                    waste oil tanks, seven concrete
                                                               25                                                    clarifiers ranging in size from 500 to
                                                                                                                     5,000 gallons, 17 hydraulic hoists,
                                                               26                                                    seven service pits, several fuel pump
                                                               27                                                    islands, three car washes, three spray
                                                                                                                     booths, and a paint spill area were
                                                               28
                                                                                                                               MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       80
                                                                                                                                STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                     installed and operated at the 40-acre
                                                                4
                                                                                                     site, with four of the seven clarifiers
                                                                5                                    located at Site A.” Id.
                                                                6
                                                                                                     With the exception of Parcel Nos. 15
                                                                7                                    and 16, Defendant Union Pacific
                                                                                                     Railroad Company’s (“Union Pacific”)
                                                                8
                                                                                                     predecessors-in-interest acquired all of
                                                                9                                    the parcels depicted on the Jan. 23,
                                                                                                     1888, map submitted as Exhibit 1 to
                                                               10
                                                                                                     Union Pacific’s July 13, 2012, response
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                    to EPA’s 104(e) request, including the
                                                                                                     entirety of “Site A”, by December 3,
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                     1963. Compare Banks Decl., Exs. 1
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13                                    (Docket No. 902-8), at 27-33 (May 23,
                                                               14                                    1950 indenture), 34-39 (Feb. 9, 1960
                                                                                                     indenture), 40-45 (Aug. 8, 1963
                                                               15                                    corporation grant deed), 46-51 (Dec. 3,
                                                               16                                    1963 grant deed), 16, at 136 (map) and
                                                                                                     Levy Decl., ¶ 8 (Docket No. 902-8),
                                                               17                                    with Declaration of William F. Ford
                                                               18                                    (“Ford Decl.”), Exs. 8, at pp. 92-94, 97-
                                                                                                     100, 119-124, 127, 156, 156-161, 182-
                                                               19                                    186, 240-250 (Union Pacific’s
                                                               20                                    Response to EPA 104(e) Request No. 4
                                                                                                     (Jul. 13, 2012), at 1-3, 6-9 & Index of
                                                               21                                    Exhibits, Exs. 1 (undated map showing
                                                               22                                    parcel numbers), 5 (acquired parcel #1
                                                                                                     as shown on undated map by May 23,
                                                               23                                    1950), 8 (acquired parcel #4 as shown
                                                               24                                    on undated map by Feb. 9, 1960), 16
                                                                                                     (acquired parcel #10 as shown on
                                                               25                                    undated map by Aug. 8, 1963), 17
                                                               26                                    (acquired parcel #12 as shown on
                                                                                                     undated map by Dec. 3, 1963)), and 6,
                                                               27                                    at 57-58, 71 (Dames & Moore,
                                                               28                                    Remedial Investigation Workplan (Jan.
                                                                                                               MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1       81
                                                                                                                STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                     10, 1992), at 4-5, Figure 2).
                                                                4
                                                                5
                                                                     105. Moving Parties’ Response
                                                                6
                                                                              No response is required, because the fact is undisputed.
                                                                7
                                                                8                                                    Response: Undisputed, but incomplete.
                                                                     106. Chrysler conducted auto
                                                                9    preparation operations on the Chrysler
                                                                     Property from in or around 1965                 Evidence: Union Pacific’s
                                                               10                                                    predecessors-in-interest leased the
                                                                     through 1988.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                    Chrysler Property to various entities
                                                                     Supporting Evidence:                            prior to 1965, including General
                                                               12
                          2049 Century Park East, Suite 2600




                                                                       • Banks Decl., Exh. 21, p. 167                Motors’ predecessor, Dallas Smith
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13         [Final Report – Soil and Ground            Service Corporation. Ford Decl.
                                                                          Water Investigation by Converse            Exs._8, at 92-94, 102-103, 119-124,
                                                               14         Environmental West regarding               273-294 (Union Pacific’s Response to
                                                               15         the Chrysler Property, dated               EPA 104(e) Request (Jul. 13, 2012), at
                                                                          August 29, 1991];                          1-3, 11-12 & Index of Exhibits & Exs.
                                                               16                                                    20, 21, 22, 23), 6, at 57-58 (Dames &
                                                                       • Banks Decl., Exh. 32, p. 209
                                                               17         [California Regional Water                 Moore, Remedial Investigation
                                                                          Quality Control Board, Los                 Workplan (Jan. 10, 1992) at 4-5), 10, at
                                                               18                                                    654, (McLaren, Santa Fe Pacific Realty
                                                                          Angeles Region (“RWQCB”),
                                                               19         Closure Letter dated August 6,             Property Assessment (Apr. 27, 1990),
                                                                          1999];                                     at 8).
                                                               20
                                                                       • RJN, ¶¶ 11, 22.
                                                               21
                                                               22
                                                                     106. Moving Parties’ Response
                                                               23
                                                                              No response is required, because the fact is undisputed.
                                                               24
                                                               25
                                                                     107. There is no evidence that Union      Response: Disputed.
                                                               26    Pacific ever operated on the actual
                                                                     Chrysler Property, other than on a right-
                                                               27                                              Evidence: Union Pacific’s
                                                                     of-way that went through a portion of
                                                                                                               predecessors-in-interest leased the
                                                               28
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       82
                                                                                                                               STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                 PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                   SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     the property.                         Chrysler Property to various entities
                                                                4
                                                                                                           from approximately 1964 to 1974,
                                                                5    Supporting Evidence:                  including to General Motors’
                                                                       • Levy Decl., ¶ 10;                 predecessor, Dallas Smith Service
                                                                6      • Banks Decl., Exh. 2 [Map of the Corporation, and to Chrysler’s
                                                                7         Chrysler Property dated February predecessors, Automotive Precheck and
                                                                          20, 1964 and revised March 6,    New Car Preparation System, Inc.
                                                                8         1964];                           (a/k/a Nu Car Prep). Ford Decl. Exs. 8,
                                                                9      • Banks Decl., Exh. 5 [Map of the at 92-94, 102-112, 119-124, 203-210,
                                                                          Chrysler Property dated October 273-294, 316-342, 366-397, 401-434
                                                               10
                                                                          16, 1964 and revised September (Union Pacific’s Response to EPA
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11         26, 1967];                       104(e) Request Nos. 7, 8, 9 & 10 (Jul.
                                                                       • Banks Decl., Exh. 3 [1962 Aerial 13, 2012), at 1-3, 11-21 & Index of
                                                               12
                          2049 Century Park East, Suite 2600




                                                                          Photo of the Chrysler Property]; Exhibits & Exs. 12, 20, 21, 22, 23, 27,
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13      • Banks Decl., Exh. 4 [1964 Aerial 28, 29, 30, 33, 34, 35, 36, 37, 39, 40,
                                                               14         Photo of the Chrysler Property]; 41, 42, 43), 6, at 57-58 (Dames &
                                                                       • Declaration of David Ruiz (“Ruiz Moore, Remedial Investigation
                                                               15         Decl.”), ¶¶ 17-22.               Workplan (Jan. 10, 1992) at 4-5), 10,
                                                               16                                          at_654 (McLaren, Santa Fe Pacific
                                                                                                           Realty Property Assessment (Apr. 27,
                                                               17                                          1990), at 8), 11, at_656-684, (Letter
                                                               18                                          from Deborah J. Schmall, Paul
                                                                                                           Hastings LLP, to Steve Berninger, Esq.,
                                                               19                                          Office of Regional Counsel, U.S. EPA
                                                               20                                          Region 9 (Nov. 23, 2011), at 1-8,
                                                                                                           Attachment A, Attachment B,
                                                               21                                          Attachment C).
                                                               22
                                                                                                               In 1963 and 1964, building permits
                                                               23                                              were approved, listing structures
                                                               24                                              including “Employee Facilities,” “Dual
                                                                                                               Automobile Washing,” and “New Car
                                                               25                                              Undercoat.” The owner is listed as
                                                               26                                              Union Pacific’s predecessor-in-interest,
                                                                                                               Pacific Elec. R. R. Ford Decl., Exs. 7,
                                                               27                                              at 74, 75-80, 82-90 (Prof’l Serv. Indus.,
                                                               28                                              Inc., Phase I Envtl. Site Assessment
                                                                                                                        MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                 83
                                                                                                                         STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                     (Sept. 25, 1998) at 1, 5-6, 12-14, 31,
                                                                4
                                                                                                     41-49) (building permits indicating
                                                                5                                    buildings constructed onsite), 8, at 92-
                                                                                                     96, 109-110,_119-124, 144-154, 258-
                                                                6
                                                                                                     275, 346-365, 444, 452-462 (Union
                                                                7                                    Pacific’s Response to EPA 104(e)
                                                                                                     Request Nos. 2, 3, 10 (Jul. 13, 2012), at
                                                                8
                                                                                                     1-5, 18-19 & Index of Exhibits & Exs.
                                                                9                                    4, 19, 20, 32, 46, 48, 49, 50)
                                                                                                     (describing merger of Pacific Electric
                                                               10
                                                                                                     Railway Company into Southern
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                    Pacific Company (“SPCo I”), merger of
                                                                                                     SPCo I into Southern Pacific
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                     Transportation Company, and
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13                                    subsequent transactions leading to Feb.
                                                               14                                    1, 1998 merger of Union Pacific
                                                                                                     Railroad Company and Southern
                                                               15                                    Pacific Transportation Company), 6, at
                                                               16                                    58 (Dames & Moore, Remedial
                                                                                                     Investigation Workplan (Jan. 10, 1992)
                                                               17                                    at 5) (aerial photo showing at least six
                                                               18                                    buildings onsite in 1963)

                                                               19                                    In 1973, Union Pacific’s predecessor-
                                                                                                     in-interest, Southern Pacific
                                                               20                                    Transportation Co., completed an
                                                               21                                    addition to the “Hot Start Emission
                                                                                                     Facility”, which was located on the
                                                               22                                    Chrysler Property and leased to
                                                               23                                    Chrysler Corp. Ford Decl., Ex. 8, at
                                                                                                     112, 119-124, 428-434 (Union Pacific’s
                                                               24                                    Response to EPA’s 104(e) Request No.
                                                               25                                    10 (Jul. 13, 2012), at 21 & Index of
                                                                                                     Exhibits & Ex. 43)
                                                               26
                                                               27                                    Known disposals

                                                               28                                    One or more hazardous substances,
                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1       84
                                                                                                               STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 87 of 170 Page ID #:31338



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                     such as hexavalent chromium, were
                                                                4
                                                                                                     spilled, leaked, pumped, poured,
                                                                5                                    emitted, emptied, discharged, injected,
                                                                                                     escaped, leached, dumped, or disposed
                                                                6
                                                                                                     of at the Chrysler Property between
                                                                7                                    1964 to 1974. Opp’n RFJN, Ex. 23, at
                                                                                                     148 (LACE Notice of Violation and
                                                                8
                                                                                                     Order to Comply (Mar. 20, 1970),
                                                                9                                    (1970 discharge of liquid waste
                                                                                                     containing hexavalent chromium to
                                                               10
                                                                                                     storm drain); Ford Decl., Exs. 2, at 16
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                    (McLaren, Property Transaction Envtl.
                                                                                                     Assessment (Jan. 11, 1989), at 13)
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                     (hexavalent chromium), 6, at 59-60
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13                                    (Dames & Moore, Remedial
                                                               14                                    Investigation Workplan (Jan. 10, 1992),
                                                                                                     at 6, 8)) (same)
                                                               15
                                                                                                     Ford Decl., Exs. 10, at 655 (McLaren,
                                                               16                                    Santa Fe Pacific Realty Property
                                                               17                                    Assessment (Apr. 27, 1990), at 9) (PCE
                                                                                                     and TCE used in carwash operations),
                                                               18                                    2, at 16 (McLaren, Property
                                                               19                                    Transaction Evtl Assessment (Jan. 11,
                                                                                                     1989), at 13) (wastewater from carwash
                                                               20                                    to concrete clarifiers, sewer), 6, at 62-
                                                               21                                    63, 66, 69-70 (Dames & Moore,
                                                                                                     Remedial Investigation Workplan (Jan.
                                                               22                                    10, 1992), at 12-13, 20, 38-39)
                                                               23                                    (solvents used onsite, common industry
                                                                                                     use of solvents in carwash, runoff from
                                                               24                                    carwash to floor drains, waste streams
                                                               25                                    carried throughout site via permeable
                                                                                                     clay or concrete pipes, including
                                                               26
                                                                                                     wastestream containing solvents sent to
                                                               27                                    clarifier); RFJN, Exs. 80 (LACE IDWP
                                                                                                     (May 28, 1964) car wash and floor
                                                               28
                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1       85
                                                                                                               STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                     wash down to storm drain and flood
                                                                4
                                                                                                     control channel), 77 (LACE Industrial
                                                                5                                    Waste Survey (Oct. 21, 1971) (same),
                                                                                                     81 (LACE, Notice (Jan. 14, 1964)
                                                                6
                                                                                                     (cited for discharging car wash
                                                                7                                    wastewater to the sewer without the
                                                                                                     proper interceptor), 82 (Industrial
                                                                8
                                                                                                     Waste Disposal Permit App. (Apr. 10,
                                                                9                                    1964) (wastewater discharges
                                                                                                     containing detergents used in automatic
                                                               10
                                                                                                     car wash were estimated to be 60,000
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                    gallons per day in 1964), 78 (LA Cnty.
                                                                                                     Sanitation Dist., Industrial Wastewater
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                     Discharge Permit No. 926 (Nov. 21,
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13                                    1973) (discharges of wastewater from
                                                               14                                    car wash operations using decosmoline
                                                                                                     solvent estimated at 24,000 gallons per
                                                               15                                    day in 1973); see also Mutch Report,
                                                               16                                    Jan. 14, 2021, at 5-9 to 5-11 (Docket
                                                                                                     No. 903-204, at #25356-25358)
                                                               17                                    (permeability and exfiltration rates of
                                                               18                                    sewer lines)

                                                               19                                    RFJN, Ex. 83 (LACE, Notice of Non-
                                                                                                     Compliance (Feb. 1971)) (sewer traps
                                                               20                                    “heavy with oil and solvent”); Ford
                                                               21                                    Decl., Ex. 6, at 61 (Dames & Moore,
                                                                                                     Remedial Investigation Workplan (Jan.
                                                               22                                    10, 1992), at 9)
                                                               23
                                                                                                     Other discharges
                                                               24
                                                                                                     Mutch Report, Jan. 14, 2021, at Tables
                                                               25                                    5-2, 5-4 (Docket No. 903-204, at
                                                               26                                    #25352-25355, 25361-25363)
                                                               27                                    Car prep operations involved
                                                               28                                    hazardous substances such as
                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1       86
                                                                                                               STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                    chromium, decosmoline solvents
                                                                4
                                                                5                                                   Ford Decl., Ex. 6, at 62-65 (Dames &
                                                                                                                    Moore, Remedial Investigation
                                                                6                                                   Workplan (Jan. 10, 1992), at 12-15);
                                                                7                                                   RFJN, Exs. 78 (1973 IWDP No. 926)
                                                                                                                    (listing “decosmoline” and solvent as
                                                                8                                                   raw materials that were used and
                                                                9                                                   discharged to the sewer system from
                                                                                                                    the car wash), 77_(LACE, Resurvey of
                                                               10                                                   Indus. Waste (Oct. 21, 1971)
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                   (PALM000564-565, 567)) (car prep
                                                                                                                    operations included painting and spot
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                    plating using chromium)
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13
                                                                                                                    40 C.F.R. § 302.4
                                                               14                                                   As stated in Plaintiffs’ Memorandum of
                                                               15                                                   Points & Authorities in Opposition to
                                                                                                                    Union Pacific’s Partial Motion for
                                                               16                                                   Summary Judgment, Union Pacific was
                                                               17                                                   responsible for constructing and
                                                                                                                    maintaining the sewer system (which is
                                                               18                                                   itself a CERCLA “facility”) at the
                                                               19                                                   Chrysler Property when car prep
                                                                                                                    operations were conducted there.
                                                               20                                                   Accordingly, Plaintiffs reserve their
                                                               21                                                   rights to seek contribution from Union
                                                                                                                    Pacific under a “former operator”
                                                               22                                                   theory of liability at trial, if necessary.
                                                               23
                                                               24    107. Moving Parties’ Response
                                                               25           Plaintiffs rendered this fact immaterial by conceding in their Opposition
                                                               26    that they are not contending that Union Pacific is a current or former operator of
                                                                     the Chrysler Property at this time. Plaintiffs specifically state in their response to
                                                               27    Fact No. 107 and in their Opposition that they “reserve their rights to seek
                                                               28    contribution under a ‘former operator’ theory of liability at trial, if
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      87
                                                                                                                               STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     necessary.” Plaintiffs’ Opposition, p. 20, n. 15 (Dkt. 950-1). Plaintiffs have also
                                                                4
                                                                     conceded for purposes of this Motion that they are not contending that Union
                                                                5    Pacific is an operator: “[f]or purposes of [Union Pacific’s] motion, Plaintiffs do
                                                                     not contend that Union Pacific is the current owner or operator of the
                                                                6
                                                                     property.” Plaintiffs’ Opposition, p. 20, n. 15 (Dkt. 950-1)(emphasis added).
                                                                7
                                                                           Moreover, the evidence that Plaintiffs cite—regarding leases entered into
                                                                8    by Union Pacific’s predecessors—does not support that Union Pacific was an
                                                                9    operator at the Chrysler Property and is entirely irrelevant to this issue.
                                                               10
                                                                     108. The right-of-way was removed             Response: Undisputed, but immaterial
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    between 1962 and 1964.
                                                               12                                          Evidence: Plaintiffs object to Fact No.
                          2049 Century Park East, Suite 2600




                                                                     Supporting Evidence:                  108 as immaterial for purposes of
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13      • Banks Decl., Exh. 2 [Map of the deciding this summary judgment
                                                               14         Chrysler Property dated February because it does not bear on whether
                                                                          20, 1964 and revised March 6,    Plaintiffs can meet their burden to
                                                               15         1964];                           demonstrate the Chrysler Property is a
                                                               16      • Banks Decl., Exh. 5 [Map of the CERCLA facility; (2) Defendant Union
                                                                          Chrysler Property dated October Pacific is one of the four classes of
                                                               17         16, 1964 and revised September persons that are liable under CERCLA;
                                                               18         26, 1967];                       and (3) whether there has been a
                                                                       • Banks Decl., Exh. 3 [1962 Aerial “release” or “threatened release” of
                                                               19         Photo of the Chrysler Property]; hazardous substances from the Chrysler
                                                               20      • Banks Decl., Exh. 4 [1964 Aerial Property into OU-2 Groundwater.
                                                                          Photo of the Chrysler Property]; Fresno Motors, LLC v. Mercedes Benz
                                                               21                                          USA, LLC, 771 F.3d 1119, 1125 (9th
                                                                       • Ruiz Decl, ¶¶ 17-22.
                                                               22                                          Cir. 2014); Falkner v. Gen. Motors
                                                                                                           LLC, 393 F. Supp. 3d 927, 930 (C.D.
                                                               23                                          Cal. 2018) (“A material fact for
                                                               24                                          purposes of summary judgment is one
                                                                                                           that might affect the outcome of the suit
                                                               25                                          under the applicable law.”) (citation
                                                               26                                          omitted).

                                                               27                                                  As set forth in Plaintiffs’ response to
                                                               28                                                  paragraph 105, Union Pacific’s
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     88
                                                                                                                              STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                     predecessors-in-interest acquired most
                                                                4
                                                                                                                     of the Chrysler Property, including all
                                                                5                                                    of “Site A”, by December 3, 1963.
                                                                6
                                                                                                                     As set forth in Plaintiffs’ response to
                                                                7                                                    paragraph 107, Union Pacific’s
                                                                                                                     predecessors-in-interest leased the
                                                                8
                                                                                                                     Chrysler Property to various entities
                                                                9                                                    from approximately 1964 to 1974,
                                                                                                                     including to General Motors’
                                                               10
                                                                                                                     predecessor, Dallas Smith Service
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                    Corporation, and to Chrysler’s
                                                                                                                     predecessors, Automotive Precheck and
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                     New Car Preparation System, Inc.
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13                                                    (a/k/a Nu Car Prep).
                                                               14
                                                                                                                     As further set forth in Plaintiffs’
                                                               15                                                    respnse to paragraph 107, one or more
                                                               16                                                    hazardous substances, such as
                                                                                                                     hexavalent chromium, were spilled,
                                                               17                                                    leaked, pumped, poured, emitted,
                                                               18                                                    emptied, discharged, injected, escaped,
                                                                                                                     leached, dumped, or disposed of at the
                                                               19                                                    Chrysler Property between 1964 to
                                                               20                                                    1974.

                                                               21                                                    Plaintiffs incorporate their responses to
                                                               22                                                    paragraphs 105 and 107 herein.

                                                               23
                                                                     108. Moving Parties’ Response
                                                               24
                                                               25             No response is required, because the fact is undisputed.

                                                               26                                                    Response: Partially disputed and
                                                                     109. In 1988, Chrysler terminated its           immaterial
                                                               27    leasehold of the Chrysler Property and
                                                               28    demolished all buildings and removed
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       89
                                                                                                                               STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 92 of 170 Page ID #:31343



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     all structures, including clarifiers. Evidence: Plaintiffs object to
                                                                4
                                                                                                           paragraph 109 as immaterial for
                                                                5    Supporting Evidence:                  purposes of deciding this summary
                                                                       • Banks Decl., Exh. 19, p. 155      judgment. The parties do not dispute
                                                                6         [Letter from Ric Notini of       Union Pacific’s predecessor-in-interest
                                                                7         Catellus Development             transferred the entire Chrysler Property
                                                                          Corporation (“Catellus”) to the  to an unrelated entity on January 21,
                                                                8         RWQCB, dated January 4, 1991]; 1974. See paragraph 101 and Plaintiffs’
                                                                9      • Banks Decl., Exh. 20, p. 158      response thereto. Post-1988 activities at
                                                                          [Letter from Ric Notini of       the Chrysler Property do not bear on
                                                               10         Catellus to the Los Angeles      whether Plaintiffs can meet their
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11         Department of Public Works,      burden to prove certain of the elements
                                                                          Waste Management Division        of Union Pacific’s liability under
                                                               12
                          2049 Century Park East, Suite 2600




                                                                          regarding the Chrysler Property, CERCLA. Fresno Motors, LLC v.
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13         dated January 17, 1991];         Mercedes Benz USA, LLC, 771 F.3d
                                                                       • Banks Decl., Exh. 33, p. 213      1119, 1125 (9th Cir. 2014); Falkner v.
                                                               14
                                                                          [Letter from Scott Strine of     Gen. Motors LLC, 393 F. Supp. 3d 927,
                                                               15         Palmtree Acquisition Corporation 930 (C.D. Cal. 2018) (“A material fact
                                                                          to the U.S. Environmental        for purposes of summary judgment is
                                                               16
                                                                          Protection Agency (“U.S. EPA”), one that might affect the outcome of the
                                                               17         dated May 15, 2009];             suit under the applicable law.”)
                                                               18      • RJN, ¶¶ 9, 10, 23.                (citation omitted).

                                                               19                                                 In addition, the cited documents do not
                                                               20                                                 prove Chrysler removed “all”
                                                                                                                  structures, including clarifiers, from the
                                                               21                                                 site. In 1988, Chrysler Motors Nu-Car
                                                               22                                                 Prep Center contracted with Colorado
                                                                                                                  Pacific Constructors, Inc. to remove a
                                                               23                                                 defined number of structures from the
                                                               24                                                 Chrysler Property: one 10,000-gallon
                                                                                                                  gasoline tank; two 6,000-gallon
                                                               25                                                 gasoline tanks; two 3,000 gallon
                                                               26                                                 gasoline tanks; five 550-gallon waste
                                                                                                                  oil tanks; and seven concrete lined
                                                               27                                                 clarifiers of various capacities. Ford
                                                               28                                                 Decl., Exs. 1, at 5 (Petroleum Industry
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    90
                                                                                                                             STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                    Consultants, Inc., Tank Removal
                                                                4
                                                                                                                    Geological Report (Mar. 31, 1988) at
                                                                5                                                   1). This does not establish all structures
                                                                                                                    were removed. Moreover, the
                                                                6
                                                                                                                    documents cited by Union Pacific post-
                                                                7                                                   date 1988 and do not document actual
                                                                                                                    removal of onsite structures from the
                                                                8
                                                                                                                    property .
                                                                9
                                                               10    109. Moving Parties’ Response
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                                           Plaintiffs contend that this fact is immaterial, therefore, Plaintiffs’
                                                               12    purported dispute of the fact is also immaterial.
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13           Plaintiffs do not dispute that in 1988 Chrysler terminated its leasehold of
                                                               14    the Chrysler Property. Plaintiffs have cited no evidence that disproves statements
                                                                     made in Union Pacific’s supporting evidence that Chrysler demolished all
                                                               15    buildings and removed all structures, including clarifiers in 1988. See, e.g.,
                                                               16    Banks Decl., Exh. 33, p. 213 [Letter from Scott Strine of Palmtree Acquisition
                                                                     Corporation to U.S. EPA, dated May 15, 2009](“Upon the termination of the
                                                               17    leasehold in 1988, Chrysler demolished all existing improvements and removed
                                                               18    all underground structures including a clarifier on the Property.”).
                                                               19           Plaintiffs have not objected to the supporting evidence. See Dkt. 949-81
                                                               20    [Plaintiffs’ Request for Ruling on Specified Evidentiary Objections].

                                                               21
                                                                     110. Site investigations uncovered soil        Response: Disputed
                                                               22    contamination beneath the area of a
                                                                     former 750-gallon clarifier used by            Evidence: Site plans from 1973 and
                                                               23
                                                                     Chrysler (the “Chrysler Clarifier”) in         1974 show a clarifier near the southeast
                                                               24    conjunction with Chrysler’s auto body          corner of the Body Works building.
                                                                     repair shop referred to as the Body            RFJN, Exs. 77 (Los Angeles County
                                                               25
                                                                     Works building.                                Dept. of Engineers, Resurvey of
                                                               26                                                   Industrial Waste Survey, Oct. 21, 1971,
                                                                     Supporting Evidence:                           at 2, 4); Opp’n RFJN_Ex. 13, at 115
                                                               27
                                                                       • Banks Decl., Exh. 18                       (Los Angeles County Dept. of County
                                                               28                                                   Engineer, Industrial Waste Survey,
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      91
                                                                                                                               STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                            [Preliminary Report – Soil and        Dec. 14, 1976, at 2); Banks Decl., Exs.
                                                                4
                                                                            Ground Water Investigation by         11 (Docket No. 902-18), at 121, 13
                                                                5           Converse Environmental West,          (Docket No. 902-20), at 126. Those
                                                                            dated December 28, 1990];             documents describe that clarifier as the
                                                                6
                                                                          • Banks Decl., Exh. 21 [Final           “Nottingham Interceptor.” Id.
                                                                7           Report – Soil and Ground Water
                                                                            Investigation” by Converse            It is unclear whether the clarifier from
                                                                8                                                 the 1973 and 1974 site plans is the
                                                                            Environmental West, dated
                                                                9           August 29, 1991]                      same clarifier that later environmental
                                                                          • RJN, ¶¶ 8, 11.                        consultant reports identify as being the
                                                               10                                                 source of soil contamination near the
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                 Body Works building, namely Clarifier
                                                                                                                  2. The Nottingham Interceptor (or
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                  clarifier) No. 2 is described as a 1,200
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13                                                 or 1,250-gallon clarifier. RFJN, Exs. 77
                                                                                                                  _ (Los Angeles County Dept. of
                                                               14                                                 Engineers, Resurvey of Industrial
                                                               15                                                 Waste Survey, Oct. 21, 1971, at 2, 4),
                                                                                                                  _, at _ (Los Angeles County Dept. of
                                                               16                                                 County Engineer, Industrial Waste
                                                               17                                                 Survey, Dec. 14, 1976, at 2); Banks
                                                                                                                  Decl., Ex. 13 (Docket No. 902-20), at
                                                               18                                                 126.
                                                               19
                                                                                                                  The 1988 Tank Removal Report states
                                                               20                                                 that one clarifier near the Body Works
                                                               21                                                 building was removed in 1988. See
                                                                                                                  Ford Decl., Ex. 1, at 11 (Petroleum
                                                               22                                                 Industry Consultants, Inc., Tank
                                                               23                                                 Removal Geological Report (Mar. 31,
                                                                                                                  1988), at Figure 2B).
                                                               24
                                                                                                                  The documents Union Pacific cites do
                                                               25                                                 not establish when the clarifier at issue
                                                               26                                                 was installed at the Chrysler Property.
                                                               27
                                                               28
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    92
                                                                                                                             STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 95 of 170 Page ID #:31346



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE

                                                                4    110. Moving Parties’ Response
                                                                5
                                                                           The evidence cited by Plaintiffs does not create a dispute regarding Fact
                                                                6    No. 110.
                                                                7           Union Pacific’s supporting evidence states that the environmental site
                                                                8    investigation report is “a culmination of work conducted at the former Chrysler
                                                                     facility to investigate the source(s) and extent of soil and ground water
                                                                9    contamination identified beneath and in the vicinity of the 750 gallon clarifier,
                                                               10    previously used by Chrysler at their Body Works Building.” Banks Decl., Exh.
                                                                     21 [Final Report – Soil and Ground Water Investigation by Converse
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    Environmental West, dated August 29, 1991](emphasis added). Plaintiffs have
                                                               12    not objected to the supporting evidence. See Dkt. 949-81 [Plaintiffs’ Request for
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                     Ruling on Specified Evidentiary Objections].
       & MACHTINGER LLP




                                                               13
                                                               14          None of the evidence cited by Plaintiffs states that contamination was
                                                                     discovered beneath a 1200-gallon or 1250-gallon clarifier. In fact, the Tank
                                                               15    Removal Report cited by Plaintiffs identifies the removed clarifier near the Body
                                                               16    Works Building as 750-gallons. Banks Decl., Exh. 17, pp. 142 and 145 (figure
                                                                     2B).
                                                               17
                                                                            Plaintiffs also repeatedly asserted in their interrogatory responses to Union
                                                               18    Pacific that the contamination was discovered beneath a 750-gallon clarifier near
                                                               19    the Body Works Building:
                                                               20             in the course of performing an environmental due diligence for the
                                                               21             property, elevated levels of halogenated hydrocarbons were discovered in
                                                                              soil beneath and in the vicinity of a former 750-gallon clarifier near the
                                                               22             former Bodyworks Building, located on the Central Property portion of the
                                                               23             CHRYSLER PROPERTY.

                                                               24                                                   ...
                                                               25             Groundwater sampling conducted on November 15, 1990, November 28,
                                                               26             1990, December 3, 1990, and December 11, 1990 indicated the presence of
                                                                              [hazardous substances] in the groundwater at the Central Property near the
                                                               27             former 750-gallon clarifier.
                                                               28
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      93
                                                                                                                           STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                  PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                    SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     Declaration of Sedina L. Banks in Support of Union Pacific’s Reply (“Banks
                                                                4
                                                                     Reply Decl.”), Exh. 1, pp. 23, 29 [Plaintiffs’ Interrogatory Responses](emphasis
                                                                5    added).
                                                                6          Therefore, Plaintiffs’ response does not create a dispute regarding the
                                                                7    source of contamination as being identified as a 750-gallon clarifier used by
                                                                     Chrysler in connection with the Body Works Building.
                                                                8
                                                                9    111. The only identified source of        Response: Disputed
                                                               10    potential groundwater contamination on
                                                                                                               Evidence: Mutch Rebuttal Report,
                                                                     the Chrysler Property is the Chrysler
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                              Mar. 4, 2021, at 1-1 through 1-8.
                                                                     Clarifier.
                                                               12                                              As set forth in Plaintiffs’ response to
                          2049 Century Park East, Suite 2600




                                                                     Supporting Evidence:
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13                                              paragraph 105, Union Pacific’s
                                                                        • Banks Decl., Exh. 18                 predecessors-in-interest acquired most
                                                               14           [Preliminary Report – Soil and     of the Chrysler Property, including all
                                                                            Ground Water Investigation by      of “Site A”, by December 3, 1963.
                                                               15           Converse Environmental West,       Plaintiffs incorporate their response to
                                                               16           dated December 28, 1990];          paragraph 105 herein.
                                                                        • Banks Decl., Exh. 21 [Final
                                                               17           Report – Soil and Ground Water As set forth in Plaintiffs’ response to
                                                               18           Investigation” by Converse         paragraph 107, Union Pacific’s
                                                                            Environmental West, dated          predecessors-in-interest leased the
                                                               19           August 29, 1991];                  Chrysler Property to various entities
                                                               20       • Banks Decl., Exh. 24 [Report         from approximately 1964 to 1974,
                                                                            Phase II Investigation, dated      including to General Motors’
                                                               21           September 6, 1996, prepared by     predecessor, Dallas Smith Service
                                                               22           Debra B. Stott of Dames &          Corporation, and to Chrysler’s
                                                                            Moore];                            predecessors, Automotive Precheck and
                                                               23       • Banks Decl., Exh. 19 [Letter         New Car Preparation System, Inc.
                                                               24           from Ric Notini of Catellus        (a/k/a Nu Car Prep). Plaintiffs
                                                                            Development Corporation            incorporate their response to paragraph
                                                               25
                                                                            (“Catellus”) to the RWQCB,         107 herein.
                                                               26           dated January 4, 1991];
                                                                        • Banks Decl., Exh. 20 [Letter         Car preparation operations at the
                                                               27
                                                                            from Ric Notini of Catellus to the Chrysler Property from the early 1960s
                                                               28                                              to 1974 resulted in multiple disposals
                                                                                                                         MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    94
                                                                                                                          STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                            Los Angeles Department of              of CERCLA hazardous substances
                                                                4
                                                                            Public Works, Waste                    during Union Pacific’s ownership of
                                                                5           Management Division regarding          the property.
                                                                            the Chrysler Property, dated
                                                                6                                                  Known disposals
                                                                            January 17, 1991];
                                                                7         • Banks Decl., Exh. 33 [Letter           One or more hazardous substances,
                                                                8           from Scott Strine of Palmtree          such as hexavalent chromium, were
                                                                            Acquisition Corporation to the         spilled, leaked, pumped, poured,
                                                                9           EPA, dated May 15, 2009];              emitted, emptied, discharged, injected,
                                                               10         • Banks Decl., Exh. 32 [RWQCB’s          escaped, leached, dumped, or disposed
                                                                            Closure Letter for the Central
GREENBERG GLUSKER FIELDS CLAMAN




                                                                                                                   of at the Chrysler Property between
                                                               11           Property dated August 6, 1999];        1964 to 1974. Opp’n RFJN, Ex. 23,
                                                               12         • RJN, ¶¶ 8-11, 14, 22, 23.              at_148 (LACE Notice of Violation and
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                                                                                   Order to Comply (Mar. 20, 1970),
                                                               13
                                                                                                                   (1970 discharge of liquid waste
                                                               14                                                  containing hexavalent chromium to
                                                               15                                                  storm drain); Ford Decl., Exs. 2, at 16
                                                                                                                   (McLaren, Property Transaction Envtl.
                                                               16                                                  Assessment (Jan. 11, 1989), at 13)
                                                               17                                                  (hexavalent chromium), 6, at 59-60
                                                                                                                   (Dames & Moore, Remedial
                                                               18                                                  Investigation Workplan (Jan. 10, 1992),
                                                               19                                                  at 6, 8) (same)

                                                               20                                                  Ford Decl., Exs. 10, at 655 (McLaren,
                                                                                                                   Santa Fe Pacific Realty Property
                                                               21                                                  Assessment (Apr. 27, 1990), at 9) (PCE
                                                               22                                                  and TCE used in carwash operations),
                                                                                                                   2, at 16, 18 (McLaren, Property
                                                               23                                                  Transaction Evtl Assessment (Jan. 11,
                                                               24                                                  1989), at 13, 15) (wastewater from
                                                                                                                   carwash to concrete clarifiers, sewer), 6
                                                               25                                                  , at 62-63, 66, 68-70 (Dames & Moore,
                                                               26                                                  Remedial Investigation Workplan (Jan.
                                                                                                                   10, 1992), at 12-13, 20, 37-39)
                                                               27
                                                                                                                   (solvents used onsite, common industry
                                                               28                                                  use of solvents in carwash, runoff from
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     95
                                                                                                                             STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                     carwash to floor drains, waste streams
                                                                4
                                                                                                     carried throughout site via permeable
                                                                5                                    clay or concrete pipes, including
                                                                                                     wastestream containing solvents sent to
                                                                6
                                                                                                     clarifier); RFJN, Exs. 80 (LACE IDWP
                                                                7                                    (May 28, 1964) (car wash and floor
                                                                                                     wash down to storm drain and flood
                                                                8
                                                                                                     control channel), 77 (LACE Industrial
                                                                9                                    Waste Survey (Oct. 21, 1971) (same),
                                                                                                     81 (LACE, Notice (Jan. 14, 1964)
                                                               10
                                                                                                     (cited for discharging car wash
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                    wastewater to the sewer without the
                                                                                                     proper interceptor), 82 (Industrial
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                     Waste Disposal Permit App. (Apr. 10,
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13                                    1964) (wastewater discharges
                                                               14                                    containing detergents used in automatic
                                                                                                     car wash were estimated to be 60,000
                                                               15                                    gallons per day in 1964), 78 (LA Cnty.
                                                               16                                    Sanitation Dist., Industrial Wastewater
                                                                                                     Discharge Permit No. 926) (Nov. 21,
                                                               17                                    1973) (discharges of wastewater from
                                                               18                                    car wash operations using decosmoline
                                                                                                     solvent estimated at 24,000 gallons per
                                                               19                                    day in 1973); see also Mutch Report,
                                                               20                                    Jan. 14, 2021, at 5-9 to 5-11 (Docket
                                                                                                     No. 903-204, at #25356-25358)
                                                               21                                    (permeability and exfiltration rates of
                                                               22                                    sewer lines)

                                                               23                                    RFJN, Ex. 83 (LACE, Notice of Non-
                                                                                                     Compliance (Feb. 1971) (sewer traps
                                                               24                                    “heavy with oil and solvent”)); Ford
                                                               25                                    Decl., Ex. 6, at 61 (Dames & Moore,
                                                                                                     Remedial Investigation Workplan (Jan.
                                                               26
                                                                                                     10, 1992), at 9)
                                                               27
                                                                                                     Other discharges
                                                               28
                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1       96
                                                                                                               STATEMENT OF GENUINE DISPUTES
                                            Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 99 of 170 Page ID #:31350



                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                            PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                              SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                          Mutch Report, Jan. 14, 2021, at Tables
                                                                4
                                                                                                          5-2, 5-4 (Docket No. 903-204, at
                                                                5                                         #25352-25355, 25361-25363)
                                                                6                                         Car prep operations involved
                                                                7                                         hazardous substances such as
                                                                                                          chromium, decosmoline solvents
                                                                8
                                                                                                          Ford Decl., Ex. 6, at 62-65 (Dames &
                                                                9
                                                                                                          Moore, Remedial Investigation
                                                               10                                         Workplan (Jan. 10, 1992), at 12-15);
GREENBERG GLUSKER FIELDS CLAMAN




                                                                                                          RFJN, Exs. 78 (1973 IWDP No. 926)
                                                               11
                                                                                                          (listing “decosmoline” and solvent as
                                                               12                                         raw materials that were used and
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                                                                          discharged to the sewer system from
                                                               13
                                                                                                          the car wash), 77 (LACE, Resurvey of
                                                               14                                         Indus. Waste (Oct. 21, 1971)
                                                               15                                         (PALM000564-565, 567) (car prep
                                                                                                          operations included painting and spot
                                                               16                                         plating using chromium))
                                                               17                                         40 C.F.R. § 302.4
                                                               18
                                                                                                          By 1971, there were seven clarifiers at
                                                               19                                         the Chrysler Property. RFJN, Ex. 77_
                                                               20                                         (Los Angeles County Dept. of
                                                                                                          Engineers, Resurvey of Industrial
                                                               21                                         Waste Survey (Oct. 21, 1971)); see
                                                               22                                         Mutch Report, Jan. 14, 2021, at 5-9 to
                                                                                                          5-10 (noting that 1,100 feet of six-inch,
                                                               23                                         vitrified clay sewer pipe, like present at
                                                               24                                         the Chrysler property, could
                                                                                                          conservatively leak 2.19 million gallons
                                                               25                                         of wastewater over the course of a
                                                               26                                         year).

                                                               27
                                                                     111. Moving Parties’ Response
                                                               28
                                                                                                                   MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1            97
                                                                                                                    STATEMENT OF GENUINE DISPUTES
                                                               Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 100 of 170 Page ID
                                                                                                #:31351


                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                            The evidence cited by Plaintiffs does not create a dispute regarding the
                                                                4
                                                                     Chrysler Clarifier being the only identified potential source of groundwater
                                                                5    contamination. Plaintiffs’ cited evidence is also irrelevant, unauthenticated,
                                                                     and/or inadmissible. See Union Pacific’s Request for an Evidentiary Ruling on
                                                                6
                                                                     this point.
                                                                7
                                                                           Plaintiffs’ supporting evidence does not create a dispute for the following
                                                                8    reasons:
                                                                9
                                                                          1. Plaintiffs and Mr. Mutch have already admitted that the Chrysler Clarifier
                                                               10            is the identified source of groundwater contamination.
GREENBERG GLUSKER FIELDS CLAMAN




                                                                                 o Plaintiffs’ MSJ at 86:19-87:10 and at 87, n. 60
                                                               11
                                                                                 o January Mutch Report (Dkt. 903-204)(“January Report”), 5-30 (the
                                                               12                    “most unequivocal evidence of [contaminants] from operations at the
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                                                     Property reaching groundwater” is from the Chrysler Clarifier);
                                                               13
                                                                                 o Banks Reply Decl., Exh. 5 [Mutch Depo. Tr. 457:11-18; see also
                                                               14                    Mutch Depo. Tr. 433:20-23].
                                                               15
                                                                          2. Prior environmental site investigations and the Los Angeles Regional
                                                               16            Water Quality Control Board in granting no further action for the Chrysler
                                                               17            Property ruled out other sources of groundwater contamination.
                                                                                o Banks Decl., Exh. 25, p. 191 (“an onsite source [of VOCs] has not
                                                               18                   been identified.”) [North Central Property Assessment]
                                                               19               o Banks Decl., Exh. 22, p. 176 (“former site features located on the
                                                                                    LaSalle property (such as the clarifier) have not adversely impacted
                                                               20                   soil and groundwater.”) [LaSalle Property Assessment].
                                                               21               o Banks Decl., Exh. 23, p. 184 (“No evidence for an onsite source of
                                                                                    VOCs has been detected.”) [Multitenant Property Assessment].
                                                               22               o Banks Decl., Exhs. 27, 28, 30, and 32 [Closure Letters].
                                                               23
                                                                          3. There is no sampling data that indicates that hexavalent chromium was
                                                               24            spilled, leaked, pumped, poured, emitted, emptied, discharged, injected,
                                                               25            escaped, leached, dumped, or disposed of at the Chrysler Property.
                                                                                o January Report 5-34 (soil investigations did not include hexavalent
                                                               26                   chromium)
                                                               27               o Banks Reply Decl., Exh. 5 [Mutch Depo. Tr. 465:17-22] (no soil
                                                                                    investigation for hexavalent chromium)
                                                               28
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      98
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                   o Plaintiffs’ Motion for Summary Judgment, at 81:3-4 (admitting that
                                                                4
                                                                                     there has been “no testing for hexavalent chromium [] undertaken at
                                                                5                    the property.”)
                                                                6
                                                                          4. Plaintiffs have not included any notice of violation regarding hexavalent
                                                                7            chromium in their cited supporting evidence. Plaintiffs’ Opposition
                                                                             Request for Judicial Notice, Ex. 23 at 148, pertains to the wrong party
                                                                8
                                                                             (Globe Oil Tools Company), for the wrong site location (11630 Burke
                                                                9            Street, Santa Fe Springs, CA), and on the wrong date (March 20, 1970).
                                                               10
                                                                          5. Plaintiffs have not provided evidence connecting the alleged violations
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11            occurring during Union Pacific’s ownership of the Chrysler Property to
                                                                             specific soil and groundwater impacts to the Chrysler Property and the
                                                               12
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                                                                             alleged violations do not address soil and groundwater impacts.
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       & MACHTINGER LLP




                                                               13                   o Banks Reply Decl., Exh. 5 [Mutch Depo. Tr. 424:13-20; 425:5-8;
                                                               14                       425:19-21; 426:12-16; 429:13-17; 432:4-6; 443:7-17; 450:17-23]
                                                                                        (repeatedly testifying that he has not connected any of the alleged
                                                               15                       violations to soil and groundwater contamination on the Chrysler
                                                               16                       Property)

                                                               17         6. Plaintiffs have provided no evidence of a sewer inspection on the Chrysler
                                                               18            Property to determine if the sewers leaked.
                                                                                    o Banks Reply Decl., Exh. 5 [Mutch Depo. Tr. 415:9-12; 464:17-
                                                               19                       20; 465:3-5; 465:7-11]
                                                               20                   o January Report 5-11 (“sewer lines had not been investigated in
                                                                                        1992 and I would add that they have not been adequately
                                                               21                       investigated since that time”).
                                                               22
                                                                          7. Plaintiffs do not have results of exfiltration or infiltration rate testing for the
                                                               23            sewers at the Chrysler Property.
                                                               24                   o Banks Reply Decl., Exh. 5 [Mutch Depo. Tr. 415:9-12] (testifying
                                                                                        that he does not have exfiltration or infiltration rate testing for the
                                                               25                       sewers at the Chrysler property).
                                                               26
                                                                          8. The below citations to evidence are violations or prior operations
                                                               27            summarized in expert reports prepared decades after the alleged violation
                                                               28            occurred and thus, are inadmissible hearsay, which cannot be used to prove
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                         99
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                              that the violations actually occurred. FED. R. EVID. 801(c); Orr v. Bank of
                                                                4
                                                                              Am., 285 F.3d 764, 773, 778 (9th Cir. 2002).
                                                                5                o Ford Decl., Exh. 2, at 16 (McLaren, Property Transaction Envtl.
                                                                                     Assessment (Jan. 11, 1989), at 13): The references are from a 1989
                                                                6
                                                                                     report and do not contain the alleged violations.
                                                                7                o Ford Decl., Exh. 6, at 59-60 (Dames & Moore, Remedial
                                                                                     Investigation Workplan (Jan. 10, 1992), at 6, 8): The references are
                                                                8
                                                                                     from a 1992 report and do not contain the alleged violations.
                                                                9                o Ford Decl., Exh. 2, at 16, 18 (McLaren, Property Transaction Envtl.
                                                                                     Assessment (Jan. 11, 1989), at 13, 15): The references are from a
                                                               10
                                                                                     1989 report and do not contain the alleged violations.
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                                                               11                o Mutch Report, Tables 5-2, 5-4
                                                               12
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                                                                          9. Plaintiffs’ references to the following occurred after Union Pacific sold the
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                                                               13            Chrysler Property on January 21, 1974 and cannot be used as evidence
                                                               14            against Union Pacific. See CERCLA, 42 U.S.C. § 9607(a)(2).
                                                                                o Ford Decl., Exh. 6 , at 62-63, 66, 68-70 (Dames & Moore, Remedial
                                                               15                   Investigation Workplan (Jan. 10, 1992), at 12-13, 20, 37-39): The
                                                               16                   list of substances used was from a site inspection that was conducted
                                                                                    in 1988 and contained in a report prepared in 1992.
                                                               17               o Ford Decl., Exh. 10, at 655 (McLaren, Santa Fe Pacific Realty
                                                               18                   Property Assessment (Apr. 27, 1990), at 9): The list of substances
                                                                                    used is from a site inspection that was conducted in 1988. See Ford
                                                               19                   Decl., Exh. 10, at 654-55.
                                                               20               o RFJN, Exh. 78: The cited permit to use decosmoline was not granted
                                                                                    until January 1974 and references Permit No. 926. The County of
                                                               21                   Los Angeles did not issue the permit for the clarifier associated with
                                                               22                   Permit No. 926 until April 2, 1974 – several months after Union
                                                                                    Pacific sold the Chrysler Property. Banks Decl., Exh. 13 [Permit
                                                               23                   Approval]
                                                               24
                                                                          10.Union Pacific objects to Plaintiffs’ characterization of their supporting
                                                               25            evidence as “known disposals.” Disposal is a legal CERCLA term of art.
                                                               26            See CERCLA, 42 U.S.C. § 9601(29). Plaintiffs’ supporting evidence does
                                                                             not support that there were any impacts to groundwater other than from the
                                                               27            Chrysler Clarifier.
                                                               28
                                                                                                                           MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      100
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                 PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                   SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE

                                                                4    112. The Chrysler Clarifier was          Response: Disputed
                                                                5    located in the former Chrysler Body
                                                                     Works building.                          Evidence: Mutch Rebuttal Report,
                                                                6                                             Mar. 4, 2021, at 1-1 through 1-8.
                                                                     Supporting Evidence:
                                                                7                                             Documents indicate Clarifier 2, or the
                                                                       • Banks Decl., Exh. 17 [Tank
                                                                8         Removal Geological Report           “Chrysler Clarifier,” was located
                                                                          Prepared by Petroleum Industry      outside the Body Works Building. Ford
                                                                9                                             Decl., Exs. 1, at 6-8, 11 (Petroleum
                                                                          Consultants, Inc. dated March 31,
                                                               10         1988];                              Industry Consultants, Inc., Tank
                                                                                                              Removal Geological Report (Mar. 31,
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11      • Banks Decl., Exh. 18
                                                                          [Preliminary Report – Soil and      1988), at 2-4, Figure 2B) (describing
                                                               12         Ground Water Investigation by       removal of clarifiers by removing
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                                                              concrete and using cranes and track-
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                                                               13         Converse Environmental West,
                                                                          dated December 28, 1990];           mounted backhoe; figure showing
                                                               14                                             clarifier located outside Body Works
                                                                       • Banks Decl., Exh. 21 [Final
                                                                                                              building), 2, at 13-15 (McLaren Envtl.
                                                               15         Report – Soil and Ground Water
                                                                                                              Eng’g, Property Transaction
                                                                          Investigation” by Converse
                                                               16                                             Environmental Assessment, Jan. 11,
                                                                          Environmental West, dated
                                                                                                              1989, at 1, 6 & Figure 1) (Body Works
                                                               17         August 29, 1991];
                                                                                                              building fully intact shortly after
                                                                       • Ruiz Decl., ¶¶ 4-6;
                                                               18                                             removal of clarifiers), 4, at 43
                                                                       • RJN, ¶¶ 7, 8, 11.                    (Converse Envtl. West, Final Report –
                                                               19                                             Soil & Groundwater Investigation,
                                                               20                                             Aug. 29, 1991, Figure Map 5).
                                                               21                                             Clarifiers almost always sit below the
                                                               22                                             surface to facilitate connection to
                                                                                                              underground sewer lines carrying waste
                                                               23                                             water to the clarifier for pretreatment
                                                               24                                             before disposal to the sewer. Mutch
                                                                                                              Rebuttal Report, Mar. 4, 2021, at 1-2,
                                                               25                                             1-7 through 1-8.
                                                               26                                             Large concrete clarifiers like those used
                                                               27                                             in the 1960s and 1970s at the Chrysler
                                                                                                              Property are not ordinarily installed
                                                               28
                                                                                                                       MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                  101
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                  PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                    SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                               inside a building or other enclosed
                                                                4
                                                                                                               structure. RFJN Ex. 77 (Los Angeles
                                                                5                                              County Dept. of Engineers, Resurvey
                                                                                                               of Industrial Waste Survey, Oct. 21,
                                                                6
                                                                                                               1971); Mutch Rebuttal Report, Mar. 4,
                                                                7                                              2021, at 1-7.
                                                                8
                                                                     112. Moving Parties’ Response
                                                                9
                                                               10          The evidence cited by Plaintiffs does not create a dispute regarding whether
                                                                     the Chrysler Clarifier was installed within the Body Works Building.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                               12           All environmental reports, including those cited by Plaintiffs, depict the
                          2049 Century Park East, Suite 2600




                                                                     Chrysler Clarifier as located in the same location as where an L-shaped addition
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                                                               13    to the Body Works Building was added sometime between 1983 and 1987. Banks
                                                               14    Decl., Exhs. 17, p. 144-45 [Tank Removal Report]; Banks Decl., Exhs. 18, p. 152
                                                                     and 21, p. 174 [Converse Reports]; Ruiz Decl., ¶¶ 5 & 6; Ford Decl., Exh. 2, p. 14
                                                               15    [McLaren Report]; January Report, Figure 5-10. The only difference in these
                                                               16    depictions is some diagrams show the “L-shaped” addition to the Body Works
                                                                     Building as depicted in contemporaneous aerial photographs and some do not.
                                                               17
                                                                            Even if the hand-drawn site figures do not accurately depict the L-shaped
                                                               18    expansion, we know the expansion was installed sometime between 1983 and
                                                               19    1987 based on the contemporaneous aerial photographs identified by Union
                                                                     Pacific’s expert, David Ruiz. Ruiz Decl., ¶ 4-6, 7-10, 12-16. Plaintiffs’ expert,
                                                               20    Mr. Mutch, in his March 4, 2021 Rebuttal Report (“Rebuttal Report”) agreed that
                                                               21    Mr. Ruiz’ aerial photograph analysis “is adequate to assess the timing of the
                                                                     building expansion.” Rebuttal Report (Dkt. 949-78), 1-8.
                                                               22
                                                               23           Mr. Mutch in both his January Report and Rebuttal Report agrees that the
                                                                     Chrysler Clarifier was located within the L-shaped addition of the Body Works
                                                               24    Building. In Figure 5-10 to his January Report, Mr. Mutch identifies the location
                                                               25    of the Chrysler Clarifier consistent with Mr. Ruiz’ identification:

                                                               26
                                                               27
                                                               28
                                                                                                                        MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                   102
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE

                                                                4
                                                                5
                                                                6
                                                                7
                                                                8
                                                                9
                                                               10
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                               12
                          2049 Century Park East, Suite 2600




                                                                     Likewise, in his Rebuttal Report, Mr. Mutch admitted that “[t]he annotated site
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                                                               13    photograph referenced by Mr. Ruiz does indeed support that the Chrysler Clarifier
                                                               14    was excavated from a location within the expanded footprint of the Body Work
                                                                     Building.” Mutch Report, p. 1-7 (emphasis added).
                                                               15
                                                                            Plaintiffs have not objected to the supporting evidence. See Dkt. 949-81
                                                               16    [Plaintiffs’ Request for Ruling on Specified Evidentiary Objections].
                                                               17
                                                               18    113. The Chrysler Clarifier was            Response: Disputed
                                                                     installed after Union Pacific sold the
                                                               19                                           Evidence: Defendants base this claim
                                                                     Chrysler Property.
                                                               20                                           on their unsupported allegation that the
                                                                     Supporting Evidence:                   Chrysler Clarifier was located inside
                                                               21      • Banks Decl., Exh. 17 [Tank         the Body Works building. See, e.g.,
                                                               22         Removal Geological Report         Mot. at 33, 34, 39, 50. As fully set out
                                                                          Prepared by Petroleum Industry    in response to paragraph 112 above, the
                                                               23         Consultants, Inc. dated March 31, evidence does not support this
                                                               24         1988];                            allegation. Plaintiffs incorporate their
                                                                       • Banks Decl., Exh. 18, p. 152;      response to paragraph 112 herein.
                                                               25         [Preliminary Report – Soil and
                                                               26         Ground Water Investigation by
                                                                          Converse Environmental West,
                                                               27         dated December 28, 1990, Figure
                                                               28         No. 5];
                                                                                                                        MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     103
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                          • Banks Decl., Exh. 21, p. 174
                                                                4
                                                                            [Final Report – Soil and Ground
                                                                5           Water Investigation” by
                                                                6           Converse Environmental West,
                                                                            dated August 29, 1991, Figure
                                                                7           No. 10];
                                                                8         • Banks Decl., Exh. 14 [Aerial
                                                                            Photograph of the Chrysler
                                                                9           Property dated 1983];
                                                               10         • Banks Decl., Exh. 15 [Aerial
                                                                            Photograph of the Chrysler
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11           Property dated 1987];
                                                               12         • Banks Decl., Exh. 9 [January 21,
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                            1974 Deed];
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                                                               13         • Banks Decl., Exh. 10 [Los
                                                               14           Angeles County Sanitation
                                                                            District Letter dated January 31,
                                                               15           1974];
                                                               16         • Banks Decl., Exh. 7 [Los
                                                                            Angeles County Sanitation
                                                               17
                                                                            District Letter dated October 16,
                                                               18           1973];
                                                                          • Banks Decl., Exh. 8 [Site Plan
                                                               19
                                                                            marked as approved on October
                                                               20           16, 1973 by the Los Angeles
                                                               21           County Sanitation District, in
                                                                            connection with an Industrial
                                                               22           Wastewater Discharge Permit
                                                               23           No. 787];
                                                                          • Banks Decl., Exh. 11 [Site Plan
                                                               24           marked as approved on January
                                                               25           31, 1974 by the Los Angeles
                                                                            County Sanitation District, in
                                                               26           connection with an Industrial
                                                               27           Wastewater Discharge Permit
                                                                            Nos. 926, 927 and 928 for the
                                                               28
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       104
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                            Chrysler Property];
                                                                4
                                                                          • Banks Decl., Exh. 13 [Map
                                                                5           depicting work to be performed
                                                                6           under Industrial Wastewater
                                                                            Discharge Permit Nos. 787, 926,
                                                                7           927 and 928];
                                                                8         • Ruiz Decl., ¶ 4-6, 7-10, 12-16;
                                                                          • RJN, ¶¶ 1-4, 6-8, 11.
                                                                9
                                                               10
                                                                     113. Moving Parties’ Response
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                                            Notably, in their response to Fact No. 113, Plaintiffs do not dispute that if
                                                               12
                          2049 Century Park East, Suite 2600




                                                                     the Chrysler Clarifier was installed inside the Body Works Building’s L-shaped
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                                                               13    addition then it was installed after Union Pacific sold the Chrysler Property.
                                                                     Plaintiffs only dispute Union Pacific’s Fact No. 112 that the Chrysler Clarifier
                                                               14    was installed inside the Body Works Building’s L-shaped addition.
                                                               15
                                                                            As discussed in response to Fact No. 112, incorporated by this reference,
                                                               16    Plaintiffs’ evidence does not create a dispute regarding the location of the
                                                               17    Chrysler Clarifier as being within the L-shaped addition to the Body Works
                                                                     Building.
                                                               18
                                                               19                             III. Patsouras Source Property
                                                               20       Moving Defendants: Halliburton Affiliates, LLC; Intervenors Fireman’s
                                                               21      Fund Insurance Company and Federal Insurance Company, as Insurers of
                                                                                    Palley Supply Company; and Kekropia, Inc.
                                                               22
                                                               23    200. On November 1, 2016, Plaintiffs Response: Undisputed.
                                                                     filed a Fifth Amended Complaint
                                                               24    (“FAC”) against Defendants
                                                               25    Halliburton Affiliates, LLC; Kekropia,
                                                                     Inc.;
                                                               26    William K. Palley, an individual; and
                                                               27    Palley Supply Company (the “Patsouras
                                                                     Property Defendants”) alleging that
                                                               28
                                                                                                                           MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     105
                                                                                                                            STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     each was a “covered person” within the
                                                                4
                                                                     meaning of 42 U.S.C. § 9607(a)(1)-(4).
                                                                5
                                                                     Supporting Evidence: FAC ¶ 398; Ex.
                                                                6
                                                                     A to the Declaration of William D.
                                                                7    Wick
                                                                8
                                                                9    200. Moving Parties’ Response
                                                               10             No Response as Paragraph 200 is undisputed.
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                                                               11    201. EPA concluded that certain            Response: Undisputed, but immaterial.
                                                               12    parties were potentially responsible
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                            Los Angeles, California 90067




                                                                     parties (“PRPs”) for the contamination     Evidence: Plaintiffs object to
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                                                               13    of OU-2 groundwater, and sent Special      paragraph 201 as immaterial for
                                                               14    Notice Letters to them.                    purposes of deciding this summary
                                                                                                                judgment because it does not bear on
                                                               15    Supporting Evidence: FAC ¶ 4; Ex. A        whether Plaintiffs can meet their
                                                               16    to the Declaration of William D. Wick      burden to demonstrate the Patsouras
                                                                                                                Property is a CERCLA facility; (2)
                                                               17                                               Defendants Halliburton Affiliates,
                                                               18                                               LLC, Palley Supply Company and
                                                                                                                Kekropia, Inc. (collectively, the
                                                               19                                               “Patsouras Defendants”) are one of the
                                                               20                                               four classes of persons that are liable
                                                                                                                under CERCLA; and (3) whether there
                                                               21
                                                                                                                has been a “release” or “threatened
                                                               22                                               release” of hazardous substances from
                                                                                                                the Patsouras Property into OU-2
                                                               23
                                                                                                                Groundwater (as defined in Footnote 1
                                                               24                                               above). Fresno Motors, LLC v.
                                                                                                                Mercedes Benz USA, LLC, 771 F.3d
                                                               25
                                                                                                                1119, 1125 (9th Cir. 2014); Falkner v.
                                                               26                                               Gen. Motors LLC, 393 F. Supp. 3d 927,
                                                                                                                930 (C.D. Cal. 2018) (“A material fact
                                                               27
                                                                                                                for purposes of summary judgment is
                                                               28                                               one that might affect the outcome of the
                                                                                                                         MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     106
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                  PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                    SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                               suit under the applicable law.”)
                                                                4
                                                                                                               (citation omitted).
                                                                5
                                                                6    201. Moving Parties’ Response
                                                                7
                                                                            Contrary to Plaintiff’s response, the evidence is material. It is material
                                                                8    because it demonstrates that the US EPA, the governing regulatory agency,
                                                                     conducted its own analysis of which properties overlying the Omega Plume may
                                                                9
                                                                     have contributed to the groundwater contamination. EPA’s policy is to issue
                                                               10    notice letters “to all parties where there is sufficient evidence to make a
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    preliminary determination of potential liability under §107 of CERCLA.” 53 Fed.
                                                                     Reg. 5298, 5301 (Feb. 23, 1988)(emphasis added). EPA issued notice letters to
                                                               12    42 owners or operators of properties overlying the Omega Plume, but did NOT
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                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13    issue a notice letter to any of the Patsouras Property Defendants, indicating that
                                                                     there was not sufficient evidence to make a preliminary determination that the
                                                               14    Patsouras Property Defendants were potentially liable.
                                                               15
                                                                     202. EPA has not sent a Special Notice    Response: Undisputed, but immaterial.
                                                               16    Letter to any of the Patsouras Property
                                                                     Defendants.                               Evidence: Plaintiffs do not dispute
                                                               17                                              EPA has not sent a Special Notice
                                                               18    Supporting Evidence: FAC, p. 18           Letter to any of the Patsouras Property
                                                                     (“Non-Notice Letter Defendants            Defendants to date. Declaration of
                                                               19                                              William D. Wick (“Wick Decl.”), Ex.
                                                                     PRPS,”), ¶ 93-96; Ex. A to the
                                                               20    Declaration of William D. Wick            A (Docket No. 526, Fifth AC, ¶¶ 68,
                                                                                                               93-96 (alleging each defendant
                                                               21
                                                                                                               received a SNL, GNL or has not yet
                                                               22                                              received a notice letter)).
                                                               23                                              The OU-2 Remedial Investigation
                                                               24                                              Report (“OU-2 RI”), portions of which
                                                                                                               the Patsouras Defendants cite below,
                                                               25                                              plainly states that EPA recognizes its
                                                               26                                              investigations to date “may not have
                                                                                                               identified all sources of contamination
                                                               27                                              within the OU2 area, and the EPA may
                                                               28                                              conduct additional investigations in the
                                                                                                                        MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                   107
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                   PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                     SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                future.” See Hagstrom Decl., Ex. A, at
                                                                4
                                                                                                                6 (Docket No. 902-47, at # 17799)
                                                                5                                               (OMEGA OU-2 RI/FS, at 8-4). EPA
                                                                                                                could issue a GNL or SNL to the
                                                                6
                                                                                                                Patsouras Defendants in the future.
                                                                7
                                                                                                                Under CERCLA, EPA is not required
                                                                8                                               to send notice letters to all entities that
                                                                9                                               contributed contamination to OU-2
                                                                                                                Groundwater and the Agency has not
                                                               10                                               done so. EPA acknowledges there are
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                               state-led actions to clean up known
                                                                                                                source properties that are continuing to
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                contribute to the OU-2 Groundwater
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                                                               13                                               contamination and that those actions
                                                                                                                must work in parallel with the EPA
                                                               14                                               OU-2 Groundwater containment
                                                               15                                               remedy. See Docket No. 770-2, at
                                                                                                                #14433, #14440-14441 (Ex. A, 17, 24-
                                                               16                                               25) (OU-2 ROD, at 1-2, 2-4 to 2-5).
                                                               17
                                                                                                                Though strong circumstantial evidence
                                                               18                                               of Defendants’ liability, EPA’s
                                                               19                                               issuance of a notice letter to the
                                                                                                                Patsouras Defendants would not
                                                               20                                               directly prove any of the elements of
                                                               21                                               the Patsouras Defendants’ liability
                                                                                                                under CERCLA and is, therefore,
                                                               22                                               immaterial. See Plaintiffs’ Response to
                                                               23                                               Patsouras Defendants’ paragraph 201.
                                                                                                                Plaintiffs incorporate their Response to
                                                               24                                               paragraph 201 herein by reference.
                                                               25
                                                               26    202. Moving Parties’ Response

                                                               27           Contrary to Plaintiff’s response, the evidence is material. The fact remains
                                                                     that following many years of investigation, the EPA has not issued a Special
                                                               28
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    108
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                   PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                     SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     Notice Letter to any of the Patsouras Property Defendants, and, as stated in the
                                                                4
                                                                     Response to Paragraph 201, it is a material fact for the Court to consider.
                                                                5    Plaintiffs provide mere conjecture that the EPA may identify additional sources of
                                                                     contamination to OU-2, it may conduct additional investigations in the future, and
                                                                6
                                                                     that it could issue either a General or Special Notice Letter to the Patsouras
                                                                7    Property Defendants but this is pure conjecture on Plaintiff’s part (especially
                                                                     considering the LARWQCB has issued the Patsouras Property a No Further
                                                                8
                                                                     Action letter). The fact that cannot be disputed is that EPA has been issuing
                                                                9    notice letters for 15 years relating to the properties overlying the Omega Plume
                                                                     and has not issued any letters to the Patsouras Property Defendants. The only
                                                               10
                                                                     actual evidence for the Court to consider is that the EPA has not issued these
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    letters to the Patsouras Property Defendants and has not named them as PRPs
                                                                     with regard to OU-2 contamination. Moving parties incorporate their Response to
                                                               12
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                                                                     paragraph 201 by reference.
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                                                               13
                                                               14    203. EPA concluded that certain parties Response: Undisputed, but immaterial.
                                                               15    were potentially responsible parties
                                                                                                             Evidence: Plaintiffs incorporate their
                                                                     (“PRPs”) for the contamination of OU-
                                                               16                                            response to paragraph 201 herein.
                                                                     2 groundwater warranting receipt of a
                                                               17    General Notice Letter (“GNL”) from
                                                                     EPA and sent GNLs to them.
                                                               18
                                                               19    Supporting Evidence: FAC ¶ 5; Ex. A
                                                                     to the Declaration of William D. Wick
                                                               20
                                                               21
                                                                     203. Moving Parties’ Response
                                                               22
                                                                           This fact is material. See responses to Paragraph 201 and 202 incorporated
                                                               23    by reference herein.
                                                               24
                                                                     204. EPA has not sent a General Notice Response: Undisputed, but immaterial.
                                                               25    Letter to any of the Patsouras Property
                                                                     Defendants.                             Evidence: Plaintiffs incorporate their
                                                               26
                                                                                                             responses to paragraphs 201, 202 and
                                                               27    Supporting Evidence: FAC, p. 18         203 herein.
                                                                     (“Non-Notice Letter Defendants
                                                               28
                                                                                                                        MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    109
                                                                                                                         STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     PRPS,”), ¶ 93-96; Ex. A to the
                                                                4
                                                                     Declaration of William D. Wick
                                                                5
                                                                6    204. Moving Parties’ Response
                                                                7
                                                                           This fact is material. See responses to Paragraph 201, 202 and 203
                                                                8    incorporated by reference herein.
                                                                9    205. The Patsouras Property is located       Response: Undisputed.
                                                               10    at 11630-11700 Burke Street, Santa Fe
                                                                     Springs, CA.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                               12    Supporting Evidence: FAC ¶ 343,
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                     Ex. A to the Declaration of William D.
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                                                               13    Wick
                                                               14
                                                               15    205. Moving Parties’ Response
                                                               16             No Response as Paragraph 200 is undisputed.
                                                               17
                                                                     206. From 1968 to 1972, Globe Oil            Response: Disputed.
                                                               18    Tools Company operated on the
                                                               19    Patsouras Property, manufacturing and
                                                                                                               Evidence: Globe Oil operated on the
                                                                     treating oil well drilling equipment and
                                                               20                                              Property from at least 1941, and
                                                                     tools.
                                                                                                               perhaps as early as the 1930’s. Opp’n
                                                               21                                              RFJN, Exs. 15-A, at 117-125 (building
                                                                     Supporting Evidence: Los Angeles
                                                               22                                              permits for oil tool manufacturing plant
                                                                     Regional Water Quality Board Letter,
                                                                                                               on Sorenson Lane); Valenzuela Decl.,
                                                               23    Jan. 4, 2017, Ex. B to the Declaration of
                                                                                                               Exs. 8, at 66_(Environmental Audit,
                                                                     William D. Wick
                                                               24                                              Inc., Supplemental Subsurface
                                                                                                               Investigation, Mar. 3, 1997, at 3), 19, at
                                                               25    AIG Consultants, Inc. Phase I
                                                                                                               190-191 (Letter dated Mar. 19, 1959
                                                                     Environmental Site Assessment, June
                                                               26                                              addressed to Mr. John Bertaina” of
                                                                     30, 1994, pp. 10-11 (PTFS00024775-
                                                                                                               Globe Oil Tool at “11630 Burke, Santa
                                                               27    PTFS00024804); Ex. C to the
                                                                                                               Fe Springs, Calif.”); Mutch Report, Jan.
                                                                     Declaration of William D. Wick
                                                               28                                              14, 2021, at 7-18 & Figs. 7-1, 7-12
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       110
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                 PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                   SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                            (Docket No. 903-210 (1928 map
                                                                4
                                                                     Environmental Audit, Inc. Updated Site indicating Burke Street used to be
                                                                5    Conceptual Model and Request for Low named Sorenson Lane & 1938 aerial
                                                                     Risk Closure, June 17, 2010, p. 1      photograph)).
                                                                6
                                                                     [which corrects a typo in a March 3,
                                                                7    1997 EAI report which stated that
                                                                     operations began in
                                                                8
                                                                     “1958”](PTFS00024509-
                                                                9    PTFS00024643); Ex. D to the
                                                                     Declaration of William D. Wick
                                                               10
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                                     206. Moving Parties’ Response
                                                               12
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                                                               13           Undisputed. The date that Globe began operations is not material.
                                                                     Plaintiffs’ Fifth Amended Complaint alleged that operations began in 1958. The
                                                               14    Regional Board, AIG, and EAI all stated that Globe began operations in 1968.
                                                               15    Only recently did Plaintiffs argue that operations began at least as of 1941.
                                                                     Patsouras Property Defendants have not had an opportunity to assess Plaintiffs’
                                                               16    most recent allegations, but do not dispute that operations could have begun
                                                               17    earlier than 1968.

                                                               18    207. On March 20,1970, the Los           Response: Undisputed.
                                                                     Angeles County Engineer issued a
                                                               19    notice to Globe Oil Tools Company
                                                               20    alleging that “the discharge of liquid
                                                                     waste from your rinse operation to
                                                               21
                                                                     ground” is in violation of Section #6301
                                                               22    of Santa Fe Springs City Ordinance No.
                                                                     79 because the concentration of
                                                               23
                                                                     dissolved solids exceeded the allowable
                                                               24    limitation.
                                                               25
                                                                     Supporting Evidence: PTFS00022295,
                                                               26    PTFS00023219-20; Ex. E to the
                                                                     Declaration of William D. Wick
                                                               27
                                                               28
                                                                                                                       MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                  111
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE

                                                                4    207. Moving Parties’ Response
                                                                5
                                                                              No Response as Paragraph 207 is undisputed.
                                                                6
                                                                     208. The County alleged that a sample Response: Undisputed.
                                                                7    of the liquid waste taken on March 9,
                                                                8    1970 showed “a concentration of
                                                                     dissolved solids that greatly exceeds the
                                                                9    allowable limitation.” The sample form
                                                               10    indicated that “Chromium, hexavalent”
                                                                     was measured at a concentration of 19.5
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    parts per million.
                                                               12
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                            Los Angeles, California 90067




                                                                     Supporting Evidence: PTFS00022295,
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                                                               13    PTFS00023219-20; Ex. E to the
                                                               14    Declaration of William D. Wick
                                                               15
                                                               16    208. Moving Parties’ Response

                                                               17             No Response as Paragraph 208 is undisputed.
                                                               18    209. After receiving a copy of the          Response: Undisputed.
                                                               19    notice, the Globe plant manager “stated
                                                                     that he would have discharge
                                                               20    discontinued at once.”
                                                               21
                                                                     Supporting Evidence: PTFS00022293;
                                                               22    Ex. E to the Declaration of William D.
                                                               23    Wick

                                                               24
                                                                     209. Moving Parties’ Response
                                                               25
                                                               26             No Response as Paragraph 209 is undisputed.
                                                               27    210. On March 24, 1970, Globe               Response: Undisputed.
                                                               28    submitted a formal application to the
                                                                                                                         MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      112
                                                                                                                          STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     County Engineer for approval of an
                                                                4
                                                                     industrial waste disposal system to be
                                                                5    installed on the Property in which liquid
                                                                     waste would flow into the sewer after
                                                                6
                                                                     passing through two interceptors.
                                                                7
                                                                     Supporting Evidence: PTFS00022294;
                                                                8
                                                                     Ex. E to the Declaration of William D.
                                                                9    Wick
                                                               10
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                                                               11    210. Moving Parties’ Response
                                                               12             No Response as Paragraph 210 is undisputed.
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                                                               13    211. The Globe plant manager “stated Response: Undisputed.
                                                               14    that all liquid waste would be collected
                                                                     in impervious containers and not
                                                               15    discharged to ground until sewer system
                                                               16    is completed.”
                                                               17    Supporting Evidence: PTFS00022293;
                                                               18    Ex. E to the Declaration of William D.
                                                                     Wick
                                                               19
                                                               20
                                                                     211. Moving Parties’ Response
                                                               21
                                                                              No Response as Paragraph 211 is undisputed.
                                                               22
                                                               23    212(a). On June 19, 1970, the               Response: Disputed as incomplete.
                                                                     government determined that Globe’s
                                                               24    Industrial waste facilities were            Evidence: The referenced exhibit states
                                                                     “constructed according to cleared           that “the facilities constructed [to
                                                               25
                                                                     plans.”                                     address Globe’s violation of waste
                                                               26                                                water disposal standards] were
                                                                                                                 constructed according to cleared plans.”
                                                               27
                                                                                                                 Wick Decl., Ex. E (Docket No. 902-80,
                                                               28
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     113
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     Supporting Evidence: PTFS00022291;         at #18397) (City of Santa Fe Springs,
                                                                4
                                                                     Ex. E to the Declaration of William D.     Industrial Waste Survey of Globe Oil
                                                                5    Wick                                       Tool Co. (June 19, 1970)). However,
                                                                                                                the referenced plans were only put into
                                                                6
                                                                                                                place after Globe was ordered to “cease
                                                                7                                               and desist” from discharging liquid
                                                                                                                waste to ground that contained
                                                                8
                                                                                                                dissolved solids that “greatly
                                                                9                                               exceed[ed] the allowable limitation.”
                                                                                                                Id. at # 18392 (Cnty. of Los Angeles,
                                                               10
                                                                                                                Dept. of Cnty. Eng’r, Notice of
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                               Violation & Order to Comply to Globe
                                                                                                                Oil Tools Co. (Mar. 20, 1970)).
                                                               12
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
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                                                               13                                               Globe Oil conducted tooling and heat
                                                                                                                treating of oil tools, bits, and device,
                                                               14                                               manufacturing hundreds of devices and
                                                               15                                               pieces of equipment each month. Id. at
                                                                                                                # 18397 (City of Santa Fe Springs,
                                                               16                                               Industrial Waste Survey of Globe Oil
                                                               17                                               Tool Co. (June 19, 1970)). The metal
                                                                                                                heat treating operations generated
                                                               18                                               wastewater heavily contaminated with
                                                               19                                               hexavalent chromium. Id. at #18393
                                                                                                                (Cnty. of Los Angeles, Dept. of Cnty.
                                                               20                                               Eng’r, Industrial Waste Division,
                                                               21                                               Chemical Analysis, Job No. 3240.10
                                                                                                                (Mar. 17, 1970)); see also RFJN, Ex.
                                                               22                                               93 (City of Santa Fe Springs, Industrial
                                                               23                                               Waste Disposal Permit Application
                                                                                                                (May 18, 1970)).
                                                               24
                                                               25                                               Globe Oil used a degreaser and steam
                                                                                                                cleaned newly manufactured parts and
                                                               26                                               equipment, which created waste
                                                               27                                               streams contaminated with hazardous
                                                                                                                substances. Valenzuela Decl., Ex. 8, at
                                                               28
                                                                                                                         MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     114
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                              PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                           66 (Environmental Audit, Inc.,
                                                                4
                                                                                                           Supplemental Subsurface Investigation
                                                                5                                          (Mar. 3, 1997) at 3); Wick Decl., Ex. E
                                                                                                           (Docket No. 902-80, at #18397) (City
                                                                6
                                                                                                           of Santa Fe Springs, Industrial Waste
                                                                7                                          Survey of Globe Oil Tool Co. (June 19,
                                                                                                           1970)). This waste undoubtedly
                                                                8
                                                                                                           included chlorinated solvents, given the
                                                                9                                          common usage of those solvents in the
                                                                                                           metal fabricating industry during the
                                                               10
                                                                                                           pertinent time.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                                                                           After 1970, the waste streams were run
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                           through permeable concrete or brick
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                                                               13                                          subsurface clarifiers, units now known
                                                                                                           to commonly result in subsurface
                                                               14                                          releases, to settle out solids before
                                                               15                                          being discharged to the public sewer
                                                                                                           system. Valenzuela Decl., Exs. 8, at 66
                                                               16                                          (Environmental Audit, Inc.,
                                                               17                                          Supplemental Subsurface Investigation
                                                                                                           (Mar. 3, 1997) at 3), 4, at 28 (AIG
                                                               18                                          Consultants, Inc., Phase 1
                                                               19                                          Environmental Assessment (June. 30,
                                                                                                           1994) at 18). Sewer pipes made of
                                                               20                                          vitrified clay, the common material
                                                               21                                          used during the early and middle part of
                                                                                                           the 20th century, also invariably leak,
                                                               22                                          either through cracks, pipe joints, or
                                                               23                                          simply via exfiltration. See Mutch
                                                                                                           Report, Jan. 14, 2021, at 5-9 to 5-11, 5-
                                                               24                                          30. Given the permeability of these
                                                               25                                          units and infrastructure, contaminated
                                                                                                           waste water carried through those
                                                               26
                                                                                                           systems is virtually certain to reach the
                                                               27                                          environment. Id.
                                                               28
                                                                                                                    MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1               115
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                         PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                           SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                     In March 1970, Globe Oil was issued a
                                                                4
                                                                                                                     Notice of Violation for discharging
                                                                5                                                    industrial waste to the ground. Wick
                                                                                                                     Decl., Ex. E (Docket No. 902-80, at
                                                                6
                                                                                                                     #18392-18393) (Los Angeles Cnty.,
                                                                7                                                    Dept. of Cnty. Eng’r, Notice of
                                                                                                                     Violation & Order to Comply (Mar. 20,
                                                                8
                                                                                                                     1970) & Cnty. of Los Angeles, Dept. of
                                                                9                                                    Cnty. Eng’r, Industrial Waste Division,
                                                                                                                     Chemical Analysis, Job No. 3240.10
                                                               10
                                                                                                                     (Mar. 17, 1970)). The discharge
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                    included rinse water from the heat-
                                                                                                                     treating operations containing
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                     hexavalent chromium at 19.5 parts per
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                                                               13                                                    million, a level 975,000 times higher
                                                               14                                                    than the current level considered
                                                                                                                     protective in groundwater. Id. at
                                                               15                                                    #18393 (Cnty. of Los Angeles, Dept. of
                                                               16                                                    Cnty. Eng’r, Industrial Waste Division,
                                                                                                                     Chemical Analysis, Job No. 3240.10
                                                               17                                                    (Mar. 17, 1970)); Mutch Report, Jan.
                                                               18                                                    14, 2021, at 7-7.

                                                               19
                                                                     212(a).            Moving Parties’ Response
                                                               20
                                                                             Plaintiffs’ response that Paragraph 212 is “incomplete” is without merit.
                                                               21    Moving parties proffered a straightforward piece of evidence which demonstrates
                                                               22    that as of June 19, 1970, the government had deemed Globe’s Industrial waste
                                                                     facilities were “constructed according to cleared plans.” Plaintiffs do not dispute
                                                               23    that fact, but go on to make irrelevant and unsubstantiated statements about other
                                                               24    matters. Plaintiffs’ non-responsive statement should be stricken and disregarded
                                                                     by the Court. The Moving Parties’ evidence remains undisputed and complete.
                                                               25
                                                               26    212(b). On August 23, 1971, the City            Response: Undisputed.
                                                                     of Santa Fe Springs issued Industrial
                                                               27    Waste Disposal Permit No. 4485 to
                                                               28    Globe to discharge into the sewer
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                         PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                           SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     washdown and wastes from
                                                                4
                                                                     manufacturing and processing oil well
                                                                5    drilling tools.
                                                                6
                                                                     Supporting Evidence: PTFS00022288;
                                                                7    Ex. E to the Declaration of William D.
                                                                     Wick
                                                                8
                                                                9
                                                                     212(b).            Moving Parties’ Response
                                                               10
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11             No Response as Paragraph 212(b) is undisputed.

                                                               12    213. In 1972, William D. Palley and
                          2049 Century Park East, Suite 2600




                                                                                                                     Response: Undisputed.
                            Los Angeles, California 90067




                                                                     Defendant William K. Palley acquired
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                                                               13    the Patsouras Property from Rucker. In
                                                               14    1973, Defendant William K. Palley
                                                                     obtained sole ownership of the
                                                               15    property.
                                                               16
                                                                     Supporting Evidence: FAC ¶ 345; Ex.
                                                               17    A to the Declaration of William D.
                                                               18    Wick
                                                               19
                                                               20    213. Moving Parties’ Response

                                                               21             No Response as Paragraph 213 is undisputed.
                                                               22    214. During Palley’s ownership, the             Response: Disputed as incomplete.
                                                               23    Property was occupied by a government
                                                                     surplus order house, by industrial              Evidence: Palley’s use of the Property
                                                               24    auctioneers, by a paper box company,            was not simply as a “government
                                                               25    and by a plastic reprocessing business.         surplus order house.” Instead, this
                                                                                                                     business involved hydraulics and
                                                               26    Supporting Evidence: Los Angeles                hydraulic equipment maintenance,
                                                               27    Regional Water Quality Board Letter,            aircraft, government surplus, and
                                                                                                                     warehousing. Valenzuela Decl., Exs. 9,
                                                               28
                                                                                                                              MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                          117
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                   PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                     SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     Jan. 4, 2017, Ex. B to the Declaration of at 77-78 (Environmental Audit, Inc.,
                                                                4
                                                                     William D. Wick                           Summary of Site Assessments, Mar.
                                                                5                                              2009, at 1-2), 14, at 140-142 (W. Palley
                                                                                                               Dep. Tr. at 20:9 to 21:5; 69:19-23).
                                                                6
                                                                7
                                                                     214. Moving Parties’ Response
                                                                8
                                                                            Plaintiffs’ response that Paragraph 214 is incomplete is without merit.
                                                                9
                                                                     Paragraph 214 does not state that the Property was used during Palley’s
                                                               10    ownership solely as a “government surplus order house” and clearly states that the
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    property was used by a paper box company and by a plastic reprocessing
                                                                     business. Plaintiffs improperly insert additional evidence in response to this fact
                                                               12    which remains undisputed. The Court should disregard Plaintiffs’ assertion that
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
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                                                               13    this fact is disputed.

                                                               14    215. On May 18, 1988, the Santa Fe      Response: Undisputed.
                                                                     Springs Fire Department issued a notice
                                                               15    of violation alleging that “oil from 2
                                                               16    clarifiers spilled out onto Master Box
                                                                     Co. access/loading area.”
                                                               17
                                                               18    Supporting Evidence: EAI00897, Ex. F
                                                                     to the Declaration of William D. Wick
                                                               19
                                                               20
                                                                     215. Moving Parties’ Response
                                                               21
                                                                              No Response as Paragraph 215 is undisputed.
                                                               22
                                                               23    216. On May 19, 1988, the Santa Fe      Response: Undisputed.
                                                                     Springs Fire Department issued a notice
                                                               24    of violation alleging that two
                                                               25    abandoned clarifiers contained
                                                                     “excessive oil and grease.”
                                                               26
                                                               27    Supporting Evidence: EAI00896, Ex. F
                                                                     to the Declaration of William D. Wick
                                                               28
                                                                                                                         MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    118
                                                                                                                          STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE

                                                                4
                                                                5    216. Moving Parties’ Response
                                                                6             No Response as Paragraph 216 is undisputed.
                                                                7    217. Palley disposed of waste from the      Response: Disputed as incomplete.
                                                                8    clarifiers and drums and the clarifiers
                                                                     were subsequently abandoned-in-place    Evidence: The cited authority does not
                                                                9    by filling with cement.                 state that Palley disposed of waste from
                                                               10                                            the clarifiers and drums—unless Palley
                                                                     Supporting Evidence: AIG                is referring to his criminal prosecution
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    Consultants, Inc. Phase I Environmental in July 1988 for illegally transporting
                                                               12    Site Assessment, June 30, 1994, p. 18;  and disposing of hazardous waste.
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                     (PTFS00024775-PTFS00024804); Ex. Valenzuela Decl., Ex. 4, at 29 (AIG
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                                                               13    C to the Declaration of William D.      Consultants, Inc., Phase I
                                                               14    Wick                                    Environmental Site Assessment (June
                                                                                                             30, 1994, at 19). In 1987, the County of
                                                               15                                            Los Angeles Department of Health
                                                               16                                            Services filed a criminal complaint
                                                                                                             against Palley Supply’s owner for
                                                               17                                            maintaining two subsurface structures
                                                               18                                            containing a black oily liquid
                                                                                                             resembling waste oil. Valenzuela Decl.,
                                                               19                                            Ex. 8, at 66 (Environmental Audit, Inc.,
                                                               20                                            Supplemental Subsurface Investigation,
                                                                                                             Mar. 3, 1997, at 3). A year later, on
                                                               21
                                                                                                             May 18, 1988, an inspection report
                                                               22                                            noted that the abandoned clarifiers were
                                                                                                             filled with trash and oil, and that during
                                                               23
                                                                                                             a rainstorm, “industrial waste” was
                                                               24                                            overflowing and discharging to the
                                                                                                             street. Id.; RFJN, Ex. 101 (Inspection
                                                               25
                                                                                                             Record for Talco Plastics, May 18,
                                                               26                                            1988.) Palley received two more
                                                                                                             notices of violation on the same day,
                                                               27
                                                                                                             one for excessive waste in two
                                                               28                                            abandoned clarifiers and another notice
                                                                                                                         MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      119
                                                                                                                          STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                              PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                           of violation for overflow from a sump
                                                                4
                                                                                                           and two abandoned clarifiers, due to a
                                                                5                                          plugged sewer line, that was
                                                                                                           discharging to ground at the property’s
                                                                6
                                                                                                           access and loading area. Opp’n RFJN,
                                                                7                                          Exs. 17, at_141 (Santa Fe Springs Fire
                                                                                                           Dept. (“SFSFD”), Notice of Violation
                                                                8
                                                                                                           No. 74 (May 18, 1988)), 18, at 142
                                                                9                                          (SFSFD, Notice of Violation No. 75
                                                                                                           (May 18, 1988).
                                                               10
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                          Industrial waste from steam cleaning
                                                               12                                          operations by Palley was discharged to
                          2049 Century Park East, Suite 2600




                                                                                                           the sanitary sewer through one or more
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                                                               13                                          clarifiers that had been present on the
                                                               14                                          property since Globe Oil Tools
                                                                                                           operated there. Valenzuela Dec., Ex._9,
                                                               15                                          at 77-78 (Environmental Audit, Inc.,
                                                               16                                          Summary of Site Assessments, Mar.
                                                                                                           2009, at 1-2). Clarifiers leak and are
                                                               17                                          common sources of groundwater
                                                               18                                          contamination. See Mutch Report, Jan.
                                                                                                           14, 2021, at 2-6, 3-5.
                                                               19
                                                               20                                          This statement is further disputed to the
                                                                                                           extent it suggests that Palley properly
                                                               21                                          and fully remediated all sources of
                                                               22                                          contamination from the Property—this
                                                                                                           is not the case. In addition to 2 brick
                                                               23                                          clarifiers which were historically used
                                                               24                                          to store waste oil and solvents at the
                                                                                                           Property, there are also 3 USTs on the
                                                               25                                          Property—one of which is not
                                                               26                                          registered and regulatory agencies were
                                                                                                           not aware of its presence. Valenzuela
                                                               27                                          Decl., Ex. 4, at 27-28 (AIG
                                                               28                                          Consultants, Inc., Phase I
                                                                                                                    MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1               120
                                                                                                                     STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                              PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                           Environmental Site Assessment (June
                                                                4
                                                                                                           30, 1994, at 17-18). There was no
                                                                5                                          documentation of the condition of the
                                                                                                           clarifiers or surrounding soil before
                                                                6
                                                                                                           they were abandoned in place or of the
                                                                7                                          unregistered UST and surrounding soil
                                                                                                           that remains on the Property. Id. at 30
                                                                8
                                                                                                           (AIG Consultants, Inc., Phase I
                                                                9                                          Environmental Site Assessment (June
                                                                                                           30, 1994, at 20).
                                                               10
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                          This statement fails to recognize the
                                                                                                           contamination caused by the 2 clarifiers
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                           before (and after) they were
                            Los Angeles, California 90067
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                                                               13                                          purportedly “abandoned in place.” In
                                                               14                                          an August 18, 1988 letter, the County
                                                                                                           of Los Angeles Department of Health
                                                               15                                          expressed great concern “over potential
                                                               16                                          problems with two existing
                                                                                                           underground storage structures located
                                                               17                                          on the west section of the site. We have
                                                               18                                          observed two brick “clarifiers” built
                                                                                                           prior World War II which possibly
                                                               19                                          contain[] waste oil or a similar material
                                                               20                                          We also feel that these structures have
                                                                                                           long since lost their integrity to
                                                               21                                          withhold any of its contents.” RFJN,
                                                               22                                          Ex. 87 (L.A. County DHS Letter to C.
                                                                                                           Sjoberg (Aug. 18, 1988)). These brick
                                                               23                                          clarifiers pre-dated the connection of
                                                               24                                          the property to the sewer system in
                                                                                                           1970 and discharged to lagoons present
                                                               25                                          on the Property. See Mutch Report, Jan.
                                                               26                                          14, 2021, at 7-27 to 7-28. No
                                                                                                           meaningful investigation of the role the
                                                               27                                          lagoons had upon the nature and extent
                                                               28                                          of the contamination of the Property
                                                                                                                    MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1               121
                                                                                                                     STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                  PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                    SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                               was ever completed. Id. The lagoons
                                                                4
                                                                                                               have been present on the Property from
                                                                5                                              at least 1938 – 1973, but, inexplicably,
                                                                                                               have never been a major focus of
                                                                6
                                                                                                               investigation. Id.
                                                                7
                                                                                                               On November 28, 1995, the Los
                                                                8
                                                                                                               Angeles County Fire Department
                                                                9                                              ordered Kekropia to “determine the
                                                                                                               nature, concentration, and the vertical
                                                               10
                                                                                                               and lateral extent of contamination”
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                              and submit a “site characterization
                                                                                                               plan” by the end of December, noting
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                               that there had been “releases” at the
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                                                               13                                              Property. RFJN, Ex. 84 (T. Klinger,
                                                               14                                              Supervisor, Los Angeles County Fire
                                                                                                               Dept., Health / HazMat Div., Letter to
                                                               15                                              L. Patsouras, Kekropia, Nov. 28, 1995).
                                                               16
                                                                                                               The Los Angeles County Fire
                                                               17                                              Department concluded that the
                                                               18                                              locations of clarifiers and a storage
                                                                                                               shed on the eastern parcel of the
                                                               19                                              Patsouras Property were impacted with
                                                               20                                              volatile organic compounds, such as
                                                                                                               PCE and TCE, and needed to be
                                                               21                                              remediated. See RFJN, Ex. 92 (Los
                                                               22                                              Angeles County Fire Dept.,
                                                                                                               Memorandum, Jan. 9, 1996, at 1-2).
                                                               23
                                                               24
                                                                     217. Moving Parties’ Response
                                                               25
                                                                            Plaintiffs’ response to Paragraph 217 is non-responsive to the simple
                                                               26    factual statement that “Palley disposed of waste from the clarifiers and drums and
                                                               27    the clarifiers were subsequently abandoned-in-place by filling with cement,”
                                                                     which is supported by the proffered evidence. Plaintiffs make a litany of
                                                               28
                                                                                                                        MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                   122
                                                                                                                         STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     irrelevant and unsubstantiated statements that do not controvert this fact or
                                                                4
                                                                     demonstrate any evidence that contaminants in the soil migrated to the
                                                                5    groundwater. Palley Supply Company received notices of violation but they were
                                                                     “paper violations” - - that is, Palley was cited for not having applied for the
                                                                6
                                                                     applicable waste discharge permits. Plaintiffs list a litany of facts to confuse the
                                                                7    Court as to the simple fact that the clarifiers were abandoned in place. Critically,
                                                                     none of the statements listed by Plaintiffs support any fact regarding contribution
                                                                8
                                                                     to groundwater contamination by Palley’s operations. The Court should disregard
                                                                9    Plaintiffs’ assertion that this fact is disputed.
                                                               10    218. In 1994, AIG Environmental              Response: Disputed as incomplete
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    Consultants performed a Phase I
                                                                     Environmental Site Assessment of the    Evidence: The statement is necessarily
                                                               12
                          2049 Century Park East, Suite 2600




                                                                     Property. AIG concluded that “the       qualified by the failure of AIG to
                            Los Angeles, California 90067
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                                                               13    greatest potential risk to the subject  investigate other sources of potential
                                                                     property” was the total of 37 sites lesscontamination. The AIG assessment
                                                               14    than ¼ mile away whose potential off-   specifically identified numerous other
                                                               15    site contamination may have impacted    potential sources of contamination
                                                                     the Property, and AIG also              (including the unregistered UST,
                                                               16    recommended additional investigation    potentially hazardous materials in
                                                               17    of the Property itself.                 storage containers and 55-gallon drums
                                                                                                             located at the Property, and dark-
                                                               18    Supporting Evidence: AIG                stained soil in the area of “Bay Traps”),
                                                               19    Consultants, Inc. Phase I Environmental stated that AIG did not investigate
                                                                     Site Assessment, June 30, 1994, p. 3;   these other sources, and recommended
                                                               20    (PTFS00024782); Ex. C to the            that these other potential sources be
                                                               21    Declaration of William D. Wick          investigated and evaluated to determine
                                                                                                             their potential impact to the soil and
                                                               22                                            groundwater. Mutch Rebuttal Report,
                                                               23                                            Mar. 4, 2021, at § 3. AIG states that,
                                                                                                             based on the results of its inspection of
                                                               24
                                                                                                             the Property and its historical records
                                                               25                                            of land use and regulatory inquiries,
                                                                                                             “there is evidence of past activity at the
                                                               26
                                                                                                             Site which may represent
                                                               27                                            environmental risks and/or liabilities.
                                                                                                             The extent of these environmental risks
                                                               28
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       123
                                                                                                                           STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                   PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                     SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                               could possibly be determined with
                                                                4
                                                                                                               further investigation. Therefore, AIG
                                                                5                                              recommends that additional
                                                                                                               investigation be performed to further
                                                                6
                                                                                                               evaluate the potential for impact to the
                                                                7                                              soil, air, and/or ground water at the
                                                                                                               Site.” Id. at 3.
                                                                8
                                                                9
                                                                     218. Moving Parties’ Response
                                                               10
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11          Plaintiffs’ response is not responsive to the evidence provided in Paragraph
                                                                     218. Plaintiffs’ averment that Paragraph 218 is incomplete is without merit.
                                                               12
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                            There can be no dispute that AIG concluded that “the greatest potential risk
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                                                               13    to the subject property” was the total of 37 sites less than ¼ mile away whose
                                                               14    potential off-site contamination may have impacted the Property, and AIG also
                                                                     recommended additional investigation of the Property itself.
                                                               15
                                                               16           Plaintiffs cannot dispute this evidence and instead discuss what
                                                                     investigation was or was not done on the Patsouras Property, which is not relevant
                                                               17    to the statement in Paragraph 218. Further, Moving Parties included the
                                                               18    statement by AIG recommending additional investigation on the Property,
                                                                     therefore Plaintiffs’ response is wholly without merit. The Court should disregard
                                                               19    Plaintiffs’ assertion that this fact is disputed.
                                                               20    219. In 1995, Kekropia, Inc. acquired  Response: Undisputed.
                                                               21    the Patsouras Property from William K.
                                                                     Palley. In 1997, El Greco Wholesale
                                                               22
                                                                     Grocers, Inc. and its owner Larry
                                                               23    Patsouras began operating on the
                                                                     Property as a wholesale grocery
                                                               24
                                                                     warehouse.
                                                               25
                                                                     Supporting Evidence: FAC ¶ ¶ 347,
                                                               26
                                                                     350; Ex. A to the Declaration of
                                                               27    William D. Wick
                                                               28
                                                                                                                         MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    124
                                                                                                                          STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE

                                                                4    219. Moving Parties’ Response
                                                                5
                                                                              No Response as Paragraph 219 is undisputed.
                                                                6
                                                                     220. Kekropia continues to own the            Response: Undisputed.
                                                                7    Property today, which is still used for a
                                                                8    wholesale grocery warehouse and a
                                                                     tattoo artist supply business.
                                                                9
                                                               10    Supporting Evidence: Los Angeles
                                                                     Regional Water Quality Board Letter,
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    Jan. 4, 2017, Ex. B to the Declaration of
                                                               12    William D. Wick
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13
                                                               14    220. Moving Parties’ Response

                                                               15             No Response as Paragraph 220 is undisputed.
                                                               16    221. Kekropia retained Environmental
                                                                     Audit, Inc. (EAI) to perform an               Response: Partially disputed.
                                                               17
                                                                     environmental investigation of the
                                                               18                                                  Evidence: Plaintiffs do not dispute that
                                                                     Property. EAI’s investigation indicated
                                                                                                                   Kekropia retained EAI to perform an
                                                               19    that “the majority of the soil
                                                                                                                   investigation of the Patsouras Property.
                                                                     contamination is heavy end petroleum
                                                               20                                                  Wick Decl., Ex. H, Docket No. 902-83
                                                                     product.” EAI considered a variety of
                                                                                                                   at #18469 (Envtl. Audit, Inc., Remedial
                                                               21    in-situ technologies for remediation of
                                                                                                                   Action Plan (June 16, 1997) at 3
                                                                     the heavy end petroleum hydrocarbons
                                                               22                                                  (PTFS0002242)). Plaintiffs do not
                                                                     in the soil, but determined that they
                                                                                                                   dispute that EAI purported to
                                                               23    were impracticable “for the relatively
                                                                                                                   investigate the Patsouras Property,
                                                                     small volume of contaminated soil at
                                                               24                                                  however, the remedial action chosen at
                                                                     the Site, and therefore recommended
                                                                                                                   the property was excavation of a
                                                               25    excavation and off-site disposal of the
                                                                                                                   significant amount of contaminated
                                                                     impacted soil.
                                                               26                                                  soil. Valenzuela Decl., Ex. 16, at 175
                                                                                                                   (Los Angeles Regional Water Quality
                                                               27    Supporting Evidence: Environmental
                                                                                                                   Board Letter, Jan. 4, 2017, at 2) (noting
                                                                     Audit, Inc., “Remedial Action Plan,
                                                               28                                                  soil removal actions in 1998, 2006,
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                        125
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     11630-11700 Burke Street,” June 16,         2010 and 2014). In addition, the
                                                                4
                                                                     1997, at PTSF00022451, 22453; Ex. H         selected remedial action did not test for
                                                                5    to the Declaration of William D. Wick       hexavalent chromium. Mutch Report,
                                                                                                                 Jan. 14, 2021, at 7-11 to 7-13.
                                                                6
                                                                7                                                Plaintiffs do not dispute the report
                                                                                                                 discusses considering in-situ
                                                                8                                                technologies, but Plaintiffs dispute
                                                                9                                                there was a relatively small volume of
                                                                                                                 contaminated soil in light of the fact
                                                               10                                                that a significant amount of soil was
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                excavated. Wick Decl., Ex. H, Docket
                                                                                                                 No. 902-83 at #18478 (Envtl. Audit,
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                 Inc., Remedial Action Plan (June 16,
                            Los Angeles, California 90067
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                                                               13                                                1997) at 10 (PTFS00022451));
                                                                                                                 Valenzuela Decl., Ex. 16, at 175 (Los
                                                               14                                                Angeles Regional Water Quality Board
                                                               15                                                Letter, Jan. 4, 2017, at 2) (noting soil
                                                                                                                 removal actions in 1998, 2006, 2010
                                                               16                                                and 2014).
                                                               17
                                                               18    221. Moving Parties’ Response
                                                               19           Plaintiffs mischaracterize the statements made in the January 4, 2017 Los
                                                               20    Angeles Regional Water Quality Control Board Letter (Valenzeula Decl., Ex. 16
                                                                     at 175). While the letter does refer to soil removal during the years 1998, 2006,
                                                               21    2010 and 2014, it does not provide, anywhere in the letter, the volume of soil
                                                               22    removed. It simply states that these removal actions “removed the majority of
                                                                     Wastes at the Site.” Plaintiffs’ conflation of the number of times an unknown
                                                               23    quantity of soil was excavated with the actual volume of soil excavated is
                                                               24    misleading and incorrect. Rather, the evidence in the EAI RAP that a “relatively
                                                                     small volume of soil” at the Patsouras Property was contaminated is the only valid
                                                               25    evidence regarding the volume of contaminated soil at the Patsouras Property.
                                                               26    Plaintiffs’ partial dispute is without merit and should be disregarded by the Court.
                                                                     The Court should disregard Plaintiffs’ assertion that this fact is partially disputed.
                                                               27
                                                               28
                                                                                                                           MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     126
                                                                                                                            STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     222. In 2006, Biophysics                      Response: Undisputed.
                                                                4
                                                                     Environmental Assessments, Inc.
                                                                5    (“BEA”) performed confirmation
                                                                     testing and removal of environmentally
                                                                6
                                                                     impacted soil identified in previous site
                                                                7    testing.
                                                                8
                                                                     Supporting Evidence: Biophysics
                                                                9    Environmental Assessments, Inc., Soil
                                                                     Remediation Report of Findings for El
                                                               10
                                                                     Greco, Inc., Sept. 14, 2006;
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    (PTFS00023600-PTFS00023663); Ex.
                                                                     G to the Declaration of William D.
                                                               12
                          2049 Century Park East, Suite 2600




                                                                     Wick
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13
                                                               14    222. Moving Parties’ Response
                                                               15
                                                                              No Response as Paragraph 222 is undisputed.
                                                               16
                                                                     223. BEA concluded that the sampling          Response: Disputed.
                                                               17    results “showed no threat to
                                                               18    groundwater since boring B-7                  Evidence: Testing performed at the B-
                                                                     demonstrated vertical attenuation of          7 boring was incomplete and failed to
                                                               19    both PCE and TCE to non-detect at             take into account the soil composition
                                                               20    termination depth of 35’ below grade          and the water table at the location. The
                                                                     surface (bgs).”                               data from samples taken from 15, 20,
                                                               21                                                  25, and 35 feet bgs “can by no means
                                                               22    Supporting Evidence: Id. at                   be taken to indicate that the maximum
                                                                     PTFS00023604                                  depth of PCE penetration was limited
                                                               23                                                  to 25 feet at B-7” because:
                                                               24
                                                                                                                   1. No sample was taken at 30 feet, and
                                                               25                                                  it may have contained PCE. Mutch
                                                               26                                                  Report, Jan. 14, 2021, at 7-11.
                                                               27                                                  2. The testing done by BEA, EAI and
                                                               28                                                  any others of this area only tested for
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                        127
                                                                                                                             STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                              PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                           “vertical” migration when “[i]t is well-
                                                                4
                                                                                                           recognized that infiltrating moisture in
                                                                5                                          the vadose zone can follow complex
                                                                                                           pathways because of capillary action
                                                                6
                                                                                                           and complex lithologies.” Id.
                                                                7                                          “Assuming purely vertically-downward
                                                                                                           migration in the vadose zone is a
                                                                8
                                                                                                           perilous and often incorrect
                                                                9                                          assumption.” Id. “[O]ne cannot reliably
                                                                                                           define the vertical extent of
                                                               10
                                                                                                           contamination in the vadose zone with
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                          a single boring. What may appear in a
                                                                                                           single borehole to be the base of the
                                                               12
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                                                                                                           contamination may simply indicate that
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                                                               13                                          the plume has been diverted laterally
                                                               14                                          due to lithologic variability and is now
                                                                                                           outside the vertical trajectory of the
                                                               15                                          boring.” Id.
                                                               16
                                                                                                           3. The 35-foot sample was taken from a
                                                               17                                          clay stratum. Id. at 7-11. It is probable
                                                               18                                          that the PCE plume migrating
                                                                                                           downward through the vadose zone
                                                               19                                          diverted around this low permeability
                                                               20                                          stratum. Id.

                                                               21                                          4. In the late 1990s, the groundwater
                                                               22                                          table was approximately 32 to 36 feet
                                                                                                           bgs. Id. Thus, the water table was
                                                               23                                          above the 35-foot sample location. Id.
                                                               24                                          Thus, the PCE plume migrating
                                                                                                           vertically-downward through the
                                                               25                                          vadose zone was intercepted by
                                                               26                                          laterally flowing groundwater in the
                                                                                                           upper part of the saturated zone and not
                                                               27                                          carried further downward to the 35-foot
                                                               28                                          depth. Id. Groundwater would have
                                                                                                                    MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1               128
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                                                                        MOVING DEFENDANTS’
                                                                                                              PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                           been contaminated in this location by
                                                                4
                                                                                                           PCE migrating downward through the
                                                                5                                          vadose zone. Id. The Los Angeles
                                                                                                           County Fire Department found that soil
                                                                6
                                                                                                           and groundwater contaminated with
                                                                7                                          VOCs at the Property and indicated that
                                                                                                           VOCs in the eastern portion of the
                                                                8
                                                                                                           Property “have been found to extend to
                                                                9                                          GW [i.e., groundwater].” RFJN, Ex. 92
                                                                                                           (Los Angeles County Fire Department
                                                               10
                                                                                                           Memorandum re Palley Property, Jan.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                          1996). They further observed that the
                                                                                                           “clarifier area” at the Property is
                                                               12
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                                                                                                           “contaminated to GW with VOCs.” Id.
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                                                               13
                                                               14                                          PCE was also continuously detected in
                                                                                                           boring E-9, near a storage shed, at
                                                               15                                          depths of 10, 15, 20, 24, and 30 feet at
                                                               16                                          concentrations between 23 and 104
                                                                                                           ug/kg. Mutch Report, Jan. 14, 2021, at
                                                               17                                          7-11. This data indicates that PCE was
                                                               18                                          transported through the vadose zone to
                                                                                                           the historic elevation of the
                                                               19                                          groundwater table and impacted the
                                                               20                                          groundwater with PCE. Id.

                                                               21                                          This statement is also disputed because
                                                               22                                          it rests on the faulty premise that testing
                                                                                                           showed there was no PCE
                                                               23                                          contamination. On the contrary, tests do
                                                               24                                          not show the presence of PCE, TCE,
                                                                                                           hexavalent chromium or other VOCs
                                                               25                                          because they were not tested for these
                                                               26                                          substances. In the report cited as
                                                                                                           support for this statement, BEA clearly
                                                               27                                          states that it was hired solely to remove
                                                               28                                          soil from 2 areas identified by other
                                                                                                                     MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1               129
                                                                                                                      STATEMENT OF GENUINE DISPUTES
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                                                                        MOVING DEFENDANTS’
                                                                                                              PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                           investigations in 1994 and 1997.
                                                                4
                                                                                                           Valenzuela Decl., Exs. 17, at 180
                                                                5                                          (Biophysics Environmental
                                                                                                           Assessments, Inc., Soil Remediation
                                                                6
                                                                                                           Report, Sept. 14, 2006, at 1). BEA did
                                                                7                                          not test any other areas of the Property
                                                                                                           to determine whether they were
                                                                8
                                                                                                           contaminated by PCE, TCE, hexavalent
                                                                9                                          chromium or other VOCs. Id. Despite
                                                                                                           evidence of discharge of waste
                                                               10
                                                                                                           containing 975,000 times more than the
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                          health-protective level amounts of
                                                                                                           hexavalent chromium (19.5 ppm), no
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                           follow up testing was ever done. Mutch
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       & MACHTINGER LLP




                                                               13                                          Report, Jan. 14, 2021, at 7-7. No testing
                                                               14                                          of the soil or groundwater was ever
                                                                                                           completed beneath the storm drain or
                                                               15                                          the flood control channel where
                                                               16                                          Globe—for decades—disposed of
                                                                                                           industrial waste before sewers were
                                                               17                                          installed at the Property. Id. In 1988,
                                                               18                                          the clarifiers were filled with trash and
                                                                                                           oil and waste was discharging to the
                                                               19                                          street; however, no testing was done in
                                                               20                                          these areas for TCE, PCE, or other
                                                                                                           VOCs. Mutch Report, Jan. 14, 2021, at
                                                               21                                          7-8. RFJN, Ex. 101 (Inspection Record
                                                               22                                          for Talco Plastics, May 18, 1988).
                                                                                                           Stained ground surface was noted in the
                                                               23                                          southwest corner of the Property in the
                                                               24                                          area of four partially-filled 55-gallon
                                                                                                           drums; but, still, no testing for TCE,
                                                               25                                          PCE, or other VOCs was completed.
                                                               26                                          Valenzuela Decl., Ex. 4, at 31 (AIG
                                                                                                           Consultants, Phase I Environmental
                                                               27                                          Site Assessment, June 30, 1994, at 21).
                                                               28                                          No meaningful investigation of the role
                                                                                                                    MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1               130
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                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                 the lagoons had upon the nature and
                                                                4
                                                                                                                 extent of the contamination of the
                                                                5                                                Property has ever been completed. See
                                                                                                                 Mutch Report, Jan. 14, 2021, at 7-27 59
                                                                6
                                                                                                                 7-28. The lagoons have been present on
                                                                7                                                the Property from at least 1938 – 1973,
                                                                                                                 but, inexplicably, have never been a
                                                                8
                                                                                                                 major focus of investigation. Id.
                                                                9
                                                               10    223. Moving Parties’ Response
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                                           This a simply a statement of BEA’s conclusion. The BEA document says
                                                               12    what it says, and Plaintiffs do not dispute that it says what it says. Instead, they
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                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13    re-argue their Opposition. The fact that BEA’s report says what it says is
                                                                     undisputed. The Court should disregard Plaintiffs’ assertion that this fact is
                                                               14    disputed and their response should be stricken.
                                                               15    224. BEA concluded that “no threat          Response: Disputed.
                                                               16    exists to groundwater from metals,
                                                                     solvents, and total petroleum               Evidence: Because minimal testing
                                                               17    hydrocarbons, based upon the low level      was done for TCE, PCE, hexavalent
                                                               18    and isolated low volume of all              chromium or other VOCs, it is
                                                                     potentially hazardous materials             impossible to say that there is “no
                                                               19    identified in initial testing by EAI in     threat” from such substances. Mutch
                                                               20    1994.”                                      Report, Jan. 14, 2021, at 7-11. Total
                                                                                                                 chromium measured in Phase II
                                                               21
                                                                     Supporting Evidence: Id. at                 samples ranged from below detection
                                                               22    PTFS00023607                                limits (200 ug/kg) to 71,100 ug/kg,
                                                                                                                 with the highest levels at B-8 which lies
                                                               23
                                                                                                                 in a stained soil area identified in
                                                               24                                                historical photos on the eastern parcel.
                                                                                                                 Id. Hexavalent chromium was not
                                                               25
                                                                                                                 tested for on these samples. Id.
                                                               26                                                Supplemental assessments in1994,
                                                                                                                 1996, and 1999 tested samples from 31
                                                               27
                                                                                                                 locations across the Property. Of these
                                                               28                                                31 locations, only 1 was tested for total
                                                                                                                           MOVING DEFENDANTS’ RESPONSE TO
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                                                                        MOVING DEFENDANTS’
                                                                                                              PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                           chromium. Id. at 7-12. None were
                                                                4
                                                                                                           tested for hexavalent chromium. Id.
                                                                5                                          The samples taken by BEA in its 2006
                                                                                                           assessment were not tested for
                                                                6
                                                                                                           hexavalent chromium though total
                                                                7                                          chromium ranged between 18 and 62
                                                                                                           mg/kg. Id.
                                                                8
                                                                9                                          EAI closed 5 subsurface units in 2009,
                                                                                                           but did not collect samples for 2 of the
                                                               10
                                                                                                           units. Id. Samples from the other 3
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                          units were tested for total chromium,
                                                                                                           but were not tested for hexavalent
                                                               12
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                                                                                                           chromium. Id. The “stockpile” of soil
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                                                               13                                          removed from these 3 units was tested
                                                               14                                          for total chromium only, and was found
                                                                                                           to have the second highest
                                                               15                                          concentration on the entire Property
                                                               16                                          (224 mg/kg)—but, this soil was not
                                                                                                           tested for hexavalent chromium. Id.
                                                               17
                                                               18                                          The failure to test for hexavalent
                                                                                                           chromium is inexplicable—particularly
                                                               19                                          when there are at least 2 documented
                                                               20                                          discharges of hexavalent chromium to
                                                                                                           the soil and/or groundwater of the
                                                               21                                          Property. Mutch Report, Jan. 14, 2021,
                                                               22                                          at 7-13 (citing 1970 discharge of waste
                                                                                                           containing 975,000 times more than the
                                                               23                                          health-protective level amounts of
                                                               24                                          hexavalent chromium and 1988
                                                                                                           discharge from clarifiers to the street).
                                                               25                                          Contaminated waste water from the
                                                               26                                          clarifiers and other sources were
                                                                                                           disposed of—for decades—to a storm
                                                               27                                          drain/flood control channel before the
                                                               28                                          Property was connected to sewers.
                                                                                                                    MOVING DEFENDANTS’ RESPONSE TO
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                                                                        MOVING DEFENDANTS’
                                                                                                              PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                           Mutch Report, Jan. 14, 2021, at 7-7.
                                                                4
                                                                5                                          The ESL for arsenic in soil was
                                                                                                           exceeded at several locations at the
                                                                6
                                                                                                           Property from 2 feet to 35 feet bgs,
                                                                7                                          which is indicative of release of arsenic
                                                                                                           from operations on the Property to the
                                                                8
                                                                                                           subsurface. Id. at 7-13. Because of the
                                                                9                                          inadequacy and sparseness of the
                                                                                                           monitoring well network at the
                                                               10
                                                                                                           Property, arsenic impacts to
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                          groundwater may not be identifiable.
                                                                                                           Id. at 7-14.
                                                               12
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                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13                                          Despite minimal investigations on the
                                                               14                                          Property, the data that was obtained
                                                                                                           reveals the extent of groundwater
                                                               15                                          contamination. Id. at 7-14. PCE was
                                                               16                                          found in monitoring wells in the
                                                                                                           vicinity of the clarifiers, where vadose
                                                               17                                          zone soil samples showed penetration
                                                               18                                          of PCE to the depth of the groundwater
                                                                                                           table. Id. This indicates a contribution
                                                               19                                          of PCE to groundwater from the
                                                               20                                          Property. Id. Additionally, some higher
                                                                                                           levels of hexavalent chromium were
                                                               21                                          found in MW-1, MW-1D, and MW-3
                                                               22                                          in the middle of the Property near the
                                                                                                           clarifiers than in MW-2, establishing
                                                               23                                          releases of hexavalent chromium from
                                                               24                                          the clarifiers, resulting in groundwater
                                                                                                           contamination. Id. at 7-14 and 7-17.
                                                               25                                          TCE, a “daughter” product of PCE, is
                                                               26                                          found in concentrations higher in MW-
                                                                                                           1D, MW-3, and MW-4 than in MW-2.
                                                               27                                          Id. at 7-17. Concentrations exceeding
                                                               28                                          groundwater ESLs were measured for
                                                                                                                    MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1               133
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                                                                        MOVING DEFENDANTS’
                                                                                                              PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                           1,1-dichloroethene, carbon
                                                                4
                                                                                                           tetrachloride, chloroform,
                                                                5                                          tetrachloroethene (PCE), trans-1,2-
                                                                                                           dichloroethene, trichloroethene (TCE),
                                                                6
                                                                                                           chromium (total), chromium VI, nickel,
                                                                7                                          and vanadium. Id.
                                                                8
                                                                                                           Soil gas concentrations in excess of soil
                                                                9                                          gas ESL values were noted for benzene,
                                                                                                           carbon tetrachloride, chloroform, PCE
                                                               10
                                                                                                           and TCE. Id. The spatial distribution of
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                          the PCE and TCE soil gas
                                                                                                           contamination, along with the shallow
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                           soil contamination, indicates that the
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                                                               13                                          PCE and TCE came from releases on
                                                               14                                          the Property and not from off-gassing
                                                                                                           from the underlying groundwater. Id.
                                                               15                                          Thus, the contaminated soil gas would
                                                               16                                          serve as a source of OU2 groundwater
                                                                                                           contamination as it partitioned from the
                                                               17                                          soil gas to recharging groundwater. Id.
                                                               18
                                                                                                           PCE, TCE, and chromium, as well as
                                                               19                                          other hazardous substances, have all
                                                               20                                          been identified as present in the
                                                                                                           subsurface at levels about soil
                                                               21                                          screening levels, meaning that these
                                                               22                                          substances are present in soils at the
                                                                                                           Patsouras Property at levels that exceed
                                                               23                                          those considered protective of
                                                               24                                          groundwater. See Valenzuela Decl.,
                                                                                                           Exs. 5, at 43-45 (Professional Service
                                                               25                                          Industries, Phase II Preliminary
                                                               26                                          Contamination Assessment, Aug. 18,
                                                                                                           1994, at 13 & Table 3); 9, at 85-88
                                                               27                                          (Environmental Audit, Inc., Summary
                                                               28                                          of Site Assessments, Mar. 2009, Table
                                                                                                                    MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1               134
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                                                                        MOVING DEFENDANTS’
                                                                                                              PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                           1); 10, at 98-103 (Environmental Audit,
                                                                4
                                                                                                           Inc., Ground Water Samples,
                                                                5                                          Confirmation Soil Samples, Aug. 6,
                                                                                                           2013, Table 1); Mutch Report, Jan. 14,
                                                                6
                                                                                                           2021, Tables 3-1, 7-4.
                                                                7
                                                                                                           The Santa Fe Springs Fire Department,
                                                                8
                                                                                                           Environmental Services Division,
                                                                9                                          found that “historic Palley site
                                                                                                           operations contamination probably
                                                               10
                                                                                                           contributed to the VOC portion “ of
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                          groundwater contamination at the
                                                                                                           property. See Opp’n RFJN, Ex. 21, at
                                                               12
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                                                                                                           146-147 (Steve Chase, Santa Fe
                            Los Angeles, California 90067
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                                                               13                                          Springs Fire Department,
                                                               14                                          Environmental Services Division,
                                                                                                           Memorandum to Dave Klunk, Director,
                                                               15                                          Environmental Services Division, Santa
                                                               16                                          Fe Springs Fire Department, Sept. 29,
                                                                                                           1997). Mr. Chase further advised that
                                                               17                                          groundwater at the property was first
                                                               18                                          encountered at 35 feet bgs, and “PCE
                                                                                                           was found in a [soil] column” from 10
                                                               19                                          feet bgs to 35 feet bgs. Id.
                                                               20
                                                                                                           Even Defendants’ expert admits that
                                                               21                                          contamination to groundwater from
                                                               22                                          1970 hexavalent chromium discharge
                                                                                                           to ground may have moved off property
                                                               23                                          by now). See Valenzuela Decl., Ex. 15,
                                                               24                                          at 172 (J. Kulla Dep. Tr. at 119: 5-21).

                                                               25                                          Chromium, PCE, and TCE have been
                                                               26                                          detected in the subsurface soils at the
                                                                                                           Property, and these same substances are
                                                               27                                          in OU-2 Groundwater below and
                                                               28                                          downgradient of the Property. See
                                                                                                                    MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1               135
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                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                   Valenzuela Decl., Exs. 5, at 43-45 __
                                                                4
                                                                                                                   (Professional Service Industries, Phase
                                                                5                                                  II Preliminary Contamination
                                                                                                                   Assessment, Aug. 18, 1994, at 13 &
                                                                6
                                                                                                                   Table 3); 9, at 85-88 (Environmental
                                                                7                                                  Audit, Inc., Summary of Site
                                                                                                                   Assessments, Mar. 2009, Table 1); 10,
                                                                8
                                                                                                                   at 98-103 (Environmental Audit, Inc.,
                                                                9                                                  Ground Water Samples, Confirmation
                                                                                                                   Soil Samples, Aug. 6, 2013, Table 1);
                                                               10
                                                                                                                   11, at 109-114 (Environmental Audit,
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                  Inc., Third Quarter 2013 Ground Water
                                                                                                                   Monitoring Report, Oct. 23, 2013,
                                                               12
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                                                                                                                   Tables 2, 3); Mutch Report, Jan. 14,
                            Los Angeles, California 90067
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                                                               13                                                  2021, Tables 3-1, 7-4 and 7-5.
                                                               14
                                                                                                                   The entire OU-2 Groundwater area lies
                                                               15                                                  in a recharge area defined as an area
                                                               16                                                  where water from precipitation and
                                                                                                                   other shallow water sources, such as
                                                               17                                                  leaking sewers and clarifiers, reaches
                                                               18                                                  the underlying groundwater from
                                                                                                                   surface infiltration. See Mutch Report,
                                                               19                                                  Jan. 14, 2021, 2-4 to 2-8.
                                                               20
                                                               21    224. Moving Parties’ Response
                                                               22          This a simply a statement of BEA’s conclusion. The BEA document says
                                                               23    what it says, and Plaintiffs do not dispute that it says what it says. Instead, they
                                                                     re-argue their Opposition. The fact that BEA’s report says what it says is
                                                               24    undisputed. The Court should disregard Plaintiffs’ assertion that this fact is
                                                               25    disputed and their response should be stricken.

                                                               26    225. BEA concluded that the                   Response: Disputed.
                                                                     concentrations of petroleum and
                                                               27
                                                                     solvents identified in 1994 “had              Evidence: As discussed in response to
                                                               28    insufficient mass for vertical migration,     #223, “[i]t is well-recognized that
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                        136
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                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     with sorption and desorption, in excess     infiltrating moisture in the vadose zone
                                                                4
                                                                     of a few feet.”                             can follow complex pathways because
                                                                5                                                of capillary action and complex
                                                                     Supporting Evidence: Id.                    lithologies.” Mutch Report, Jan. 14,
                                                                6
                                                                                                                 2021, at 7-11. “Assuming purely
                                                                7                                                vertically-downward migration in the
                                                                                                                 vadose zone is a perilous and often
                                                                8
                                                                                                                 incorrect assumption.” Id. “[O]ne
                                                                9                                                cannot reliably define the vertical
                                                                                                                 extent of contamination in the vadose
                                                               10
                                                                                                                 zone with a single boring. What may
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                appear in a single borehole to be the
                                                                                                                 base of the contamination may simply
                                                               12
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                                                                                                                 indicate that the plume has been
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                                                               13                                                diverted laterally due to lithologic
                                                               14                                                variability and is now outside the
                                                                                                                 vertical trajectory of the boring.” Id.
                                                               15
                                                               16                                                Additionally, such a determination is
                                                                                                                 impossible to make due to the
                                                               17                                                inadequate testing and investigation of
                                                               18                                                hazardous substances in the soil, as set
                                                                                                                 out in Plaintiffs’ responses to
                                                               19                                                Defendant’s statements ## 223-224
                                                               20                                                which are incorporated herein by
                                                                                                                 reference.
                                                               21
                                                               22
                                                               23    225. Moving Parties’ Response
                                                               24
                                                                           This a simply a statement of BEA’s conclusion. The BEA document says
                                                               25    what it says, and Plaintiffs do not dispute that it says what it says. Instead, they
                                                               26    re-argue their Opposition. The fact that BEA’s report says what it says is
                                                                     undisputed. The Court should disregard Plaintiffs’ assertion that this fact is
                                                               27    disputed and their response should be stricken.
                                                               28
                                                                                                                           MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      137
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     226. BEA concluded that “intrinsic          Response: Disputed.
                                                                4
                                                                     biodegradation and weathering has
                                                                5    removed all measurable solvents and         Evidence: The entire OU-2
                                                                     continues to remove the petroleum           Groundwater area lies in a recharge
                                                                6                                                area defined as an area where water
                                                                     hydrocarbons.”
                                                                7                                                from precipitation and other shallow
                                                                     Supporting Evidence: Id.                    water sources, such as leaking sewers
                                                                8                                                and clarifiers, reaches the underlying
                                                                9                                                groundwater from surface infiltration.
                                                                                                                 See Mutch Report, Jan. 14, 2021, 2-4 to
                                                               10                                                2-8.
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                                                               11
                                                                                                                 Defendants’ expert admits that
                                                               12
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                                                                                                                 contamination to groundwater from
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                                                               13                                                1970 hexavalent chromium discharge
                                                                                                                 to ground may have moved off property
                                                               14                                                by now. See Valenzuela Decl., Ex. 15,
                                                               15                                                at 172 (J. Kulla Dep. Tr. at 119: 5-21).
                                                               16
                                                               17    226. Moving Parties’ Response

                                                               18          This a simply a statement of BEA’s conclusion. The BEA document says
                                                                     what it says, and Plaintiffs do not dispute that it says what it says. Instead, they
                                                               19    re-argue their Opposition. The fact that BEA’s report says what it says is
                                                               20    undisputed. The Court should disregard Plaintiffs’ assertion that this fact is
                                                                     disputed and their response should be stricken.
                                                               21
                                                               22    227. BEA concluded that “no mass of         Response: Disputed.
                                                                     petroleum hydrocarbons and no
                                                               23    measurable mass of chlorinated              Evidence: Such a determination is
                                                               24    solvents are present in the soil column     impossible to make due to the
                                                                     with capability for migration to the        inadequate testing and investigation of
                                                               25    groundwater by moisture migration           hazardous substances in the soil, as set
                                                               26    through adsorption and partitioning.”       out in Plaintiffs’ responses to
                                                                                                                 Defendant’s statements ## 223-224
                                                               27    Supporting Evidence: Id.                    which are incorporated herein by
                                                               28                                                reference.
                                                                                                                           MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      138
                                                                                                                            STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE

                                                                4    227. Moving Parties’ Response
                                                                5
                                                                           This a simply a statement of BEA’s conclusion. The BEA document says
                                                                6    what it says, and Plaintiffs do not dispute that it says what it says. Instead, they
                                                                     re-argue their Opposition. The fact that BEA’s report says what it says is
                                                                7
                                                                     undisputed. The Court should disregard Plaintiffs’ assertion that this fact is
                                                                8    disputed and their response should be stricken.
                                                                9    228. BEA concluded that “[N]o further       Response: Disputed.
                                                               10    action is recommended based upon the
                                                                     very low levels of hazardous materials      Evidence: Such a determination is
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                                                               11    identified in site testing in 1994 and      impossible to make due to the
                                                               12    confirmed in 2006.”                         inadequate testing and investigation of
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                            Los Angeles, California 90067




                                                                                                                 hazardous substances in the soil, as set
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                                                               13    Supporting Evidence: Id.                    out in Plaintiffs’ responses to
                                                               14                                                Defendant’s statements ## 223-224
                                                                                                                 which are incorporated herein by
                                                               15                                                reference.
                                                               16
                                                               17    228. Moving Parties’ Response
                                                               18          This a simply a statement of BEA’s conclusion. The BEA document says
                                                               19    what it says, and Plaintiffs do not dispute that it says what it says. Instead, they
                                                                     re-argue their Opposition. The fact that BEA’s report says what it says is
                                                               20    undisputed. The Court should disregard Plaintiffs’ assertion that this fact is
                                                               21    disputed and their response should be stricken.
                                                               22    229. EAI concluded that the majority of Response: Disputed.
                                                               23    the soil contamination at the Patsouras
                                                                     Property “is heavy end petroleum        Evidence: Such a determination is
                                                               24    product.”                               impossible to make due to the
                                                               25                                            inadequate testing and investigation of
                                                                     Supporting Evidence: Environmental      hazardous substances in the soil, as set
                                                               26    Audit, Inc., “Remedial Action Plan,     out in Plaintiffs’ responses to
                                                               27    11630-11700 Burke Street,” June 16,     Defendant’s statements ## 223-224
                                                                                                             which are incorporated herein by
                                                               28
                                                                                                                           MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     139
                                                                                                                            STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                        PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                          SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     1997, at PTSF00022451; Ex. H to the            reference.
                                                                4
                                                                     Declaration of William D. Wick
                                                                5
                                                                6    229. Moving Parties’ Response
                                                                7
                                                                           This a simply a statement of EAI’s conclusion. The EAI document says
                                                                8    what it says, and Plaintiffs do not dispute that it says what it says. Instead, they
                                                                     re-argue their Opposition. The fact that EAI’s report says what it says is
                                                                9
                                                                     undisputed. The Court should disregard Plaintiffs’ assertion that this fact is
                                                               10    disputed and their response should be stricken. .
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                                                               11    230. EAI concluded that “TGPH-G,               Response: Disputed.
                                                               12    TPH-D, and TPH-O have never been
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                            Los Angeles, California 90067




                                                                     identified in ground water” at the             Evidence: Such a determination is
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                                                               13    Patsouras Property. “Chlorinated               impossible to make due to the
                                                               14    compounds are not generally identified         inadequate testing and investigation of
                                                                     in soil at the Site but are present in         hazardous substances in the soil, as set
                                                               15    ground water at concentrations that are        out in Plaintiffs’ responses to
                                                               16    consistent with the regional impact to         Defendant’s statements ## 223-224
                                                                     ground water (see Section 3.0). In             which are incorporated herein by
                                                               17    EAI’s opinion the chlorinated                  reference.
                                                               18    compounds detected in ground water at
                                                                     the Site are not the result of former site     PCE and TCE have been identified in
                                                               19    activities.”                                   the groundwater at the Property. Wick
                                                               20                                                   Decl., Ex. I, at 1 (Covenant and
                                                                     Supporting Evidence: Environmental             Environmental Restriction on Property
                                                               21
                                                                     Audit, Inc., “Updated Site Conceptual          recorded Oct. 12, 2016).
                                                               22    Model and Request for Low Risk
                                                                     Closure,” June 17, 2010, at p. 21, at          The hexavalent chromium on the
                                                               23
                                                                     PTFS00024533; Ex. D to the                     Property is not derived from
                                                               24    Declaration of William D. Wick                 groundwater from other properties.
                                                                                                                    Mutch Report, Jan. 14, 2021, at 7-16.
                                                               25
                                                                                                                    In the first hexavalent chromium water
                                                               26                                                   analysis performed (February 2009),
                                                                                                                    the highest levels of hexavalent
                                                               27
                                                                                                                    chromium were found in monitoring
                                                               28                                                   wells in the middle of the Patsouras
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                         140
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                  Property. Id. The nearest monitoring
                                                                4
                                                                                                                  wells from adjacent properties are
                                                                5                                                 cross-gradient and were non-detect for
                                                                                                                  hexavalent chromium, indicating that
                                                                6
                                                                                                                  the hexavalent chromium on the
                                                                7                                                 Property did not migrate from other
                                                                                                                  properties. Id.
                                                                8
                                                                9
                                                                     230. Moving Parties’ Response
                                                               10
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11          This a simply a statement of EAI’s conclusion. The EAI document says
                                                                     what it says, and Plaintiffs do not dispute that it says what it says. Instead, they
                                                               12    re-argue their Opposition. The fact that EAI’s report says what it says is
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                            Los Angeles, California 90067
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                                                               13    undisputed. The Court should disregard Plaintiffs’ assertion that this fact is
                                                                     disputed and their response should be stricken.
                                                               14
                                                                     231. On Sept. 15, 2016, Regional             Response: Undisputed.
                                                               15    Board Executive Officer Samuel Unger
                                                               16    executed the Covenant and
                                                                     Environmental Restriction on Property
                                                               17    for the Patsouras Property.
                                                               18
                                                                     Supporting Evidence: Covenant and
                                                               19    Environmental Restriction; Ex. I to the
                                                               20    Declaration of William D. Wick
                                                               21
                                                               22    231. Moving Parties’ Response

                                                               23             No Response as Paragraph 231 is undisputed.
                                                               24    232. The Covenant and Environmental          Response: Disputed as incomplete.
                                                               25    Restriction approved by and for the
                                                                     benefit of the Regional Board stated as      Evidence: The cited document states
                                                               26    follows: “Chlorinated solvent                that the Regional Board “has
                                                               27    compounds present in the groundwater         determined that the [Patsouras]
                                                                     beneath the Site appear to be consistent     Property is not suitable for unrestricted
                                                               28
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       141
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     with the site area regional chlorinated      use and that a land use restriction is
                                                                4
                                                                     solvent impacts; no dissolved or free        necessary for the protection of present
                                                                5    phase total petroleum hydrocarbons           or future human health, safety, or the
                                                                     have been detected in the groundwater.”      environment as a result of the presence
                                                                6
                                                                                                                  of hazardous materials as defined in
                                                                7    Supporting Evidence: Id.                     Section 25260 of the Health and Safety
                                                                                                                  Code in the soil, soil gas, and
                                                                8
                                                                                                                  groundwater at the [Patsouras]
                                                                9                                                 Property.” Wick Decl., Ex. I at 1
                                                                                                                  (Covenant and Environmental
                                                               10
                                                                                                                  Restriction on Property recorded Oct.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                 12, 2016). This Covenant also notes
                                                                                                                  that both PCE and TCE have been
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                  found in groundwater sampling on the
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                                                               13                                                 property. Id. at 3. In fact, it states that
                                                               14                                                 PCE was found in the groundwater at
                                                                                                                  the level of 18.2 ug/L, more that three
                                                               15                                                 times higher than that allowed by the
                                                               16                                                 California Maximum Contaminant
                                                                                                                  Level of 5 ug/L. Id.
                                                               17
                                                                     232. Moving Parties’ Response
                                                               18
                                                               19          Plaintiffs’ do not dispute that the quoted statement from the Covenant and
                                                                     Environmental Restriction is in the document. Instead, they add additional
                                                               20    statements from the document. Thus, Plaintiffs’ “disputed” response is without
                                                               21    merit. Moving Parties cite an accurate excerpt from the Covenant and
                                                                     Environmental Restriction approved by the Regional Water Quality Control
                                                               22    Board. Plaintiffs insert extraneous and irrelevant additional information to
                                                               23    confuse and mislead the Court. These additional statements should be stricken.
                                                                     The Court should disregard Plaintiffs’ assertion that this fact is disputed.
                                                               24
                                                                     233. On October 12, 2016, the                Response: Undisputed.
                                                               25
                                                                     Covenant and Environmental
                                                               26    Restriction was recorded in the Official
                                                                     Records of the Los Angeles County
                                                               27
                                                                     Recorder’s Office.
                                                               28
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       142
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                   PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                     SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     Supporting Evidence: Id.
                                                                4
                                                                5
                                                                     233. Moving Parties’ Response
                                                                6
                                                                              No Response as Paragraph 233 is undisputed.
                                                                7
                                                                8    234. On Jan. 4, 2017, the Regional         Response: Undisputed but immaterial.
                                                                     Board issued a “No Further Action”
                                                                9    Letter to Kekropia for the Patsouras      Evidence: While it is uncontroverted
                                                               10    Property.                                 that the referenced letter was sent to
                                                                                                               Kekropia, the Regional Board limited
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                                                               11    Supporting Evidence: Los Angeles          the findings that it made. Specifically,
                                                               12    Regional Water Quality Board Letter,      the referenced letter states: “Please note
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                     Jan. 4, 2017; Ex. B to the Declaration of that by issuing this NFA letter, the
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                                                               13    William D. Wick                           Regional Board has not made a
                                                               14                                              determination as to whether discharges
                                                                                                               of waste to regional groundwater
                                                               15                                              occurred as a result of historical
                                                               16                                              activities at the Site.” Valenzuela Decl.,
                                                                                                               Ex. 16, at 176 (Los Angeles Regional
                                                               17                                              Water Quality Board Letter, Jan. 4,
                                                               18                                              2017, at 3).
                                                               19
                                                               20    234. Moving Parties’ Response

                                                               21           Plaintiffs’ response is without merit. This is a statement of the Regional
                                                                     Board’s action. The evidence stands that the Regional Water Quality Control
                                                               22
                                                                     Board issued a “No Further Action” letter for the Patsouras Property and
                                                               23    instructed the property owner to remove the monitoring wells on the site
                                                                     indicating that it did not expect any further investigation or remediation at the
                                                               24
                                                                     Property. Plaintiffs insert extraneous and irrelevant statements to confuse the
                                                               25    Court and the additional statement should be stricken.
                                                               26    235. The Regional Board concluded          Response: Undisputed but immaterial.
                                                               27    that the activities at the Patsouras
                                                                     Property resulted “in the cleanup or
                                                               28
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    143
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     abatement of wastes to assure                Evidence: CH2M Hill also concluded
                                                                4
                                                                     protection of human health and the           that “because [OU-2] flows under a
                                                                5    waters of the State at and near the Site     densely developed commercial –
                                                                     for their beneficial use.”                   industrial area, there are additional
                                                                6
                                                                                                                  facilities whose releases of hazardous
                                                                7    Supporting Evidence: Id. at p.3.             substances have reached groundwater
                                                                                                                  and become commingled with the
                                                                8
                                                                                                                  Omega contamination.” Hagstrom
                                                                9                                                 Decl., Dkt. 902-47, Ex. A, at 6 (CH2M
                                                                                                                  HILL, Final Remediation
                                                               10
                                                                                                                  Investigation/Feasibility Study Reports,
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                                                               11                                                 Aug. 2010, at 8-4).
                                                               12
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                            Los Angeles, California 90067
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                                                               13
                                                               14    235. Moving Parties’ Response
                                                               15           Plaintiffs’ response is without merit and is irrelevant. This is a statement of
                                                               16    the Regional Board’s conclusion. The evidence stands that the Regional Board
                                                                     reached a conclusion that cleanup and abatement has occurred at the Patsouras
                                                               17    Property to assure protection of human health and the waters of the State.
                                                               18    Plaintiffs insert extraneous and irrelevant statements to confuse the Court and the
                                                                     additional statement should be stricken.
                                                               19
                                                                     236. The Regional Board determined           Response: Undisputed.
                                                               20    that there was no reason to monitor
                                                               21    groundwater at the Property and
                                                                     required Kekropia to decommission,
                                                               22
                                                                     abandon, and destroy all monitoring
                                                               23    wells on the Property.
                                                               24
                                                                     Supporting Evidence: Id.
                                                               25
                                                               26    236. Moving Parties’ Response
                                                               27
                                                                              No Response as Paragraph 236 is undisputed.
                                                               28
                                                                                                                           MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       144
                                                                                                                            STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                        PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                          SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     237. EPA’s consultant, CH2M Hill,              Response: Undisputed, but immaterial.
                                                                4
                                                                     concluded that the former Omega
                                                                5    Chemical facility is the main source of        Evidence: CH2M Hill also concluded
                                                                     groundwater contamination at OU2.              that “because [OU-2] flows under a
                                                                6
                                                                                                                    densely developed commercial –
                                                                7    Supporting Evidence: Final                     industrial area, there are additional
                                                                     Remediation Investigation/Feasibility          facilities whose releases of hazardous
                                                                8
                                                                     Study Reports Omega Chemical                   substances have reached groundwater
                                                                9    Corporation Superfund Site Operable            and become commingled with the
                                                                     Unit 2 Los Angeles County, California,         Omega contamination. Hagstrom Decl.,
                                                               10
                                                                     Volume 1, CH2M HILL, Aug. 2010, §              Dkt. 902-47, Ex. A, at 6 (CH2M HILL,
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                                                               11    8.1.2, p. 8-4; Ex. J to the Declaration of     Final Remediation Investigation
                                                                     William D. Wick                                /Feasibility Study Reports, Aug. 2010).
                                                               12
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                            Los Angeles, California 90067
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                                                               13
                                                                     237. Moving Parties’ Response
                                                               14
                                                               15           This is a statement of EPA’s consultant’s conclusion. Plaintiffs’ response
                                                                     and additional supporting evidence is non-responsive to the evidence provided by
                                                               16    the moving party. The evidence stands that EPA’s consultant has concluded that
                                                               17    the Omega Facility is the main source of groundwater contamination at OU-2.
                                                                     Plaintiffs cannot dispute this, so they respond with additional, irrelevant
                                                               18    statements that should be disregarded and stricken by the Court.
                                                               19    238. The Final Remedial Investigation Response: Undisputed but immaterial.
                                                               20    Report by the US EPA environmental
                                                                     consultant, CH2M Hill, identified
                                                               21
                                                                     properties located over the OU-2
                                                               22    groundwater plume which were sources
                                                                     of chlorinated VOCs (PCE, TCE, 1,1,-
                                                               23
                                                                     DCE) to groundwater, but did not not
                                                               24    identify the Patsouras Property as an
                                                                     on-going or historical source of these
                                                               25
                                                                     VOCs to the groundwater.
                                                               26
                                                                     Supporting Evidence: Id., § 5.5, pp. 5-
                                                               27
                                                                     12 to 5-30.
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE

                                                                4    238. Moving Parties’ Response
                                                                5
                                                                           This evidence is not immaterial. EPA’s own consultant did not include the
                                                                6    Patsouras Property as an on-going or historical source of VOCs to the OU-2
                                                                     groundwater. This fact does not become immaterial simply because Plaintiffs
                                                                7
                                                                     deem it so.
                                                                8
                                                                     239. The Final Remedial Investigation Response: Undisputed.
                                                                9    Report by the US EPA environmental
                                                               10    consultant, CH2M Hill, identified
                                                                     properties located over the OU-2
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                                                               11    groundwater plume which were sources
                                                               12    of non-chlorinated VOCs to
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                     groundwater, but did not identify the
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                                                               13    Patsouras Property as an on-going or
                                                               14    historical source of these VOCs to the
                                                                     groundwater.
                                                               15
                                                               16    Supporting Evidence: Id., § 5.5, pp. 5-
                                                                     12 to 5-30.
                                                               17
                                                               18
                                                                     239. Moving Parties’ Response
                                                               19
                                                                              No Response as Paragraph 239 is undisputed.
                                                               20
                                                               21    240. From 1994 through 2010, at least       Response: Disputed.
                                                                     123 soil samples were taken on the
                                                               22    West Parcel of the Patsouras Property.   Evidence: This statement is supported
                                                               23                                             solely by the report of Defendants’
                                                                     Supporting Evidence: Expert Report of “expert,” Dr. J. Kulla. However, Dr.
                                                               24    Dr. Jean Kulla; Ex. K to the Declaration Kulla’s opinions are unreliable, as she
                                                               25    of William D. Wick                       appears not to be aware of, or have
                                                                                                              evaluated, critical facts that might have
                                                               26                                             informed her opinion. She testified that
                                                               27                                             she knew PCE and TCE were in the
                                                                                                              soil at the Patsouras Property, but she
                                                               28
                                                                                                                         MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      146
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                   PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                     SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                               does not know how those substances
                                                                4
                                                                                                               came to be located in the soil or ever
                                                                5                                              analyzed this issue. See Valenzuela
                                                                                                               Decl., Ex. 15, at 156-158 (J. Kulla Dep.
                                                                6
                                                                                                               Tr. at 69:24-70:11; 72:11-21). She did
                                                                7                                              not even analyze whether
                                                                                                               contamination from historic Palley site
                                                                8
                                                                                                               operations may have contributed VOCs
                                                                9                                              to OU-2 Groundwater contamination or
                                                                                                               whether Globe Oil released hazardous
                                                               10
                                                                                                               substances on the Patsouras property.
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                                                               11                                              Id., at 152-153,_167 (J. Kulla, Dep. Tr.
                                                                                                               at 50:17-51:2; 83:11-23).
                                                               12
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                                                               13                                              Dr. Kulla was similarly
                                                               14                                              unknowledgeable about Globe Oil’s
                                                                                                               operations. She did not know how
                                                               15                                              Globe handled waste water or what was
                                                               16                                              in it. Id., at 150-151 (J. Kulla, Dep. Tr.
                                                                                                               at 46:12-20; 49:11-13). Dr. Kulla also
                                                               17                                              believed that Globe Oil operated at the
                                                               18                                              property for only four years, from 1968
                                                                                                               to 1972. Id., at 146 (J. Kulla, Dep. Tr.
                                                               19                                              at 37:3-9). She did not know that Globe
                                                               20                                              Oil had been operating at the property
                                                                                                               for over thirty years. See Plaintiffs’
                                                               21                                              response to Defendants’ statement
                                                               22                                              #206, which is incorporated herein by
                                                                                                               reference. Such holes in Dr. Kulla’s
                                                               23                                              knowledge of the property leads her to
                                                               24                                              flawed and unreliable conclusions.

                                                               25
                                                                     240. Moving Parties’ Response
                                                               26
                                                               27          Plaintiffs’ “Evidence” is non-responsive to the uncontroverted fact stated in
                                                                     Paragraph 240 which refers to factual data regarding the number of soil samples
                                                               28
                                                                                                                         MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    147
                                                                                                                          STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                   PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                     SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     taken at the Patsouras Property. Plaintiffs’ response and the extraneous
                                                                4
                                                                     statements are irrelevant to this fact, are confusing, misleading and should be
                                                                5    disregarded and stricken by the Court. The Court should disregard Plaintiffs’
                                                                     assertion that this fact is disputed.
                                                                6
                                                                7    241. No PCE, TCE, chloroform, or 1-        Response: Disputed.
                                                                     1-dichloroethene were detected in any
                                                                8    of the 123 soil samples taken on the       Evidence: As stated in the responses
                                                                9    West Parcel between 1994 and 2010.         to #223 and #224 (which are
                                                                                                                incorporated herein), testing performed
                                                               10    Supporting Evidence: Id.                   at the Property was inadequate and,
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                                                               11                                               largely, did not test for VOCs or
                                                                                                                hexavalent chromium. Though
                                                               12
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                                                                                                                insufficient, testing at the B-7 and E-9
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                                                               13                                               borings found PCE and TCE. Mutch
                                                                                                                Report, Jan. 14, 2021, at 7-9 to 7-14.
                                                               14                                               The data indicates that PCE and TCE
                                                               15                                               were transported through the vadose
                                                                                                                zone to the historic elevation of the
                                                               16                                               groundwater table and impacted the
                                                               17                                               groundwater. Id. Any tests that are
                                                                                                                claimed not to have shown the presence
                                                               18                                               of TCE, PCE, hexavalent chromium or
                                                               19                                               other VOCs, did not test for these
                                                                                                                substances—despite evidence of
                                                               20                                               significant releases of hazardous
                                                               21                                               substances to the soil of the Property.
                                                                                                                Id.
                                                               22
                                                               23                                               Further, the sole basis of this statement
                                                                                                                is an opinion of Dr. Kulla, whose lack
                                                               24
                                                                                                                of information about the property and
                                                               25                                               its historic uses causes her opinions to
                                                                                                                be flawed and unreliable, as set out in
                                                               26
                                                                                                                Plaintiffs’ response to Defendants’
                                                               27                                               statement # 240 which is incorporated
                                                                                                                herein by reference.
                                                               28
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    148
                                                                                                                           STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE

                                                                4
                                                                5    241. Moving Parties’ Response
                                                                6           Paragraph 241 states a simple factual statement based on actual data.
                                                                     Plaintiffs cannot dispute this so they include non-responsive and irrelevant
                                                                7
                                                                     statements regarding the adequacy of testing at the Patsouras Property and
                                                                8    improperly call in to question Dr. Kulla’s opinions. In fact, this is not an opinion
                                                                     of Dr. Kulla’s but a factual statement based on data which Plaintiffs cannot
                                                                9
                                                                     dispute.
                                                               10
                                                                            Moving Parties also include their response to Paragraphs 223, 224 and 240
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                                                               11    as though incorporated herein. The Court should disregard Plaintiffs’ assertion
                                                               12    that this fact is disputed.
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                                                               13    242. CAM metals in soils, including           Response: Disputed.
                                                               14    total chromium, were within
                                                                     background levels for regional soils          Evidence: Dr. Kulla opines that 71.1
                                                               15    (i.e., within the range of concentrations     mg/kc for total chromium is only
                                                               16    normally found in natural,                    “slightly above background levels”—
                                                                     uncontaminated soil) in all of the 123        though she never says what the
                                                               17    samples taken on the West Parcel              “background levels” are. See Jean B.
                                                               18    between 1994 and 2010.                        Kulla, Expert Opinion on the Patsouras
                                                                                                                   Property (“Kulla Report”), at 3.
                                                               19    Supporting Evidence: Id.                      According to the U.S. Geological
                                                               20                                                  Survey, background levels of total
                                                                                                                   chromium roughly range from 30 to 36
                                                               21                                                  mg/kg. See Smith, D.B. et al.,
                                                               22                                                  U.S.G,.S., Geochemical and
                                                                                                                   Mineralogical Data for Soils of the
                                                               23                                                  Conterminous United States: U.S.
                                                               24                                                  Geological Survey Data Series 801, 19.
                                                                                                                   Defendant’s consultant reported
                                                               25                                                  background levels of total chromium at
                                                               26                                                  and near defendant Phibro-Tech, Inc.’s
                                                                                                                   facility were 20 to 24 mg/kg. See
                                                               27                                                  Cohen Decl., Ex. 18, at 343_ (Camp
                                                               28                                                  Dresser & McKee Inc., RCRA Facility
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                        149
                                                                                                                             STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                              PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                           Investigation Phase II Report, Apr. 23,
                                                                4
                                                                                                           1993, Table 4-1). It reports background
                                                                5                                          levels of hexavalent chromium at and
                                                                                                           near its facility range from 1 to 2
                                                                6
                                                                                                           mg/kg. Id.
                                                                7
                                                                                                           Additionally, such a determination is
                                                                8
                                                                                                           impossible to make due to the
                                                                9                                          inadequate testing and investigation of
                                                                                                           hazardous substances in the soil, as set
                                                               10
                                                                                                           out in Plaintiffs’ responses to
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                                                               11                                          Defendant’s statements ## 223-224
                                                                                                           which are incorporated herein by
                                                               12
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                                                                                                           reference.
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                                                               13
                                                               14                                          Patsouras’ expert misstates the
                                                                                                           background levels for arsenic. Kulla
                                                               15                                          contends that the level of arsenic which
                                                               16                                          is “characteristic of background for
                                                                                                           regional soils” is 55 mg/kg. See Kulla
                                                               17                                          Report, at 3. According to the
                                                               18                                          California Department of Toxic
                                                                                                           Substances Control, the background
                                                               19                                          level for arsenic is several times lower,
                                                               20                                          namely, 12 mg/kg. See G. Chernoff et
                                                                                                           al., Dept. of Toxic Substances Control,
                                                               21                                          Determination of a Southern California
                                                               22                                          Regional Background Arsenic
                                                                                                           Concentration in Soil, at 1. The ESL for
                                                               23                                          arsenic in soil was exceeded at several
                                                               24                                          locations at the Property from 2 feet to
                                                                                                           35 feet bgs, which is indicative of
                                                               25                                          release of arsenic from operations on
                                                               26                                          the Property to the subsurface. Id. at 7-
                                                                                                           13. Because of the inadequacy and
                                                               27                                          sparseness of the monitoring well
                                                               28                                          network at the Property, arsenic
                                                                                                                    MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1               150
                                                                                                                     STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                   PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                     SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                               impacts to groundwater may not be
                                                                4
                                                                                                               identifiable. Id. at 7-14.
                                                                5
                                                                                                               Soil gas concentrations in excess of soil
                                                                6
                                                                                                               gas ESL values were noted for PCE and
                                                                7                                              TCE. See Valenzuela Decl., Ex. 9, at
                                                                                                               82, 89-93 (Environmental Audit, Inc.,
                                                                8
                                                                                                               Summary of Site Assessments, Mar.
                                                                9                                              2009, at 11 & Tables 8, 9); Mutch
                                                                                                               Report, Jan. 14, 2021, Table 7-6.
                                                               10
                                                                                                               Sampling of soil vapor shows a pattern
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                              of elevated concentrations of soil gas
                                                                                                               PCE, as well as other chlorinated VOCs
                                                               12
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                                                                                                               such as TCE (a daughter product of
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                                                               13                                              PCE), that are localized in a part of the
                                                               14                                              Property with high PCE soil levels,
                                                                                                               signifying a definitive onsite source of
                                                               15                                              these hazardous substances. Mutch
                                                               16                                              Report, Jan. 14, 2021, at 7-17 to 7-18.

                                                               17                                              Further, the sole basis of this statement
                                                               18                                              is an opinion of Dr. Kulla, whose lack
                                                                                                               of information about the property and
                                                               19                                              its historic uses causes her opinions to
                                                               20                                              be flawed and unreliable, as set out in
                                                                                                               Plaintiffs’ response to Defendants’
                                                               21                                              statement # 240 which is incorporated
                                                               22                                              herein by reference.

                                                               23
                                                                     242. Moving Parties’ Response
                                                               24
                                                               25           The Regional Water Quality Control Board determined that metals in soils
                                                                     at the Property were within background levels and chromium and arsenic were
                                                               26    dropped as contaminants of concern.
                                                               27
                                                                              Chromium concentrations in all samples were within the background
                                                               28
                                                                                                                        MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    151
                                                                                                                         STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                   PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                     SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     concentration levels normally found in uncontaminated soil, except for one
                                                                4
                                                                     sample. That one outlier sample was found at two feet and was only slightly
                                                                5    above the background level. Moreover, because the heavy petroleum residues in
                                                                     Property soil have rendered the soil anoxic, the resulting reducing conditions
                                                                6
                                                                     convert any hexavalent chromium into trivalent chromium (a harmless substance
                                                                7    consumed safely and often by humans). Wick Decl., Exh. C (Dr. Kulla Rebuttal
                                                                     of Mutch Expert Report at 7).
                                                                8
                                                                9          The arsenic concentrations found in the soil were within background levels
                                                                     for regional soils as well. EAI so concluded, using the EPA-approved software to
                                                               10
                                                                     determine that the 95% confidence level for arsenic detected in soil at the
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    Property was 12.99 mg/kg, which “is very close to (within the range of) the 12
                                                                     mg/kg background concentration determined acceptable by DTSC for LAUSD
                                                               12
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                                                                     school sites, one of DTSC’s most sensitive (restrictive) land uses.” (Wick Decl.,
                            Los Angeles, California 90067
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                                                               13    Exh. B, excerpt from EAI, 2010 Updated Site Conceptual Model,
                                                               14    PTDS00024525-26.)

                                                               15           These facts are undisputed and Plaintiffs’ response should be stricken.
                                                                     Plaintiffs’ response about PCE is immaterial to this material fact, which is only
                                                               16    about metals.
                                                               17
                                                                     243. From 1994 through 2010, at least Response: Undisputed.
                                                               18    137 soil samples were taken on the East
                                                               19    Parcel of the Patsouras Property.

                                                               20    Supporting Evidence: Id.
                                                               21
                                                               22    243. Moving Parties’ Response
                                                               23             No Response as Paragraph 243 is undisputed.
                                                               24
                                                                     244. PCE and TCE were detected in          Response: Disputed.
                                                               25    only a couple of soil samples at very
                                                                     low concentrations in the 137 soil         Evidence: As stated in the responses to
                                                               26
                                                                     samples taken on the East Parcel           ## 223-224 and 241-242, testing
                                                               27    between 1994 and 2010.                     performed at the Property was
                                                                                                                inadequate and, largely, did not test for
                                                               28
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    152
                                                                                                                           STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                   PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                     SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     Supporting Evidence: Id.                  VOCs or hexavalent chromium. For
                                                                4
                                                                                                               sake of brevity, Plaintiffs incorporate
                                                                5                                              by reference their responses to ## 223-
                                                                                                               224 and 241-242, as though set forth
                                                                6
                                                                                                               fully herein.
                                                                7
                                                                                                               Further, the sole basis of this statement
                                                                8
                                                                                                               is an opinion of Dr. Kulla, whose lack
                                                                9                                              of information about the property and
                                                                                                               its historic uses causes her opinions to
                                                               10
                                                                                                               be flawed and unreliable, as set out in
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                              Plaintiffs’ response to Defendants’
                                                                                                               statement # 240 which is incorporated
                                                               12
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                                                                                                               herein by reference.
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                                                               13
                                                                     244. Moving Parties’ Response
                                                               14
                                                               15           Plaintiffs’ response is not responsive to Paragraph 244. Paragraph 244 is a
                                                                     statement of fact based on data about PCE and TCE in Property soil samples.
                                                               16    Plaintiffs do not dispute the factual statement in their response. Plaintiffs’
                                                               17    response about extraneous issues should be stricken.

                                                               18          Moving Parties incorporate their responses to Paragraphs 223-224 and 241-
                                                                     242 herein. The Court should disregard Plaintiffs’ assertion that this fact is
                                                               19    disputed.
                                                               20
                                                                     245. The maximum concentration of         Response: Disputed.
                                                               21    PCE was 0.51 mg/kg and of TCE was
                                                               22    0.27 mg/kg in the 137 soil samples        Evidence: As stated in the responses to
                                                                     taken on the East Parcel between 1994     ## 223-224 and 241-242 and 244,
                                                               23    and 2010.                                 testing performed at the Property was
                                                               24                                              inadequate and, largely, did not test for
                                                                     Supporting Evidence: Id.                  VOCs or hexavalent chromium. For
                                                               25                                              sake of brevity, Plaintiffs incorporate
                                                               26                                              by reference their responses to ## 223-
                                                                                                               224 and 241-242, and 244 as though set
                                                               27                                              forth fully herein.
                                                               28
                                                                                                                         MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    153
                                                                                                                          STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                       PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                         SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                   Further, the sole basis of this statement
                                                                4
                                                                                                                   is an opinion of Dr. Kulla, whose lack
                                                                5                                                  of information about the property and
                                                                                                                   its historic uses causes her opinions to
                                                                6
                                                                                                                   be flawed and unreliable, as set out in
                                                                7                                                  Plaintiffs’ response to Defendants’
                                                                                                                   statement # 240 which is incorporated
                                                                8
                                                                                                                   herein by reference.
                                                                9
                                                               10    245. Moving Parties’ Response
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                                            Plaintiffs’ response is not responsive to Paragraph 245. Paragraph 245 is a
                                                               12    statement of fact based on data about the maximum concentrations of PCE and
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                            Los Angeles, California 90067
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                                                               13    TCE detected in Property soil samples. Plaintiffs do not dispute the factual
                                                                     statement in their response. Plaintiffs’ response about extraneous issues should
                                                               14    be stricken.
                                                               15          Moving Parties incorporate their responses to Paragraphs 223-224 and 241-
                                                               16    242 herein. The Court should disregard Plaintiffs’ assertion that this fact is
                                                                     disputed.
                                                               17
                                                               18    246. No chloroform or 1,1-                    Response: Undisputed.
                                                                     dichloroethene (1,1-DCE) were
                                                               19    detected in the 137 soil samples taken
                                                               20    on the East Parcel between 1994 and
                                                                     2010.
                                                               21
                                                               22    Supporting Evidence: Id.

                                                               23
                                                                     246. Moving Parties’ Response
                                                               24
                                                               25             No Response as Paragraph 246 is undisputed.
                                                               26    247. CAM metals in soils were within          Response: Undisputed.
                                                                     background levels for regional soils
                                                               27
                                                                     (i.e., within the range of concentrations
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                        154
                                                                                                                              STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     normally found in natural,
                                                                4
                                                                     uncontaminated soil) in all of the 137
                                                                5    samples taken on the East Parcel
                                                                     between 1994 and 2010, with the
                                                                6
                                                                     exception of one chromium sample
                                                                7    slightly above background levels (71.1.
                                                                     mg/kg) found at two feet below ground
                                                                8
                                                                     surface and lead found in some
                                                                9    stockpiled soil.
                                                               10
                                                                     Supporting Evidence: Id.
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                                                               11
                                                               12
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                                                                     247. Moving Parties’ Response
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                                                               13
                                                                              No Response as Paragraph 247 is undisputed.
                                                               14
                                                                     248. Methylene chloride (8.27 mg/kg),       Response: Disputed.
                                                               15    naphthalene (4.31 mg/kg), and lead
                                                               16    (51,600 mg/kg) were found in one
                                                                     stockpiled soil sample, and the             Evidence: The sole basis of this
                                                               17    stockpiled soil has been removed from       statement is an opinion of Dr. Kulla,
                                                               18    the Property.                               whose lack of information about the
                                                                                                                 property and its historic uses causes her
                                                               19    Supporting Evidence: Id.                    opinions to be flawed and unreliable, as
                                                               20                                                set out in Plaintiffs’ response to
                                                                                                                 Defendants’ statement # 240 which is
                                                               21
                                                                                                                 incorporated herein by reference.
                                                               22
                                                               23    248. Moving Parties’ Response
                                                               24
                                                                           Plaintiffs’ response is wholly non-responsive to the uncontroverted fact and
                                                               25    supporting evidence in Paragraph 248. Paragraph 248 simply provides a factual
                                                                     statement based on actual data. Plaintiffs’ statement that this fact is based solely
                                                               26
                                                                     on Dr. Kulla’s opinion is incorrect and baseless. Plaintiffs cannot credibly
                                                               27    dispute this fact. The Court should disregard Plaintiffs’ assertion that this fact is
                                                               28
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      155
                                                                                                                           STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     disputed.
                                                                4
                                                                5    249. There is no evidence that the very Response: Disputed.
                                                                     low concentrations of PCE, TCE or
                                                                6    other hazardous substances found in
                                                                7    soil have migrated at least 35 feet to the Evidence: Such a determination is
                                                                     OU-2 groundwater.                          impossible to make due to the
                                                                8                                               inadequate testing and investigation of
                                                                9    Supporting Evidence: Id.                   hazardous substances in the soil, as set
                                                                                                                out in Plaintiffs’ responses to
                                                               10                                               Defendant’s statements ## 223-224
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                                                               11                                               which are incorporated herein by
                                                                                                                reference.
                                                               12
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                            Los Angeles, California 90067
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                                                               13                                               Further, the sole basis of this statement
                                                                                                                is an opinion of Dr. Kulla, whose lack
                                                               14                                               of information about the property and
                                                               15                                               its historic uses causes her opinions to
                                                                                                                be flawed and unreliable, as set out in
                                                               16                                               Plaintiffs’ response to Defendants’
                                                               17                                               statement # 240 which is incorporated
                                                                                                                herein by reference.
                                                               18
                                                               19
                                                                     249. Moving Parties’ Response
                                                               20
                                                                           Plaintiffs’ response to uncontroverted fact is without merit and non-
                                                               21
                                                                     responsive this fact. Testing and data at the Patsouras Property supports the fact
                                                               22    in Paragraph 249. Further, Plaintiffs’ statements regarding the validity of Dr.
                                                                     Kulla’s opinions is without merit.
                                                               23
                                                               24          Moving Parties incorporate their responses to Paragraphs 223-224 and 240
                                                                     herein. The Court should disregard Plaintiffs’ assertion that this fact is disputed.
                                                               25
                                                                     250. Groundwater monitoring was            Response: Disputed.
                                                               26
                                                                     performed on the Property from 1995
                                                               27    through 2013 for petroleum                 Evidence: Such a determination is
                                                                     hydrocarbons, VOCs, and metals.            impossible to make due to the
                                                               28
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     156
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                   PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                     SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                               inadequate testing and investigation of
                                                                4
                                                                     Supporting Evidence: Id.                  hazardous substances in the soil, as set
                                                                5                                              out in Plaintiffs’ responses to
                                                                                                               Defendant’s statements ## 223-224
                                                                6
                                                                                                               which are incorporated herein by
                                                                7                                              reference.
                                                                8
                                                                                                               Further, the sole basis of this statement
                                                                9                                              is an opinion of Dr. Kulla, whose lack
                                                                                                               of information about the property and
                                                               10
                                                                                                               its historic uses causes her opinions to
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                              be flawed and unreliable, as set out in
                                                                                                               Plaintiffs’ response to Defendants’
                                                               12
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                                                                                                               statement # 240 which is incorporated
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                                                               13                                              herein by reference.
                                                               14
                                                               15    250. Moving Parties’ Response
                                                               16           Plaintiffs’ response and supporting “evidence” is wholly meritless.
                                                               17    Paragraph 250 states the simple fact that groundwater monitoring was performed
                                                                     on the Patsouras Property in a certain date range. Plaintiffs do not dispute that
                                                               18    fact. Plaintiffs’ “dispute” is without merit and should not be considered by the
                                                               19    Court.

                                                               20          Moving Parties incorporate their response to Paragraph 240 herein. The
                                                                     Court should disregard Plaintiffs’ assertion that this fact is disputed.
                                                               21
                                                               22    251. No petroleum hydrocarbon             Response: Disputed.
                                                                     compounds have been found in
                                                               23    groundwater beneath the Property even     Evidence: Such a determination is
                                                               24    though petroleum hydrocarbons were        impossible to make due to the
                                                                     detected in Property soil.                inadequate testing and investigation of
                                                               25                                              hazardous substances in the soil, as set
                                                               26    Supporting Evidence: Id.                  out in Plaintiffs’ responses to
                                                                                                               Defendant’s statements ## 223-224
                                                               27                                              which are incorporated herein by
                                                               28                                              reference.
                                                                                                                         MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    157
                                                                                                                          STATEMENT OF GENUINE DISPUTES
                                                               Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 160 of 170 Page ID
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                   PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                     SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE

                                                                4
                                                                                                                Further, the sole basis of this statement
                                                                5                                               is an opinion of Dr. Kulla, whose lack
                                                                                                                of information about the property and
                                                                6
                                                                                                                its historic uses causes her opinions to
                                                                7                                               be flawed and unreliable, as set out in
                                                                                                                Plaintiffs’ response to Defendants’
                                                                8
                                                                                                                statement # 240 which is incorporated
                                                                9                                               herein by reference.
                                                               10
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    251. Moving Parties’ Response
                                                               12          Plaintiffs’ response and supporting “evidence” is wholly meritless.
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13    Paragraph 251 states the simple fact that no petroleum hydrocarbon compounds
                                                                     have been found in groundwater beneath the Patsouras Property. This is a fact
                                                               14    based on data that Plaintiffs cannot dispute and do not actually dispute in their
                                                               15    response. Plaintiffs’ “dispute” is without merit and should not be considered by
                                                                     the Court.
                                                               16
                                                                           Moving Parties incorporate their response to Paragraph 240 herein. The
                                                               17    Court should disregard Plaintiffs’ assertion that this fact is disputed.
                                                               18
                                                                     252. Toluene and xylene were detected      Response: Undisputed.
                                                               19    in only trace amounts (below their
                                                               20    respective Maximum Contaminant
                                                                     Levels) only in one well in one
                                                               21    sampling episode.
                                                               22
                                                                     Supporting Evidence: Id.
                                                               23
                                                               24
                                                                     252. Moving Parties’ Response
                                                               25
                                                                              No Response as Paragraph 252 is undisputed.
                                                               26
                                                                     253. All metals detected in                Response: Disputed.
                                                               27
                                                                     groundwater were below their
                                                               28
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    158
                                                                                                                           STATEMENT OF GENUINE DISPUTES
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                                                                                                #:31412


                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                  SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     respective MCLs, including arsenic and
                                                                4
                                                                     hexavalent chromium, with the            Evidence: Despite minimal
                                                                5    exception of one sample of 11.8 ug/L     investigations on the Property, the data
                                                                     hexavalent chromium (slightly above      that was obtained reveals the extent of
                                                                6
                                                                     the 10 ug/L conservative MCL used by     groundwater contamination. Mutch
                                                                7    California).                             Report, at 7-14. PCE was found in
                                                                                                              monitoring wells in the vicinity of the
                                                                8
                                                                     Supporting Evidence: Id.                 clarifiers, where vadose zone soil
                                                                9                                             samples showed penetration of PCE to
                                                                                                              the depth of the groundwater table. Id.
                                                               10
                                                                                                              This indicates a contribution of PCE to
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                             groundwater from the Property. Id.
                                                                                                              Additionally, some higher levels of
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                              hexavalent chromium were found in
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                                                               13                                             MW-1, MW-1D, and MW-3 in the
                                                               14                                             middle of the Property near the
                                                                                                              clarifiers than in MW-2, establishing
                                                               15                                             releases of hexavalent chromium from
                                                               16                                             the clarifiers, resulting in groundwater
                                                                                                              contamination. Id. at 7-14 and 7-17.
                                                               17                                             TCE, a “daughter” product of PCE, is
                                                               18                                             found in concentrations higher in MW-
                                                                                                              1D, MW-3, and MW-4 than in MW-2.
                                                               19                                             Id. at 7-17. Concentrations exceeding
                                                               20                                             groundwater ESLs were measured for
                                                                                                              1,1-dichloroethene, carbon
                                                               21                                             tetrachloride, chloroform,
                                                               22                                             tetrachloroethene (PCE), trans-1,2-
                                                                                                              dichloroethene, trichloroethene (TCE),
                                                               23                                             chromium (total), chromium VI, nickel,
                                                               24                                             and vanadium. Id.

                                                               25                                             Further, the sole basis of this statement
                                                               26                                             is an opinion of Dr. Kulla, whose lack
                                                                                                              of information about the property and
                                                               27                                             its historic uses causes her opinions to
                                                               28                                             be flawed and unreliable, as set out in
                                                                                                                        MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                 159
                                                                                                                         STATEMENT OF GENUINE DISPUTES
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                                                                                                #:31413


                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                   Plaintiffs’ response to Defendants’
                                                                4
                                                                                                                   statement # 240 which is incorporated
                                                                5                                                  herein by reference.
                                                                6
                                                                7    253. Moving Parties’ Response
                                                                8           Plaintiffs’ response does not rebut the data that supports the fact stated in
                                                                     Paragraph 253. Paragraph 253 is a statement of fact based on data about metals
                                                                9
                                                                     in groundwater. Plaintiffs’ response and supporting “evidence” is wholly
                                                               10    meritless as it focuses on PCE, which is not a metal and has nothing to do with
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    the facts in 253, and should be disregarded by the Court. The Court should strike
                                                                     Plaintiffs’ response and disregard Plaintiffs’ assertion that this fact is disputed.
                                                               12
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                            Los Angeles, California 90067




                                                                     254. The predominant VOC                      Response: Disputed.
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                                                               13    contaminants found in the OU-2
                                                               14    groundwater underlying the Property at        Evidence: Such a determination is
                                                                     concentrations above their respective         impossible to make due to the
                                                               15    MCLs were carbon tetrachloride (CT),          inadequate testing and investigation of
                                                               16    PCE, and TCE. Other volatiles,                hazardous substances in the soil, as set
                                                                     including chloroform and 1,1-DCE,             out in Plaintiffs’ responses to
                                                               17    were below their MCLs.                        Defendant’s statements ## 223-224
                                                               18                                                  which are incorporated herein by
                                                                     Supporting Evidence: Id.                      reference.
                                                               19
                                                               20                                                  Further, the sole basis of this statement
                                                                                                                   is an opinion of Dr. Kulla, whose lack
                                                               21
                                                                                                                   of information about the property and
                                                               22                                                  its historic uses causes her opinions to
                                                                                                                   be flawed and unreliable, as set out in
                                                               23
                                                                                                                   Plaintiffs’ response to Defendants’
                                                               24                                                  statement # 240 which is incorporated
                                                                                                                   herein by reference.
                                                               25
                                                               26
                                                                     254. Moving Parties’ Response
                                                               27
                                                                              Plaintiffs’ response does not rebut the data that supports the fact stated in
                                                               28
                                                                                                                             MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       160
                                                                                                                              STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     Paragraph 254. Plaintiffs’ response and supporting “evidence” is wholly
                                                                4
                                                                     meritless and should be disregarded by the Court.
                                                                5
                                                                           Moving Parties incorporate their responses to Paragraphs 223-224 and 240
                                                                6    herein. The Court should disregard Plaintiffs’ assertion that this fact is disputed.
                                                                7
                                                                     255. A significant line of evidence in      Response: Undisputed.
                                                                8    evaluating whether a property is a
                                                                     source of hazardous substances to
                                                                9
                                                                     groundwater is a comparison of the
                                                               10    concentrations of a chemical in an
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    upgradient well with the concentrations
                                                                     in an on-property well.
                                                               12
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                            Los Angeles, California 90067
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                                                               13    Supporting Evidence: Id.

                                                               14
                                                                     255. Moving Parties’ Response
                                                               15
                                                               16             No Response as Paragraph 255 is undisputed.

                                                               17    256. The concentrations of carbon        Response: Undisputed.
                                                                     tetrachloride (CT) in wells upgradient
                                                               18
                                                                     of the Patsouras Property were greater
                                                               19    than or similar to the concentrations in
                                                                     wells on the Property in all samples in
                                                               20
                                                                     the groundwater sampling from 2009-
                                                               21    2013, except for a single sample of 10.4
                                                                     ug/L in 2013.
                                                               22
                                                               23    Supporting Evidence: Id.
                                                               24
                                                               25    256. Moving Parties’ Response
                                                               26             No Response as Paragraph 256 is undisputed.
                                                               27    257. The concentrations of PCE in           Response: Disputed.
                                                               28    wells upgradient of the Patsouras
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      161
                                                                                                                           STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                    PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                      SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     Property were greater than or similar to   Evidence: Such a determination is
                                                                4
                                                                     the concentrations in wells on the         impossible to make due to the
                                                                5    Property in all samples in the             inadequate testing and investigation of
                                                                     groundwater sampling from 2009-2013,       hazardous substances in the soil, as set
                                                                6
                                                                     except for a single sample of 18.2 ug/L    out in Plaintiffs’ responses to
                                                                7    in 2013.                                   Defendant’s statements ## 223-224
                                                                                                                which are incorporated herein by
                                                                8
                                                                     Supporting Evidence: Id.                   reference. Further, the sole basis of this
                                                                9                                               statement is an opinion of Dr. Kulla,
                                                                                                                whose lack of information about the
                                                               10
                                                                                                                property and its historic uses causes her
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                               opinions to be flawed and unreliable, as
                                                                                                                set out in Plaintiffs’ response to
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                                Defendants’ statement # 240 which is
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13                                               incorporated herein by reference.
                                                               14
                                                               15    257. Moving Parties’ Response
                                                               16          Plaintiffs’ response does not rebut the data that supports the fact stated in
                                                               17    Paragraph 257. Plaintiffs’ response and supporting “evidence” is wholly
                                                                     meritless and should be disregarded by the Court.
                                                               18
                                                                           Moving Parties incorporate their responses to Paragraphs 223-224 and 240
                                                               19    herein. The Court should disregard Plaintiffs’ assertion that this fact is disputed.
                                                               20
                                                                     258. The concentrations of TCE in          Response: Disputed.
                                                               21    wells upgradient of the Patsouras
                                                                     Property were greater than or similar to   Evidence: Such a determination is
                                                               22
                                                                     the concentrations in wells on the         impossible to make due to the
                                                               23    Property in all samples in the             inadequate testing and investigation of
                                                                     groundwater sampling from 2009-2013,       hazardous substances in the soil, as set
                                                               24
                                                                     except for a single sample of 21.7 ug/L    out in Plaintiffs’ responses to
                                                               25    in 2012.                                   Defendant’s statements ## 223-224
                                                                                                                which are incorporated herein by
                                                               26
                                                                     Supporting Evidence: Id.                   reference.
                                                               27
                                                               28
                                                                                                                          MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                     162
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                     PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                       SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                 Further, the sole basis of this statement
                                                                4
                                                                                                                 is an opinion of Dr. Kulla, whose lack
                                                                5                                                of information about the property and
                                                                                                                 its historic uses causes her opinions to
                                                                6
                                                                                                                 be flawed and unreliable, as set out in
                                                                7                                                Plaintiffs’ response to Defendants’
                                                                                                                 statement # 240 which is incorporated
                                                                8
                                                                                                                 herein by reference.
                                                                9
                                                               10    258. Moving Parties’ Response
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                                           Plaintiffs’ response does not rebut the data that supports the fact stated in
                                                               12    Paragraph 258. Plaintiffs’ response and supporting “evidence” is wholly
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                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13    meritless and should be disregarded by the Court.

                                                               14          Moving Parties incorporate their responses to Paragraphs 223-224 and 240
                                                                     herein. The Court should disregard Plaintiffs’ assertion that this fact is disputed.
                                                               15
                                                               16    259. In 2009, a soil gas vapor survey       Response: Undisputed.
                                                                     was conducted on the West Parcel of
                                                               17    the Property at depths of 5 and 15 feet
                                                               18    below ground surface.

                                                               19    Supporting Evidence: Id.
                                                               20
                                                               21    259. Moving Parties’ Response
                                                               22             No Response as Paragraph 259 is undisputed.
                                                               23
                                                                     260. The results of the 2009 soil gas       Response: Disputed.
                                                               24    vapor survey showed only very minor
                                                                     amounts of PCE and TCE in soil gas,         Evidence: Such a determination is
                                                               25
                                                                     with the lowest concentrations found in     impossible to make due to the
                                                               26    the shallow 5-foot samples relative to      inadequate testing and investigation of
                                                                     higher concentrations in the deeper 15-     hazardous substances in the soil, as set
                                                               27
                                                                     foot samples.                               out in Plaintiffs’ responses to
                                                               28
                                                                                                                           MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                      163
                                                                                                                            STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                      PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                        SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                                                                  Defendant’s statements ## 223-224
                                                                4
                                                                     Supporting Evidence: Id.                     which are incorporated herein by
                                                                5                                                 reference.
                                                                6
                                                                                                                  Further, the sole basis of this statement
                                                                7                                                 is an opinion of Dr. Kulla, whose lack
                                                                                                                  of information about the property and
                                                                8
                                                                                                                  its historic uses causes her opinions to
                                                                9                                                 be flawed and unreliable, as set out in
                                                                                                                  Plaintiffs’ response to Defendants’
                                                               10
                                                                                                                  statement # 240 which is incorporated
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                                 herein by reference.
                                                               12
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                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13    260. Moving Parties’ Response
                                                               14          Plaintiffs’ response does not rebut the data that supports the fact stated in
                                                               15    Paragraph 260. Plaintiffs’ response and supporting “evidence” is wholly
                                                                     meritless and should be disregarded by the Court.
                                                               16
                                                                           Moving Parties incorporate their responses to Paragraphs 223-224 and 240
                                                               17    herein. The Court should disregard Plaintiffs’ assertion that this fact is disputed.
                                                               18
                                                                     261. The data indicate that PCE, TCE,        Response: Disputed.
                                                               19    and other minor VOCs are volatilizing
                                                               20    off the OU-2 groundwater plume due to        Evidence: The spatial distribution of
                                                                     an upward diffusion process governed         the PCE and TCE soil gas
                                                               21    by Fick’s law.                               contamination, along with the shallow
                                                               22                                                 soil contamination, indicates that the
                                                                     Supporting Evidence: EAI, 2010, at 17-       PCE and TCE came from releases on
                                                               23    18; Ex. D and Ex. K to the Declaration       the Property and not from off-gassing
                                                               24    of William D. Wick                           from the underlying groundwater.
                                                                                                                  Mutch Report, at 7-14 to 7-17.
                                                               25
                                                               26
                                                                     261. Moving Parties’ Response
                                                               27
                                                                              Plaintiffs’ “evidence” is support its dispute against Paragraph 261 is
                                                               28
                                                                                                                            MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                       164
                                                                                                                             STATEMENT OF GENUINE DISPUTES
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                                                                1
                                                                        MOVING DEFENDANTS’
                                                                                                                   PLAINTIFFS’ RESPONSE AND
                                                                2    UNCONTROVERTED FACTS AND
                                                                                                                     SUPPORTING EVIDENCE
                                                                3       SUPPORTING EVIDENCE
                                                                     without merit. As for soil gas concentrations, the spatial distribution of the PCE
                                                                4
                                                                     and TCE soil gas, with the higher concentrations found in the 15 ft bgs samples
                                                                5    and the lower concentrations in the shallower 5 ft bgs, indicate degassing off of a
                                                                     deeper source of contamination (i.e., the contaminated OU-2 groundwater), not
                                                                6
                                                                     shallow soil contamination as claimed by Mr. Mutch. Second, the discrete soil
                                                                7    testing on the West Parcel showed no signs of shallow soil contaminated with
                                                                     PCE and TCE. In fact, in numerous investigations on the West Parcel, no
                                                                8
                                                                     chlorinated or volatile organic chemicals were detected in any of the discreet soil
                                                                9    samples (see Table 2, Kulla Expert Report). (Id. at 8.) Additional soil vapor
                                                                     sampling was done on the West Parcel of the Patsouras Property. No volatile
                                                               10
                                                                     organic compounds were detected in any of the discreet soil samples. (The
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11    analytical detection limit was less than 0.005 mg/kg in all samples). These results
                                                                     confirmed that there was no discreet soil source of PCE or TCE (or any other
                                                               12
                          2049 Century Park East, Suite 2600




                                                                     volatile organic compound) in the soil on the West Parcel. Therefore, EAI
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                                                               13    concluded and the RWQCB agreed that the soil gas vapor measured on the West
                                                               14    Parcel of the Patsouras Property resulted from degassing off the contaminated
                                                                     OU-2 groundwater plume. (Id. at 9.) An exceedance of the SFB ESLs in soil gas
                                                               15    is not relevant to the evaluation of the partitioning of soil gas to groundwater as
                                                               16    Mr. Mutch proposes. The ESLs in soil gas were derived and are relevant
                                                                     (according to SFB RWQCB) to the evaluation of the risk of soil gas vapors
                                                               17    migrating into homes and buildings, causing toxic vapors in indoor air, and thus
                                                               18    posing an inhalation impact to humans. On the Patsouras Property, the soil gas
                                                                     vapor survey was conducted under the direction of the RWQCB, for just for that
                                                               19    reason—to determine if there would be a risk of soil gas vapor intrusion into a
                                                               20    new building planned on the West Parcel. Soil gas vapor data was used in the site-
                                                                     specific model to evaluate the risk of vapor intrusion into a future building. The
                                                               21    model information was documented and submitted to the RWQCB and the
                                                               22    California Office of Environmental Health Hazard Assessment (OHHEA), and
                                                                     those agencies found no significant risk. (Id. at 9-10.) The Court should
                                                               23    disregard Plaintiffs’ assertion that this fact is disputed.
                                                               24
                                                               25
                                                               26
                                                               27
                                                               28
                                                                                                                         MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                    165
                                                                                                                          STATEMENT OF GENUINE DISPUTES
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                                                                1   AS TO PMC PROPERTY DEFENDANTS’ RESPONSE TO PLAINTIFFS’
                                                                2   STATEMENT OF GENUINE DISPUTES NOS. 1 - 61:
                                                                3
                                                                4
                                                                     DATED: April 15, 2021             BASSI EDLIN HUIE & BLUM LLP
                                                                5
                                                                6
                                                                                                 By:         /s/ Earl L. Hagström
                                                                7                                      Earl L. Hagström
                                                                8                                      Daniel E. Trowbridge
                                                                                                       Attorneys for Defendants PMC Specialties
                                                                9
                                                                                                       Group, Inc. and Ferro Corporation
                                                               10
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   AS TO CHRYSLER PROPERTY DEFENDANT’S RESPONSE TO
                                                               12   PLAINTIFFS’ STATEMENT OF GENUINE DISPUTES FACT NOS. 100 -
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                    113:
       & MACHTINGER LLP




                                                               13
                                                               14    DATED: April 15, 2021             GREENBERG GLUSKER FIELDS
                                                                                                       CLAMAN & MACHTINGER LLP
                                                               15
                                                               16
                                                                                                 By:
                                                               17                                             /s/ Peter A. Nyquist
                                                                                                       Peter A. Nyquist
                                                               18                                      Sedina L. Banks
                                                               19                                      Sherry E. Jackman
                                                               20                                      Attorneys for Defendant Union Pacific
                                                                                                       Railroad Company
                                                               21
                                                               22
                                                               23
                                                               24
                                                               25
                                                               26
                                                               27
                                                               28
                                                                                                                     MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                166
                                                                                                                      STATEMENT OF GENUINE DISPUTES
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                                                                1   AS TO PATSOURAS PROPERTY DEFENDANTS’ RESPONSE TO
                                                                2   PLAINTIFFS’ STATEMENT OF GENUINE DISPUTES FACT NOS. 200 -
                                                                    261:
                                                                3
                                                                4    DATED: April 15, 2021             WACTOR & WICK LLP
                                                                5
                                                                6                                By:         /s/ William D. Wick
                                                                7                                      William D. Wick

                                                                8                                      Attorneys for Defendant Halliburton
                                                                                                       Affiliates, LLC
                                                                9
                                                               10                                      BASSI EDLIN HUIE & BLUM LLP
                                                                     DATED: April 15, 2021
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                               12
                          2049 Century Park East, Suite 2600




                                                                                                 By:         /s/ Farheena A. Habib
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13                                      Farheena A. Habib
                                                               14                                      Attorneys for Interveners Fireman’s Fund
                                                               15                                      Insurance Company and Federal Insurance
                                                                                                       Company, as Insurers for Palley Supply
                                                               16                                      Company
                                                               17
                                                               18    DATED: April 15, 2021             OTTEN LAW, PC
                                                               19
                                                                                                 By:         /s/ Victor Otten
                                                               20                                      Victor Otten
                                                               21                                      Attorneys for Defendant Kekropia, Inc.
                                                               22
                                                               23
                                                               24
                                                               25
                                                               26
                                                               27
                                                               28
                                                                                                                    MOVING DEFENDANTS’ RESPONSE TO
                                                                    88151-00029/4016830.1                167
                                                                                                                     STATEMENT OF GENUINE DISPUTES
                                                               Case 2:14-cv-06456-GW-E Document 959 Filed 04/15/21 Page 170 of 170 Page ID
                                                                                                #:31421


                                                                1        CERTIFICATION OF CONCURRENCE FROM ALL SIGNATORIES
                                                                2            I, Peter A. Nyquist, am the ECF user whose ID and password are being used
                                                                3   to file this Parties’ MOVING DEFENDANTS’ RESPONSE TO PLAINTIFFS’
                                                                4   STATEMENT OF GENUINE DISPUTES. In compliance with C.D. Cal. Civ. L.R.
                                                                5   5-4.3.4(a)(2)(i), I hereby attest that I have obtained the concurrence of each
                                                                6   signatory to this document.
                                                                7
                                                                     DATED: April 15, 2021                  GREENBERG GLUSKER FIELDS
                                                                8                                           CLAMAN & MACHTINGER LLP
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                                                                                                                           STATEMENT OF GENUINE DISPUTES
